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                                         120
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H3_Index            Cert_Num           County
                                                  120 District              Unique_ID
    7981   011574                 Barbour      Elk                 01-04-9999-0401-3400-0000
    7980   011575                 Barbour      Elk                 01-04-9999-0401-5200-0000
    7979   011576                 Barbour      Elk                 01-04-9999-0401-6500-0000
    7978   011577                 Barbour      Elk                 01-04-9999-0401-7000-0000
    7977   011578                 Barbour      Elk                 01-04-9999-0403-3300-0000
       9   011242                 Barbour      Elk                 01-04-9999-0405-2800-0000
    7976   011584                 Barbour      Pleasant            01-09-9999-0905-3130-0000
    7458   011547                 Barbour      Pleasant            01-09-9999-0905-3220-0000
    7459   011548                 Barbour      Pleasant            01-09-9999-0905-3250-0000

      15 011305                   Barbour      Pleasant            01-09-9999-0906-2700-0000

    7975   011586                 Barbour      Union               01-10-9999-0001-7000-0000
    7973   011588                 Barbour      Union               01-10-9999-0004-7000-0000
    7972   011589                 Barbour      Union               01-10-9999-0004-7100-0000
    7971   011590                 Barbour      Union               01-10-9999-0004-7200-0000
    7974   011587                 Barbour      Union               01-10-9999-0010-5400-0000
      16   2009-S-0000106         Barbour      Union               01-10-9999-0013-2500-0000
      17   2009-S-0000111         Barbour      Union               01-10-9999-0013-3400-0000
    8602   011608                 Barbour      Union               01-10-9999-0016-6000-0000

    4293   10-S-0115              Barbour      Valley              01-11-9999-0103-4300-0000
    9168   2018-S-0000210         Boone        Crook               03-01- 6-0002-0000-3017
    4331   2010-S-0000026         Boone        Crook               03-01- 6-0006-0000-3012
    4704   ER13 (032526)          Boone        Crook               03-01-9999-0155-6020-0000

    8843 2017-S-0000052           Boone        Crook               03-01-9999-0826-1000-0000
    8844 2017-S-0000053           Boone        Crook               03-01-9999-0826-2000-0000
    4699 ER9 (031841)             Boone        Crook               03-01-9999-0852-0000-0000

    6554   032629                 Boone        Peytona             03-04- 23-0001-0000-0000
    8298   2016-S-0000043         Boone        Scott               03-05-9999-0140-3000-3003
    8300   2016-S-0000045         Boone        Scott               03-05-9999-0140-5000-3003
    9179   2018-S-0000220         Boone        Scott               03-05-9999-0155-4100-0000
    8125   032780                 Boone        Scott               03-05-9999-0157-0000-0000
    8302   2016-S-0000047         Boone        Scott               03-05-9999-0170-4000-3006

    4326 2010-S-0000021           Boone        Scott               03-05-9999-0179-3000-0000
    6183 2012-S-0000023           Boone        Scott               03-05-9999-0754-0100-3001

    8849 2017-S-0000058           Boone        Scott               03-05-9999-0754-0100-3003
    8850 2017-S-0000059           Boone        Scott               03-05-9999-0971-0000-3002

    7570 2015-S-0000020           Boone        Sherman             03-06- 4-0123-0000-0000
      37 2009-S-0000025           Boone        Sherman             03-06- 7-0121-0001-0000
      27 032426                   Boone        Sherman             03-06-9999-0171-5000-0000
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 6185 2012-S-0000025         Boone
                                           120
                                         Sherman            03-06-9999-0180-8000-0000
 6184 2012-S-0000024         Boone      Sherman             03-06-9999-0421-0000-0000

 7539 Davis1                 Boone      Sherman             03-06-9999-7121-6000-0000

 8311 2016-S-0000056         Boone      Washington          03-08- 23-0040-0000-3002
 6186 2012-S-0000026         Boone      Washington          03-08- 28-0158-0000-3002

 4321 2010-S-0000016         Boone      Washington          03-08- 28-0169-0000-3002
 6874 Haner6                 Boone      Washington          03-08- 29-0040-0000-3012

 8859 2017-S-0000068         Boone      Washington          03-08-9999-0117-8030-3002

   28 032431                 Boone      Washington          03-08-9999-0155-7800-0000

 9309 2018-S-0000238         Boone      Washington          03-08-9999-0185-8220-0000
 6870 Haner2                 Boone      Washington          03-08-9999-0194-7030-0000
 6871 Haner3                 Boone      Washington          03-08-9999-0194-7050-0000

   39 2009-S-0000027         Boone      Washington          03-08-9999-0198-9000-0000
 8313 2016-S-0000058         Boone      Washington          03-08-9999-0216-5020-0000

 9311 2018-S-0000240         Boone      Washington          03-08-9999-0281-0000-0000
 9312 2018-S-0000241         Boone      Washington          03-08-9999-0284-4100-3011
 6872 Haner4                 Boone      Washington          03-08-9999-0388-0000-3006

 9316 2018-S-0000245         Boone      Washington          03-08-9999-0388-0000-3028
 9319 2018-S-0000248         Boone      Washington          03-08-9999-0972-0000-3007

 8862 2017-S-0000071         Boone      Washington          03-08-9999-0972-0300-3003
 6976 2014-S-0000014         Braxton    Birch               04-01-9999-0002-9250-0000
 6977 2014-S-0000015         Braxton    Birch               04-01-9999-0002-9251-0000

   67   051036               Brooke     Buffalo             05-03-9999-0000-0103-0000
 6417   2012-S-21            Brooke     Buffalo             05-03-9999-0000-0303-0000
   59   050621               Brooke     Buffalo             05-03-9999-0000-0353-0000
   65   050970               Brooke     Buffalo             05-03-9999-0000-0883-0000

   53 050448                 Brooke     Buffalo             05-03-9999-0000-0893-0000
 8743 051645                 Brooke     Buffalo             05-03-9999-0000-0963-0000

 4633 Lowe                   Brooke     Buffalo             05-03-9999-0000-1793-0000
 6418 2012-S-43              Brooke     Cross Creek         05-04-9999-0000-0044-0000

   77 051257                 Brooke     Cross Creek         05-04-9999-0000-0074-0000
   78 051258                 Brooke     Cross Creek         05-04-9999-0000-0084-0000
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                                                120
   79   051259                 Brooke        Cross Creek             05-04-9999-0000-0094-0000
   62   050878                 Brooke        Cross Creek             05-04-9999-0000-0224-0000
   49   050135                 Brooke        Cross Creek             05-04-9999-0000-0244-0000
   60   050631                 Brooke        Cross Creek             05-04-9999-0000-0254-0000

   66   050993                 Brooke        Cross Creek             05-04-9999-0000-0264-0000
   58   050568                 Brooke        Cross Creek             05-04-9999-0000-0274-0000
   57   050567                 Brooke        Cross Creek             05-04-9999-0000-0274-0000
   50   050159                 Brooke        Cross Creek             05-04-9999-0000-0434-0000
   55   050486                 Brooke        Follansbee Corp         05-05-9999-0000-0025-0000
 6120   050220                 Brooke        Weirton Corp            05-06-9999-0000-0016-0000
   92   2007-S-0000067         Cabell        Grant                   06-03-9999-0003-4230-0000
   84   065376                 Cabell        Grant                   06-03-9999-0003-5300-0000
  109   2009-S-0000076         Cabell        Grant                   06-03-9999-0003-6400-0000
  110   2009-S-0000077         Cabell        Grant                   06-03-9999-0003-9300-0000
  111   2009-S-0000084         Cabell        Grant                   06-03-9999-0004-2300-0000
   82   064828                 Cabell        Grant                   06-03-9999-0004-8400-0000

 7056 2014-S-0000386           Cabell        Huntington- Kyle Corp   06-07-9999-0006-4600-0000

 7057 2014-S-0000387           Cabell        Huntington- Kyle Corp   06-07-9999-0006-4700-0000
 9030 ER1                      Cabell        Huntington-Gideon       06-05- 76-0125-0000-0000

 9031   ER2                    Cabell        Huntington-Gideon       06-05- 76-0145-0000-0000
 9032   ER3                    Cabell        McComas                 06-08-9999-0006-5900-0000
   93   2007-S-0000291         Cabell        McComas                 06-08-9999-0006-6900-0000
  117   2009-S-0000507         Cabell        McComas                 06-08-9999-0007-5700-0000
  123   Miller                 Cabell        McComas                 06-08-9999-0007-7200-0000
 9033   ER4                    Cabell        Union                   06-10- 17-0035-0002-0000
  125   2008-S-0000029         Calhoun       Lee                     07-03-9999-0000-2670-0000
  126   2008-S-0000030         Calhoun       Lee                     07-03-9999-0000-2680-0000
  129   2008-S-0000049         Calhoun       Lee                     07-03-9999-0002-9210-0000
 7242   2014-S-66              Calhoun       Sheridan                07-04-9999-0000-4040-0000

 4290 10-S-0077                Calhoun       Sheridan                07-04-9999-0000-8290-3002

  130 2008-S-0000070           Calhoun       Sheridan                07-04-9999-0001-1360-0000

  131   2008-S-0000076         Calhoun       Sherman                 07-05-9999-0000-3520-0000
 4314   10-S-0124              Calhoun       Washington              07-06-9999-0002-5070-3002
 7479   071557                 Calhoun       Washington              07-06-9999-0002-8350-0000
 4838   ER5                    Clay          Buffalo                 08-01-9999-0000-0252-0000
 4839   ER6                    Clay          Buffalo                 08-01-9999-0000-0311-0000
 4840   ER7                    Clay          Buffalo                 08-01-9999-0000-0319-0000

  169 2009-S-0000014           Clay          Henry                   08-03-9999-0000-0012-3001
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                                                120
  170 2009-S-0000015           Clay          Henry                 08-03-9999-0000-0013-3001
 8592 082019                   Clay          Henry                 08-03-9999-0000-0449-0000

 7701   2015-S-0000019         Clay          Henry                 08-03-9999-0000-0841-3004
 7704   2015-S-0000044         Clay          Otter                 08-04-9999-0000-1122-3004
 5603   2011-S-0000033         Clay          Otter                 08-04-9999-0000-1164-0000
 5604   2011-S-0000034         Clay          Otter                 08-04-9999-0000-1165-0000
  176   2009-S-0000110         Clay          Pleasant              08-05-9999-0000-0488-0000
  177   2009-S-0000112         Clay          Pleasant              08-05-9999-0000-0490-0000
 4836   ER3 (081559)           Clay          Union                 08-06-9999-0000-0560-0000
  324   105153                 Fayette       Ansted Corp           10-04-9999-0610-3370-0000
  281   104418                 Fayette       Ansted Corp           10-04-9999-0610-3389-0000
  323   105150                 Fayette       Ansted Corp           10-04-9999-0803-0454-0000
  357   105452                 Fayette       New Haven             10-01-9999-0600-1934-0000
  400   2007-S-0000021         Fayette       New Haven             10-01-9999-0600-5146-0000
 8823   2017-S-0000020         Fayette       New Haven             10-01-9999-0600-6421-0000

  342   105363                 Fayette       New Haven             10-01-9999-0600-6993-0000
  445   2009-S-0000160         Fayette       New Haven             10-01-9999-0600-9142-0000
  362   105480                 Fayette       New Haven             10-01-9999-0600-9222-0000
  369   105492                 Fayette       New Haven             10-01-9999-0600-9446-0000
  368   105491                 Fayette       New Haven             10-01-9999-0601-6027-0000
  406   2007-S-0000067         Fayette       New Haven             10-01-9999-0601-6072-0000
  451   2009-S-0000166         Fayette       New Haven             10-01-9999-0601-6928-0000
  354   105449                 Fayette       New Haven             10-01-9999-0601-8105-0000
  267   100433                 Fayette       New Haven             10-01-9999-0601-8141-0000
  346   105368                 Fayette       New Haven             10-01-9999-0601-8347-0000
  275   104369                 Fayette       New Haven             10-01-9999-0601-9550-0000
  276   104370                 Fayette       New Haven             10-01-9999-0601-9569-0000
  442   2009-S-0000157         Fayette       New Haven             10-01-9999-0602-0931-0000
  372   105498                 Fayette       New Haven             10-01-9999-0602-0977-0000
 4081   2010-S-0000092         Fayette       New Haven             10-01-9999-0602-4857-0000
 5585   2011-S-0000723         Fayette       New Haven             10-01-9999-0602-6052-0000
 6577   106006                 Fayette       New Haven             10-01-9999-0602-7925-0000
  364   105483                 Fayette       New Haven             10-01-9999-0602-9166-0000
  365   105484                 Fayette       New Haven             10-01-9999-0602-9175-0000
  353   105447                 Fayette       New Haven             10-01-9999-0603-0895-0000
 4080   2010-S-0000091         Fayette       New Haven             10-01-9999-0605-2718-0000
 4079   2010-S-0000090         Fayette       New Haven             10-01-9999-0605-2736-0000
  269   104175                 Fayette       New Haven             10-01-9999-0605-4280-0000
  282   104458                 Fayette       New Haven             10-01-9999-0605-4681-0000
 5858   2011-S-0000724         Fayette       New Haven             10-01-9999-0605-5207-0000
  381   2006-S-0000003         Fayette       New Haven             10-01-9999-0605-9640-0000
 8827   2017-S-0000024         Fayette       New Haven             10-01-9999-0606-0978-0000
  382   2006-S-0000004         Fayette       New Haven             10-01-9999-0606-2495-0000
  383   2006-S-0000005         Fayette       New Haven             10-01-9999-0606-3859-0000
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  339   105220                 Fayette
                                              120
                                            New Haven          10-01-9999-0606-5241-0000
  270   104193                 Fayette    New Haven            10-01-9999-0606-5900-0000
  284   104628                 Fayette    New Haven            10-01-9999-0606-7409-0000
 6815   2013-S-0000122         Fayette    New Haven            10-01-9999-0607-6131-0000
  309   104756                 Fayette    New Haven            10-01-9999-0607-7979-0000
  370   105493                 Fayette    New Haven            10-01-9999-0608-0974-0000
 6735   2013-S-0000082         Fayette    New Haven            10-01-9999-0608-5498-3002
 6574   105914                 Fayette    New Haven            10-01-9999-0609-2462-0000

 6575 105915                   Fayette    New Haven            10-01-9999-0609-2471-0000
 5859 2011-S-0000721           Fayette    New Haven            10-01-9999-0614-4148-0000

 6147 104184                   Fayette    New Haven            10-01-9999-0614-5049-0000

  329 105192                   Fayette    New Haven            10-01-9999-0619-9918-0000

  330 105193                   Fayette    New Haven            10-01-9999-0619-9927-0000

  331   105194                 Fayette    New Haven            10-01-9999-0619-9936-0000
  334   105197                 Fayette    New Haven            10-01-9999-0619-9963-0000
  335   105198                 Fayette    New Haven            10-01-9999-0619-9972-0000
  337   105200                 Fayette    New Haven            10-01-9999-0619-9981-0000
  336   105199                 Fayette    New Haven            10-01-9999-0619-9990-0000
  343   105364                 Fayette    New Haven            10-01-9999-0621-3000-0000
 8829   2017-S-0000026         Fayette    New Haven            10-01-9999-0621-7408-3003
  356   105451                 Fayette    New Haven            10-01-9999-0621-8755-0000
  318   105081                 Fayette    New Haven            10-01-9999-0621-9488-0000
  319   105082                 Fayette    New Haven            10-01-9999-0621-9497-0000
  320   105083                 Fayette    New Haven            10-01-9999-0621-9503-0000
 6736   2013-S-0000083         Fayette    New Haven            10-01-9999-0627-7593-3001
 8763   106611                 Fayette    New Haven            10-01-9999-0800-0334-0000

 4057 103999                   Fayette    New Haven            10-01-9999-0800-9175-0000
  444 2009-S-0000159           Fayette    New Haven            10-01-9999-0803-8731-0000
 6927 105911                   Fayette    New Haven            10-01-9999-0804-3208-0000

  325 105188                   Fayette    New Haven            10-01-9999-0810-0832-0000
 8190 106460                   Fayette    New Haven            10-01-9999-0816-0018-0000

  403 2007-S-0000030           Fayette    New Haven            10-01-9999-0816-6236-3002

  384 2006-S-0000047           Fayette    New Haven            10-01-9999-0900-0788-3001

 5587 2011-S-0000726           Fayette    New Haven            10-01-9999-0900-0790-3001

  385 2006-S-0000049           Fayette    New Haven            10-01-9999-0900-0792-3001
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                                              120
  386 2006-S-0000050           Fayette     New Haven             10-01-9999-0900-0794-3001
 8831 2017-S-0000028           Fayette     New Haven             10-01-9999-0900-2426-0000

  441   2009-S-0000156         Fayette     New Haven             10-01-9999-0900-5988-0000
  411   2007-S-0000303         Fayette     Oak Hill Corp         10-09-9999-0611-7560-0000
 7700   2015-S-0000079         Fayette     Plateau               10-02- 29-0080-0000-0000
 6151   105800                 Fayette     Plateau               10-02- 16C-0016-0000-0000
  277   104379                 Fayette     Plateau               10-02-9999-0614-4923-0000
  420   2008-S-0000076         Fayette     Plateau               10-02-9999-0616-1707-0000
 6397   2012-S-0000226         Fayette     Plateau               10-02-9999-0616-1725-0000
 4060   105724                 Fayette     Plateau               10-02-9999-0618-1464-0000
 4061   105726                 Fayette     Plateau               10-02-9999-0618-1482-0000
 4062   105728                 Fayette     Plateau               10-02-9999-0618-1507-0000
 4063   105729                 Fayette     Plateau               10-02-9999-0618-1516-0000
  419   2008-S-0000072         Fayette     Plateau               10-02-9999-0618-1525-0000
 6152   105808                 Fayette     Plateau               10-02-9999-0618-4835-0000
  424   2008-S-0000104         Fayette     Plateau               10-02-9999-0619-0819-0000
  425   2008-S-0000105         Fayette     Plateau               10-02-9999-0619-0828-0000
  426   2008-S-0000106         Fayette     Plateau               10-02-9999-0619-0837-0000
  428   2008-S-0000108         Fayette     Plateau               10-02-9999-0619-7055-0000

 4058   104517                 Fayette     Plateau               10-02-9999-0622-3909-0000
  389   2006-S-0000135         Fayette     Plateau               10-02-9999-0622-7479-0000
  390   2006-S-0000149         Fayette     Plateau               10-02-9999-0624-5324-0000
  388   2006-S-0000134         Fayette     Plateau               10-02-9999-0815-0948-0000
 8835   2017-S-0000032         Fayette     Plateau               10-02-9999-0815-1055-0000
 5583   2011-S-0000720         Fayette     Plateau               10-02-9999-0900-6584-0000
  410   2007-S-0000224         Fayette     Valley                10-03- 22-0006-0000-3001
  348   105400                 Fayette     Valley                10-03-9999-0628-6235-0000
 6580   106105                 Fayette     Valley                10-03-9999-0631-2297-0000
 6956   106303                 Fayette     Valley                10-03-9999-0700-6018-0000
  378   105538                 Fayette     Valley                10-03-9999-0800-9264-0000
  511   Clevenger              Gilmer      Center                11-01-9999-0100-0927-0000
  484   111244                 Gilmer      Center                11-01-9999-0100-0201-0000
  500   112108                 Gilmer      Center                11-01-9999-0100-0689-0000
  501   112110                 Gilmer      Center                11-01-9999-0100-0691-0000
  502   112111                 Gilmer      Center                11-01-9999-0100-0692-0000
  503   112113                 Gilmer      Center                11-01-9999-0100-0695-0000
  504   112114                 Gilmer      Center                11-01-9999-0100-0696-0000
  485   111245                 Gilmer      Center                11-01-9999-0100-1680-0000
  493   111995                 Gilmer      Center                11-01-9999-0100-2492-0000
  494   111996                 Gilmer      Center                11-01-9999-0100-2493-0000
  495   111997                 Gilmer      Center                11-01-9999-0100-2494-0000
  496   111998                 Gilmer      Center                11-01-9999-0100-2495-0000
  488   111534                 Gilmer      Center                11-01-9999-0100-3943-0000
  486   111254                 Gilmer      Center                11-01-9999-0100-4344-0000
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  483 111141                   Gilmer
                                             120
                                           Dekalb                   11-02-9999-0200-0674-0000


  510 2009-S-0000044           Gilmer       Dekalb                  11-02-9999-0200-4505-0000
 6838 112453                   Gilmer       Glenville               11-03-9999-0300-0207-0000
  482 111070                   Gilmer       Glenville               11-03-9999-0300-0232-0000

  490   111850                 Gilmer       Glenville               11-03-9999-0300-0750-0000
  480   111028                 Gilmer       Glenville               11-03-9999-0300-1025-0000
  481   111037                 Gilmer       Glenville               11-03-9999-0300-1680-0000
  505   112224                 Gilmer       Glenville               11-03-9999-0300-2625-0000
 7482   112485                 Gilmer       Glenville               11-03-9999-0300-2789-0000
  489   111747                 Gilmer       Glenville               11-03-9999-0300-3175-0000

  487   111503                 Gilmer       Glenville               11-03-9999-0300-3619-0000
  479   111005                 Gilmer       Sand Fork Corp          11-05-9999-0500-0001-0000
  497   112073                 Gilmer       Troy                    11-06-9999-0600-0114-0000
  498   112074                 Gilmer       Troy                    11-06-9999-0600-0115-0000
  499   112075                 Gilmer       Troy                    11-06-9999-0600-0116-0000
  506   2007-S-0000143         Gilmer       Troy                    11-06-9999-0600-2192-0000
  491   111920                 Gilmer       Troy                    11-06-9999-0600-5169-0000
  540   131727                 Greenbrier   Blue Sulphur            13-03-9999-0000-0012-0000

  544 2008-S-0004001           Greenbrier   Falling Springs         13-04-9999-0000-0100-0000

  542 131813                   Greenbrier   Fort Springs            13-06-9999-0000-0005-0000

  551 2008-S-0009002           Greenbrier   Lewisburg               13-09-9999-0000-0001-0000
  539 131724                   Greenbrier   Williamsburg            13-18-9999-0000-0044-0000

  565 14165                    Hampshire    Gore                    14-05-9999-0007-0270-0000
  564 140137                   Hampshire    Gore                    14-05-9999-0007-0320-0000

 7048 2014-A-0000001           Hancock      Butler                  15-01-9999-0620-5866-0000
  586 151667                   Hancock      Clay                    15-03- C26-0037-0000-0000

 9428 2018-S-0000022           Hancock      Clay                    15-03-9999-0620-6087-0000

 9131 152302                   Hancock      Grant                   15-04-9999-0620-5875-0000
  591 151801                   Hancock      Weirton Corp            15-06-9999-0616-8817-0000

 8744 152227                   Hancock      Weirton Corp            15-06-9999-0620-5867-0000

 7717 2015-S-0000013           Hancock      Weirton Corp            15-06-9999-0620-5926-0000

 7718 2015-S-0000014           Hancock      Weirton Corp            15-06-9999-0620-5932-0000
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7719   2015-S-0000015        Hancock     Weirton Corp          15-06-9999-0620-5940-0000
8616   178065                Harrison    Clark-Outside         17-01-9999-0622-9912-0000
 622   177148                Harrison    Clay                  17-05-9999-0626-9325-0000
8619   178276                Harrison    Clay-Outside          17-05-9999-0627-5853-0000
8620   178277                Harrison    Clay-Outside          17-05-9999-0627-5899-0000
8372   2016-S-0000082        Harrison    Clay-Outside          17-05-9999-0660-9244-0000

 605 175497                  Harrison    Coal                  17-07-9999-0625-3742-0000
 628 177263                  Harrison    Coal                  17-07-9999-0657-5743-0000

8621 178288                  Harrison    Coal-Outside          17-07-9999-0625-3626-0000

8622 178289                  Harrison    Coal-Outside          17-07-9999-0625-3699-0000

8623 178290                  Harrison    Coal-Outside          17-07-9999-0625-3706-0000

 606 175551                  Harrison    Eagle                 17-09-9999-0655-5024-0000

8624 178312                  Harrison    Eagle-Outside         17-09-9999-0619-7206-0000
8617 178164                  Harrison    Eagle-Outside         17-09-9999-0620-2370-0000

 614 176423                  Harrison    Elk                   17-11-9999-0605-1791-0000

 623 177165                  Harrison    Elk                   17-11-9999-0656-0599-0000

 662 2009-S-0000267          Harrison    Grant-Outside         17-12-9999-0629-5154-0000

 663 2009-S-0000268          Harrison    Grant-Outside         17-12-9999-0629-5163-0000

 644 2006-S-0000270          Harrison    Grant-Outside         17-12-9999-0660-9850-0000

8615 178024                  Harrison    Grant-Outside         17-12-9999-0661-0054-0000
6505 177651                  Harrison    Sardis                17-14-9999-0613-9868-0000
 599 175031                  Harrison    Sardis-Outside        17-14-9999-0612-3054-0000

8626 178339                  Harrison    Sardis-Outside        17-14-9999-0612-6783-0000

 612 176140                  Harrison    Union                 17-20-9999-0643-3932-0000

7588 2015-S-0000061          Jackson     Ravenswood            18-02-9999-0000-3110-0000

8541 2016-S-0000219          Jackson     Ravenswood            18-02-9999-0005-2740-0000

8542 2016-S-0000220          Jackson     Ravenswood            18-02-9999-0005-2790-0000

8543 2016-S-0000221          Jackson     Ravenswood            18-02-9999-0005-2840-0000
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8537 2016-S-0000215            Jackson    Ravenswood               18-02-9999-0005-7470-0000

8538 2016-S-0000216            Jackson    Ravenswood               18-02-9999-0005-7480-0000

7592   2015-S-0000119          Jackson    Ripley                   18-04-9999-0008-1680-0000
8553   2016-S-0000231          Jackson    Ripley                   18-04-9999-0008-5970-0000
4730   ER47 (181971)           Jackson    Ripley                   18-04-9999-0008-8380-0000
8549   2016-S-0000227          Jackson    Ripley                   18-04-9999-0010-2430-0000
6369   2012-S-0000178          Jackson    Ripley Corp              18-05-9999-0000-3020-0000

5333 182500                    Jackson    Ripley Corp              18-05-9999-0000-3570-0000

5334 182504                    Jackson    Ripley Corp              18-05-9999-0000-3580-0000

8556 2016-S-0000234            Jackson    Union                    18-06-9999-0000-3090-0000
8557 2016-S-0000235            Jackson    Union                    18-06-9999-0002-3680-0000
6692 2013-S-0000236            Jackson    Union                    18-06-9999-0002-7360-0000

 669 2009-S-0000167            Jackson    Union                    18-06-9999-0003-2060-0000

 668 183171                    Jackson    Washington               18-07-9999-0001-0690-0000

8570   2016-S-0000248          Jackson    Washington               18-07-9999-0003-1500-0000
8571   2016-S-0000249          Jackson    Washington               18-07-9999-0003-1510-0000
4873   ER32                    Kanawha    Big Sandy                20-01-9999-0600-5093-0000
4857   ER16 (2020541)          Kanawha    Big Sandy                20-01-9999-0601-6009-0000

8703   2026775                 Kanawha    Big Sandy                20-01-9999-0601-6508-0000
5438   2023743                 Kanawha    Big Sandy                20-01-9999-0601-8105-0000
4856   ER15 (2020524)          Kanawha    Big Sandy                20-01-9999-0602-1093-0000
 724   2016647                 Kanawha    Big Sandy                20-01-9999-0602-5311-0000
 725   2017698                 Kanawha    Big Sandy                20-01-9999-0603-5417-0000
 729   2023161                 Kanawha    Big Sandy                20-01-9999-0603-5756-3001

 744 ER1 (2023181)             Kanawha    Cabin Creek              20-03- 2-0001-0000-0000
8085 2026096                   Kanawha    Cabin Creek              20-03-9999-0613-3409-0000
5439 2023965                   Kanawha    Charleston               20-10-9999-0666-6789-0000

 748   ER4                     Kanawha    Elk                      20-15- 35-0047-0000-0000
8071   2025615                 Kanawha    Elk                      20-15-9999-0623-4700-0000
4852   ER11 (2009-S-0001279)   Kanawha    Elk                      20-15-9999-0623-7253-0000
 735   2023426                 Kanawha    Elk                      20-15-9999-0623-8010-0000

8092 2026359                   Kanawha    Elk                      20-15-9999-0624-8045-0000
8093 2026360                   Kanawha    Elk                      20-15-9999-0624-8134-0000
8094 2026361                   Kanawha    Elk                      20-15-9999-0625-2538-3002
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8705 2026924                   Kanawha
                                            of 120
                                           Elk                   20-15-9999-0626-3820-0000
4867 ER26 (2022605)            Kanawha    Elk                    20-15-9999-0627-8985-0000

8696 2025621                   Kanawha    Elk                    20-15-9999-0628-7458-3003

8694   2025619                 Kanawha    Elk                    20-15-9999-0628-7458-3008
4859   ER18 (2020956)          Kanawha    Elk                    20-15-9999-0629-2843-0000
8096   2026366                 Kanawha    Elk                    20-15-9999-0629-6162-0000
8097   2026367                 Kanawha    Elk                    20-15-9999-0629-7624-0000
4861   ER20 (2021474)          Kanawha    Elk                    20-15-9999-0631-4017-0000
8706   2026925                 Kanawha    Elk                    20-15-9999-0631-8068-0000
8062   2025073                 Kanawha    Elk                    20-15-9999-0721-8209-3002

8089 2026318                   Kanawha    Elk                    20-15-9999-0750-6772-0000
6405 12-S-1061                 Kanawha    Jefferson              20-16-9999-0671-5227-3005

4868 ER27 (2022649)            Kanawha    Jefferson              20-16-9999-0734-0530-0000

6407   12-S-1147               Kanawha    Jefferson              20-16-9999-0742-0105-0000
8102   2026477                 Kanawha    Loudon                 20-19-9999-0684-9173-0000
 692   2009-S-0001828          Kanawha    Loudon                 20-19-9999-0687-1325-0000
 738   2023459                 Kanawha    Loudon                 20-19-9999-0711-7470-0000
8707   2027035                 Kanawha    Malden                 20-23- 7-0065-0000-0000
4866   ER25 (2022275)          Kanawha    Malden                 20-23-9999-0691-8437-0000
 699   2009-S-0002149          Kanawha    Poca                   20-24-9999-0680-6405-0000
 700   2009-S-0002150          Kanawha    Poca                   20-24-9999-0680-6414-0000
 701   2009-S-0002151          Kanawha    Poca                   20-24-9999-0680-6423-0000
 702   2009-S-0002152          Kanawha    Poca                   20-24-9999-0680-6432-0000

 703 2009-S-0002153            Kanawha    Poca                   20-24-9999-0680-6897-0000
 704 2009-S-0002154            Kanawha    Poca                   20-24-9999-0680-7529-0000

 705 2009-S-0002155            Kanawha    Poca                   20-24-9999-0680-9368-3001
 707 2009-S-0002157            Kanawha    Poca                   20-24-9999-0680-9983-3002

 708   2009-S-0002158          Kanawha    Poca                   20-24-9999-0681-0007-3002
 710   2009-S-0002160          Kanawha    Poca                   20-24-9999-0681-0025-3002
 711   2009-S-0002161          Kanawha    Poca                   20-24-9999-0681-0034-3002
8109   2026529                 Kanawha    Poca                   20-24-9999-0681-2158-0000
4853   ER12 (2009-S-0002162)   Kanawha    Poca                   20-24-9999-0681-2185-0000

8110 2026530                   Kanawha    Poca                   20-24-9999-0681-7153-0000

8111   2026531                 Kanawha    Poca                   20-24-9999-0681-7199-0000
8112   2026532                 Kanawha    Poca                   20-24-9999-0681-8063-0000
8113   2026535                 Kanawha    Poca                   20-24-9999-0683-3929-0000
4870   ER29 (2022740)          Kanawha    Poca                   20-24-9999-0683-5446-0000
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4869   ER28 (2022739)        Kanawha
                                          of 120
                                         Poca                 20-24-9999-0683-5464-0000
6769   13-S-1433             Kanawha    Poca                  20-24-9999-0683-6132-0000
8115   2026537               Kanawha    Poca                  20-24-9999-0684-0421-0000
6770   13-S-1447             Kanawha    Poca                  20-24-9999-0722-0795-0000

 715 2009-S-0002202          Kanawha    Poca                  20-24-9999-0733-0275-0000

8116   2026540               Kanawha    Poca                  20-24-9999-0737-3969-0000
 717   2009-S-0002473        Kanawha    Union                 20-25-9999-0697-9834-0000
8574   2026660               Kanawha    Union                 20-25-9999-0700-5377-0000
8120   2026614               Kanawha    Union                 20-25-9999-0701-1360-0000

8077 2025941                 Kanawha    Union                 20-25-9999-0702-7709-0000
 718 2009-S-0002486          Kanawha    Union                 20-25-9999-0704-6902-0000
8709 2027069                 Kanawha    Union                 20-25-9999-0714-0293-0000

4854 ER13 (2009-S-0002491)   Kanawha    Union                 20-25-9999-0722-0651-0000
 721 2009-S-0002493          Kanawha    Union                 20-25-9999-0732-7458-0000

4864   ER23 (2021800)        Kanawha    Union                 20-25-9999-0732-7467-0000
8700   2026615               Kanawha    Union                 20-25-9999-0742-0016-0000
8118   2026604               Kanawha    Union                 20-25-9999-0742-0034-0000
4858   ER17 (2020787)        Kanawha    Union                 20-25-9999-0748-4000-0000

8121 2026616                 Kanawha    Union                 20-25-9999-0758-5514-0000
8122 2026617                 Kanawha    Union                 20-25-9999-0758-5517-0000

8123   2026618               Kanawha    Union                 20-25-9999-0758-5521-0000
 682   2008-S-0001784        Kanawha    Washington            20-28-9999-0619-2764-3001
4863   ER22 (2021616)        Kanawha    Washington            20-28-9999-0619-2764-3002
4855   ER14 (2017891)        Kanawha    Washington            20-28-9999-0619-4192-0000
5444   2024283               Kanawha    Washington            20-28-9999-0620-4813-0000
8637   212295                Lewis      Court House           21-02-9999-0000-2292-0000
8631   212244                Lewis      Freemans Creek        21-03-9999-0003-4773-3001
7499   224632                Lincoln    Carroll               22-01- 7-0039-0000-0000
1023   223644                Lincoln    Carroll               22-01- 7-0039-0000-3008
1129   223922                Lincoln    Carroll               22-01- 28-0058-0000-0000
 802   2007-S-0000360        Lincoln    Carroll               22-01-9999-0100-0011-3008
1306   224332                Lincoln    Carroll               22-01-9999-0100-0015-3004

 806 2008-S-0000023          Lincoln    Carroll               22-01-9999-0100-0015-3008
 762 2006-S-0000302          Lincoln    Carroll               22-01-9999-0100-0100-0000

1106   223898                Lincoln    Carroll               22-01-9999-0100-0114-0000
4213   2010-S-0000004        Lincoln    Carroll               22-01-9999-0100-0212-3002
1190   224063                Lincoln    Carroll               22-01-9999-0100-0520-0000
1212   224150                Lincoln    Carroll               22-01-9999-0100-0630-3002
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6583   222940                Lincoln     Carroll               22-01-9999-0100-0720-0000
 787   2007-S-0000316        Lincoln     Carroll               22-01-9999-0100-1550-0000
 992   223426                Lincoln     Carroll               22-01-9999-0100-2370-0000
 804   2008-S-0000021        Lincoln     Carroll               22-01-9999-0100-2490-0000
 905   222739                Lincoln     Carroll               22-01-9999-0100-2890-0000

1213 224151                  Lincoln     Carroll               22-01-9999-0100-3220-3002

1214 224152                  Lincoln     Carroll               22-01-9999-0100-3230-3002

1215   224153                Lincoln     Carroll               22-01-9999-0100-3240-3002
1216   224154                Lincoln     Carroll               22-01-9999-0100-3250-3002
 763   2006-S-0000303        Lincoln     Carroll               22-01-9999-0100-3573-0000
1217   224155                Lincoln     Carroll               22-01-9999-0100-3660-3002
1218   224156                Lincoln     Carroll               22-01-9999-0100-3670-3002
1219   224157                Lincoln     Carroll               22-01-9999-0100-3680-3002
1220   224158                Lincoln     Carroll               22-01-9999-0100-3690-3002
5649   2011-S-0000033        Lincoln     Carroll               22-01-9999-0100-4130-0000
1191   224065                Lincoln     Carroll               22-01-9999-0100-4900-0000
1336   224474                Lincoln     Carroll               22-01-9999-0100-5180-0000
1221   224159                Lincoln     Carroll               22-01-9999-0100-5810-3002
 810   2008-S-0000027        Lincoln     Carroll               22-01-9999-0100-6360-0000
1130   223923                Lincoln     Carroll               22-01-9999-0100-6600-0000
4214   2010-S-0000080        Lincoln     Carroll               22-01-9999-0100-6780-0000
7498   224556                Lincoln     Carroll               22-01-9999-0100-6800-0000
4215   2010-S-0000081        Lincoln     Carroll               22-01-9999-0100-6820-0000
1131   223924                Lincoln     Carroll               22-01-9999-0100-7310-0000
1132   223925                Lincoln     Carroll               22-01-9999-0100-7320-0000
 801   2007-S-0000359        Lincoln     Carroll               22-01-9999-0100-7380-0000
1222   224160                Lincoln     Carroll               22-01-9999-0100-7410-3002
1223   224161                Lincoln     Carroll               22-01-9999-0100-7490-3002
1224   224162                Lincoln     Carroll               22-01-9999-0100-7630-3002
1225   224163                Lincoln     Carroll               22-01-9999-0100-7640-3002
1027   223649                Lincoln     Carroll               22-01-9999-0100-7970-3008
1028   223650                Lincoln     Carroll               22-01-9999-0100-7980-3008
 764   2006-S-0000304        Lincoln     Carroll               22-01-9999-0100-8020-3005
4212   2010-S-0000002        Lincoln     Carroll               22-01-9999-0100-8030-3002
6756   2013-S-0000047        Lincoln     Carroll               22-01-9999-0100-8080-0000
9039   ER1                   Lincoln     Carroll               22-01-9999-0100-8090-0000
1226   224164                Lincoln     Carroll               22-01-9999-0100-8280-3002
1033   223655                Lincoln     Carroll               22-01-9999-0100-9000-3002
1035   223657                Lincoln     Carroll               22-01-9999-0100-9020-3002
1227   224165                Lincoln     Carroll               22-01-9999-0100-9250-3002
1228   224166                Lincoln     Carroll               22-01-9999-0100-9260-3002
 930   223008                Lincoln     Carroll               22-01-9999-0100-9340-0000
4216   2010-S-0000082        Lincoln     Carroll               22-01-9999-0100-9450-0000
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1038   223660                Lincoln
                                           of 120
                                          Carroll              22-01-9999-0100-9890-0000
1039   223661                Lincoln     Carroll               22-01-9999-0100-9900-0000
1040   223662                Lincoln     Carroll               22-01-9999-0100-9910-0000
1041   223663                Lincoln     Carroll               22-01-9999-0100-9920-0000
1042   223664                Lincoln     Carroll               22-01-9999-0100-9930-0000
1043   223665                Lincoln     Carroll               22-01-9999-0100-9940-0000
1044   223666                Lincoln     Carroll               22-01-9999-0100-9950-0000
1045   223667                Lincoln     Carroll               22-01-9999-0100-9960-0000
 899   222565                Lincoln     Carroll               22-01-9999-0101-0990-0000
6757   2013-S-0000048        Lincoln     Carroll               22-01-9999-0101-1920-3004
1108   223900                Lincoln     Carroll               22-01-9999-0101-3510-0000
1109   223901                Lincoln     Carroll               22-01-9999-0101-3520-0000
1110   223902                Lincoln     Carroll               22-01-9999-0101-4630-0000
1111   223903                Lincoln     Carroll               22-01-9999-0101-4640-0000
1112   223904                Lincoln     Carroll               22-01-9999-0101-4650-0000

1113   223905                Lincoln     Carroll               22-01-9999-0101-4660-0000
1114   223906                Lincoln     Carroll               22-01-9999-0101-6840-0000
1115   223907                Lincoln     Carroll               22-01-9999-0101-6850-0000
1117   223909                Lincoln     Carroll               22-01-9999-0101-6870-0000
1118   223910                Lincoln     Carroll               22-01-9999-0101-6880-0000
1119   223911                Lincoln     Carroll               22-01-9999-0101-6890-0000
1122   223914                Lincoln     Carroll               22-01-9999-0101-9650-0000
1123   223915                Lincoln     Carroll               22-01-9999-0101-9660-0000
1124   223916                Lincoln     Carroll               22-01-9999-0101-9670-0000
1125   223917                Lincoln     Carroll               22-01-9999-0101-9680-0000
1126   223918                Lincoln     Carroll               22-01-9999-0101-9690-0000
1231   224172                Lincoln     Duval                 22-02-9999-0200-0159-3002

4756   223960                Lincoln     Duval                 22-02-9999-0200-0161-3002
8348   2016-S-0000141        Lincoln     Duval                 22-02-9999-0200-0162-0000
8349   2016-S-0000142        Lincoln     Duval                 22-02-9999-0200-0164-0000
1297   224302                Lincoln     Duval                 22-02-9999-0200-0165-0000

1232 224173                  Lincoln     Duval                 22-02-9999-0200-0207-3008

1233   224174                Lincoln     Duval                 22-02-9999-0200-0207-3023
 766   2006-S-0000310        Lincoln     Duval                 22-02-9999-0200-0227-3002
1234   224175                Lincoln     Duval                 22-02-9999-0200-0270-3005
 813   2008-S-0000030        Lincoln     Duval                 22-02-9999-0200-0282-0000

1235   224176                Lincoln     Duval                 22-02-9999-0200-0289-3013
1236   224177                Lincoln     Duval                 22-02-9999-0200-0289-3016
1237   224178                Lincoln     Duval                 22-02-9999-0200-0299-3002
1160   223964                Lincoln     Duval                 22-02-9999-0200-0300-3009
1312   224341                Lincoln     Duval                 22-02-9999-0200-0300-3010
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1238   224179                Lincoln     Duval                 22-02-9999-0200-0300-3014
 767   2006-S-0000312        Lincoln     Duval                 22-02-9999-0200-0305-0000
 768   2006-S-0000313        Lincoln     Duval                 22-02-9999-0200-0306-0000
1239   224180                Lincoln     Duval                 22-02-9999-0200-0325-3002
1240   224181                Lincoln     Duval                 22-02-9999-0200-0326-3002
1241   224182                Lincoln     Duval                 22-02-9999-0200-0339-3002
 888   2009-S-0000017        Lincoln     Duval                 22-02-9999-0200-0342-3001

 889 2009-S-0000018          Lincoln     Duval                 22-02-9999-0200-0344-3001

1243 224184                  Lincoln     Duval                 22-02-9999-0200-0355-3002

1242   224183                Lincoln     Duval                 22-02-9999-0200-0358-3002
1245   224187                Lincoln     Duval                 22-02-9999-0200-0422-3002
6110   224483                Lincoln     Duval                 22-02-9999-0200-0530-0000
8353   2016-S-0000146        Lincoln     Duval                 22-02-9999-0200-0550-3001

 814 2008-S-0000031          Lincoln     Duval                 22-02-9999-0200-0552-3001
 815 2008-S-0000032          Lincoln     Duval                 22-02-9999-0200-0553-3001
 765 2006-S-0000307          Lincoln     Duval                 22-02-9999-0200-0610-3009

1246 224188                  Lincoln     Duval                 22-02-9999-0200-0637-3002
1257 224208                  Lincoln     Duval                 22-02-9999-0200-0726-0000

6112 224491                  Lincoln     Duval                 22-02-9999-0200-0735-0000

6111 224490                  Lincoln     Duval                 22-02-9999-0200-0735-3013
1247 224189                  Lincoln     Duval                 22-02-9999-0200-0746-3006

1248   224190                Lincoln     Duval                 22-02-9999-0200-0795-3002
 769   2006-S-0000316        Lincoln     Duval                 22-02-9999-0200-0839-3003
 770   2006-S-0000317        Lincoln     Duval                 22-02-9999-0200-0840-3003
 771   2006-S-0000318        Lincoln     Duval                 22-02-9999-0200-0841-3003
1249   224191                Lincoln     Duval                 22-02-9999-0200-0876-3002
1250   224192                Lincoln     Duval                 22-02-9999-0200-0882-3002

8354   2016-S-0000147        Lincoln     Duval                 22-02-9999-0200-0894-3002
6103   223097                Lincoln     Duval                 22-02-9999-0200-0897-0000
6101   222708                Lincoln     Duval                 22-02-9999-0200-0924-0000
1087   223796                Lincoln     Duval                 22-02-9999-0200-0946-0000
7174   2014-S-0000032        Lincoln     Duval                 22-02-9999-0200-0964-3008
7170   2014-S-0000028        Lincoln     Duval                 22-02-9999-0200-0964-3012
7173   2014-S-0000031        Lincoln     Duval                 22-02-9999-0200-0966-3008
7169   2014-S-0000027        Lincoln     Duval                 22-02-9999-0200-0966-3012
7172   2014-S-0000030        Lincoln     Duval                 22-02-9999-0200-0968-3008
1251   224193                Lincoln     Duval                 22-02-9999-0200-1022-3005
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 772   2006-S-0000319        Lincoln
                                           of 120
                                          Duval                22-02-9999-0200-1030-3002
 773   2006-S-0000320        Lincoln     Duval                 22-02-9999-0200-1036-3004
 797   2007-S-0000350        Lincoln     Duval                 22-02-9999-0200-1074-0000
 796   2007-S-0000349        Lincoln     Duval                 22-02-9999-0200-1075-0000
1252   224194                Lincoln     Duval                 22-02-9999-0200-1088-3004
1253   224195                Lincoln     Duval                 22-02-9999-0200-1089-3002
1156   223958                Lincoln     Duval                 22-02-9999-0200-1097-0000
1254   224196                Lincoln     Duval                 22-02-9999-0200-1124-3002

1161 223966                  Lincoln     Duval                 22-02-9999-0200-1341-0000

1144 223943                  Lincoln     Duval                 22-02-9999-0200-1344-0000
1145 223944                  Lincoln     Duval                 22-02-9999-0200-1350-0000
1146 223945                  Lincoln     Duval                 22-02-9999-0200-1426-0000

1147   223946                Lincoln     Duval                 22-02-9999-0200-1626-0000
4814   Stonestreet2          Lincoln     Duval                 22-02-9999-0200-1912-0000
4815   Stonestreet3          Lincoln     Duval                 22-02-9999-0200-1913-0000
1162   223967                Lincoln     Duval                 22-02-9999-0200-2120-0000
1163   223968                Lincoln     Duval                 22-02-9999-0200-2125-0000
1164   223969                Lincoln     Duval                 22-02-9999-0201-0118-0000

1148 223947                  Lincoln     Duval                 22-02-9999-0201-1020-0000

1149 223948                  Lincoln     Duval                 22-02-9999-0201-1022-0000
1150 223949                  Lincoln     Duval                 22-02-9999-0201-1099-0000
1151 223950                  Lincoln     Duval                 22-02-9999-0201-1116-0000

1153 223952                  Lincoln     Duval                 22-02-9999-0201-1254-0000

1154   223953                Lincoln     Duval                 22-02-9999-0211-1254-0000
7166   2014-S-0000024        Lincoln     Harts Creek           22-04- 19-0001-0000-3018
 820   2008-S-0000037        Lincoln     Harts Creek           22-04- 19-0001-0000-3021
8357   2016-S-0000150        Lincoln     Harts Creek           22-04- 24-0005-0000-3005
 818   2008-S-0000035        Lincoln     Harts Creek           22-04- 38-0017-0002-0000

 786 2007-S-0000314          Lincoln     Harts Creek           22-04-9999-0400-0065-0000
1088 223800                  Lincoln     Harts Creek           22-04-9999-0400-0066-0000
 568 2009-S-0000025          Lincoln     Harts Creek           22-04-9999-0400-0067-0000

 774 2006-S-0000321          Lincoln     Harts Creek           22-04-9999-0400-0073-3002
6586 223035                  Lincoln     Harts Creek           22-04-9999-0400-0120-3002
 795 2007-S-0000339          Lincoln     Harts Creek           22-04-9999-0400-0159-3002

4045 224223                  Lincoln     Harts Creek           22-04-9999-0400-0185-3004
 883 2009-S-0000012          Lincoln     Harts Creek           22-04-9999-0400-0277-0000
6755 2013-S-0000046          Lincoln     Harts Creek           22-04-9999-0400-0278-0000
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1342   Koontz3               Lincoln
                                           of 120
                                          Harts Creek         22-04-9999-0400-0327-0000
1340   Koontz1               Lincoln    Harts Creek           22-04-9999-0400-0334-0000
7617   2015-S-0000017        Lincoln    Harts Creek           22-04-9999-0400-0421-0000
8001   224720                Lincoln    Harts Creek           22-04-9999-0400-0650-0000
 819   2008-S-0000036        Lincoln    Harts Creek           22-04-9999-0400-0990-0000
1341   Koontz2               Lincoln    Harts Creek           22-04-9999-0400-1030-0000
4219   2010-S-0000085        Lincoln    Harts Creek           22-04-9999-0400-8874-0000
1269   224245                Lincoln    Jefferson             22-05- 8-0009-0000-3002
 775   2006-S-0000329        Lincoln    Jefferson             22-05-9999-0500-0001-0000
 776   2006-S-0000330        Lincoln    Jefferson             22-05-9999-0500-0002-0000
 777   2006-S-0000331        Lincoln    Jefferson             22-05-9999-0500-0003-0000
 778   2006-S-0000332        Lincoln    Jefferson             22-05-9999-0500-0004-0000
1315   224353                Lincoln    Jefferson             22-05-9999-0500-0005-0000
1265   224238                Lincoln    Jefferson             22-05-9999-0500-0034-3008
1266   224240                Lincoln    Jefferson             22-05-9999-0500-0034-3009
1267   224241                Lincoln    Jefferson             22-05-9999-0500-0034-3010
1268   224243                Lincoln    Jefferson             22-05-9999-0500-0034-3012
1270   224246                Lincoln    Jefferson             22-05-9999-0500-0034-3013
6592   224571                Lincoln    Jefferson             22-05-9999-0500-0099-0000
 790   2007-S-0000326        Lincoln    Jefferson             22-05-9999-0500-0101-0000
1052   223689                Lincoln    Jefferson             22-05-9999-0500-0109-3004
1174   224025                Lincoln    Jefferson             22-05-9999-0500-0136-0000
 958   223259                Lincoln    Jefferson             22-05-9999-0500-0149-0000
1263   224235                Lincoln    Jefferson             22-05-9999-0500-0157-0000
1264   224236                Lincoln    Jefferson             22-05-9999-0500-0158-0000
1170   224016                Lincoln    Jefferson             22-05-9999-0500-0182-0000
1171   224017                Lincoln    Jefferson             22-05-9999-0500-0184-0000

1091   223821                Lincoln    Jefferson             22-05-9999-0500-0187-3003
1202   224094                Lincoln    Jefferson             22-05-9999-0500-0187-3008
1258   224230                Lincoln    Jefferson             22-05-9999-0500-0187-3011
7615   2015-S-0000015        Lincoln    Jefferson             22-05-9999-0500-0191-0000
7612   2015-S-0000012        Lincoln    Jefferson             22-05-9999-0500-0192-0000
7614   2015-S-0000014        Lincoln    Jefferson             22-05-9999-0500-0193-0000
7611   2015-S-0000011        Lincoln    Jefferson             22-05-9999-0500-0194-0000
7613   2015-S-0000013        Lincoln    Jefferson             22-05-9999-0500-0195-0000
1316   224354                Lincoln    Jefferson             22-05-9999-0500-0271-0000
1092   223822                Lincoln    Jefferson             22-05-9999-0500-0275-3007
 925   222983                Lincoln    Jefferson             22-05-9999-0500-0427-3003
 926   222984                Lincoln    Jefferson             22-05-9999-0500-0428-3003
 927   222985                Lincoln    Jefferson             22-05-9999-0500-0449-0000
 791   2007-S-0000331        Lincoln    Jefferson             22-05-9999-0500-0458-0000
1093   223823                Lincoln    Jefferson             22-05-9999-0500-0460-0000
1204   224096                Lincoln    Jefferson             22-05-9999-0500-0462-3002
1094   223824                Lincoln    Jefferson             22-05-9999-0500-0462-3006
1259   224231                Lincoln    Jefferson             22-05-9999-0500-0462-3009
1095   223825                Lincoln    Jefferson             22-05-9999-0500-0464-0000
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7161   2014-S-0000019        Lincoln
                                           of 120
                                          Jefferson           22-05-9999-0500-0480-3004
 779   2006-S-0000335        Lincoln    Jefferson             22-05-9999-0500-0497-0000
1203   224095                Lincoln    Jefferson             22-05-9999-0500-0501-0000
 792   2007-S-0000332        Lincoln    Jefferson             22-05-9999-0500-0618-0000
1337   224475                Lincoln    Jefferson             22-05-9999-0500-0640-0000
 878   2009-S-0000007        Lincoln    Jefferson             22-05-9999-0500-0644-3009
1053   223697                Lincoln    Jefferson             22-05-9999-0500-0691-0000
8360   2016-S-0000153        Lincoln    Jefferson             22-05-9999-0500-0727-0000

4235 2010-S-0000101          Lincoln    Jefferson             22-05-9999-0500-0764-3003
 794 2007-S-0000337          Lincoln    Jefferson             22-05-9999-0500-0766-0000

7160   2014-S-0000018        Lincoln    Jefferson             22-05-9999-0500-0770-3003
8361   2016-S-0000154        Lincoln    Jefferson             22-05-9999-0500-0788-0000
1013   223600                Lincoln    Jefferson             22-05-9999-0500-0796-3001
 924   222981                Lincoln    Jefferson             22-05-9999-0500-0806-0000
1167   224008                Lincoln    Jefferson             22-05-9999-0500-1187-0000
1168   224009                Lincoln    Jefferson             22-05-9999-0500-1462-0000
1169   224010                Lincoln    Jefferson             22-05-9999-0500-1519-0000

7162   2014-S-0000020        Lincoln    Jefferson             22-05-9999-0500-2300-3005
4885   223606                Lincoln    Laurel Hill           22-06-9999-0600-0052-0000
4884   223607                Lincoln    Laurel Hill           22-06-9999-0600-0053-0000
1271   224248                Lincoln    Laurel Hill           22-06-9999-0600-0067-3002
1176   224027                Lincoln    Laurel Hill           22-06-9999-0600-0069-0000
9403   2018-S-0000143        Lincoln    Sheridan              22-07- 5-0052-0002-0000
9410   2018-S-0000150        Lincoln    Sheridan              22-07- 27-0088-0000-3010
1054   223698                Lincoln    Sheridan              22-07-9999-0700-0009-0000
1339   224478                Lincoln    Sheridan              22-07-9999-0700-0030-0000
1273   224253                Lincoln    Sheridan              22-07-9999-0700-0066-3015
1274   224254                Lincoln    Sheridan              22-07-9999-0700-0167-3002
1275   224255                Lincoln    Sheridan              22-07-9999-0700-0168-3002
6374   2012-S-0000069        Lincoln    Sheridan              22-07-9999-0700-0183-0000
1276   224256                Lincoln    Sheridan              22-07-9999-0700-0203-3010
 793   2007-S-0000335        Lincoln    Sheridan              22-07-9999-0700-0206-0000
 780   2006-S-0000342        Lincoln    Sheridan              22-07-9999-0700-0306-0000
1277   224257                Lincoln    Sheridan              22-07-9999-0700-0309-3002
7999   224619                Lincoln    Sheridan              22-07-9999-0700-1285-0000
1278   224258                Lincoln    Sheridan              22-07-9999-0700-9090-3002
 897   2009-S-0000036        Lincoln    Union                 22-08-9999-0800-0007-0000
1280   224265                Lincoln    Union                 22-08-9999-0800-0015-3012
1279   224264                Lincoln    Union                 22-08-9999-0800-0016-3012
7178   2014-S-0000036        Lincoln    Union                 22-08-9999-0800-0032-3013
7179   2014-S-0000037        Lincoln    Union                 22-08-9999-0800-0033-3013
7182   2014-S-0000040        Lincoln    Union                 22-08-9999-0800-0034-3013
7183   2014-S-0000041        Lincoln    Union                 22-08-9999-0800-0035-3031
7184   2014-S-0000042        Lincoln    Union                 22-08-9999-0800-0036-3013
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1205 224120                  Lincoln     Union                 22-08-9999-0800-0098-3001
 859 2008-S-0000076          Lincoln     Union                 22-08-9999-0800-0098-3002


1206   224121                Lincoln     Union                 22-08-9999-0800-0098-3004
6116   224515                Lincoln     Union                 22-08-9999-0800-0099-3004
 782   2006-S-0000344        Lincoln     Union                 22-08-9999-0800-0129-3005
 784   2006-S-0000347        Lincoln     Union                 22-08-9999-0800-0140-3003
1097   223858                Lincoln     Union                 22-08-9999-0800-0201-0000
 998   223504                Lincoln     Union                 22-08-9999-0800-0256-0000
8371   2016-S-0000164        Lincoln     Union                 22-08-9999-0800-0276-0000
1281   224266                Lincoln     Union                 22-08-9999-0800-0363-3002
1296   224301                Lincoln     Union                 22-08-9999-0800-0382-0000
6749   2013-S-0000040        Lincoln     Union                 22-08-9999-0800-0389-3005
1282   224267                Lincoln     Union                 22-08-9999-0800-0445-3003

1325 224404                  Lincoln     Union                 22-08-9999-0800-0446-3008
 576 2009-S-0000033          Lincoln     Union                 22-08-9999-0800-0483-3001

 783 2006-S-0000346          Lincoln     Union                 22-08-9999-0800-0498-3003
6381 2012-S-0000076          Lincoln     Union                 22-08-9999-0800-0504-3002
 857 2008-S-0000074          Lincoln     Union                 22-08-9999-0800-0522-3008

6119 224547                  Lincoln     Union                 22-08-9999-0800-0523-3004

 858 2008-S-0000075          Lincoln     Union                 22-08-9999-0800-0524-3008

6115 224514                  Lincoln     Union                 22-08-9999-0800-0526-3008

4239 2010-S-0000105          Lincoln     Union                 22-08-9999-0800-0587-3005
1285 224270                  Lincoln     Union                 22-08-9999-0800-0587-3030

1284 224269                  Lincoln     Union                 22-08-9999-0800-0587-3033
1287 224272                  Lincoln     Union                 22-08-9999-0800-0593-3002
1288 224273                  Lincoln     Union                 22-08-9999-0800-0594-3002

8000   224625                Lincoln     Union                 22-08-9999-0800-0601-0000
 760   2006-S-0000343        Lincoln     Union                 22-08-9999-0800-0625-0000
 933   223063                Lincoln     Union                 22-08-9999-0800-0646-0000
 934   223064                Lincoln     Union                 22-08-9999-0800-0647-0000
 957   223256                Lincoln     Union                 22-08-9999-0800-0655-0000

 864 2008-S-0000081          Lincoln     Union                 22-08-9999-0800-0726-3009
 895 2009-S-0000034          Lincoln     Union                 22-08-9999-0800-0739-0000
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                                           of 120
9417 2018-S-0000157          Lincoln     Union                 22-08-9999-0800-0755-3009

1326 224405                  Lincoln     Union                 22-08-9999-0800-0758-3008

1178 224034                  Lincoln     Union                 22-08-9999-0800-1358-0000
1179 224035                  Lincoln     Union                 22-08-9999-0800-1359-0000
1180 224036                  Lincoln     Union                 22-08-9999-0800-1360-0000

1181 224037                  Lincoln     Union                 22-08-9999-0800-1587-0000

1182   224038                Lincoln     Union                 22-08-9999-0800-1588-0000
1183   224039                Lincoln     Union                 22-08-9999-0800-1653-0000
1184   224040                Lincoln     Union                 22-08-9999-0800-1658-0000
7148   2014-S-0000006        Lincoln     Washington            22-09- 4-0009-0000-0000
 870   2008-S-0000087        Lincoln     Washington            22-09-9999-0900-0023-0000
1292   224292                Lincoln     Washington            22-09-9999-0900-0052-3002
6382   2012-S-0000077        Lincoln     Washington            22-09-9999-0900-0053-0000
1187   224058                Lincoln     Washington            22-09-9999-0900-0083-0000
4620   Turley                Lincoln     Washington            22-09-9999-0900-0113-3001
 785   2006-S-0000350        Lincoln     Washington            22-09-9999-0900-0113-3002
6747   2013-S-0000038        Lincoln     Washington            22-09-9999-0900-0145-3004
 869   2008-S-0000086        Lincoln     Washington            22-09-9999-0900-0149-0000

 898 2009-S-0000037          Lincoln     Washington            22-09-9999-0900-0150-0000

9054 224884                  Lincoln     Washington            22-09-9999-0900-0151-3001
1186 224056                  Lincoln     Washington            22-09-9999-0900-1150-0000
7288 2014-S-0000112          Logan       Guyan                 23-02- 118-0063-0000-0000

4141 2010-S-0000145          Logan       Guyan                 23-02- 118-0066-0013-0000
7505 235252                  Logan       Guyan                 23-02-9999-0000-1370-0000

8796   235551                Logan       Guyan                 23-02-9999-0000-1410-0000
7506   235254                Logan       Guyan                 23-02-9999-0000-1500-0000
8130   235413                Logan       Guyan                 23-02-9999-0000-1540-0000
7636   2015-S-0000126        Logan       Guyan                 23-02-9999-0000-1820-0000

7314   2014-S-0000165        Logan       Guyan                 23-02-9999-0000-1880-0000
4145   2010-S-0000170        Logan       Guyan                 23-02-9999-0000-3260-0000
8131   235414                Logan       Guyan                 23-02-9999-0000-3290-0000
4146   2010-S-0000175        Logan       Guyan                 23-02-9999-0000-3300-0000
8132   235415                Logan       Guyan                 23-02-9999-0000-3510-0000
4134   2010-S-0000105        Logan       Guyan                 23-02-9999-0000-3630-3004

4135 2010-S-0000110          Logan       Guyan                 23-02-9999-0000-3680-3004
7507 235257                  Logan       Guyan                 23-02-9999-0000-3910-0000
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8801   235563                  Logan
                                            of 120
                                           Guyan                   23-02-9999-0000-4600-0000
4148   2010-S-0000195          Logan      Guyan                    23-02-9999-0000-4950-0000
7290   2014-S-0000114          Logan      Guyan                    23-02-9999-0000-5490-0000
4886   231126                  Logan      Guyan                    23-02-9999-0000-5550-0000
8797   235552                  Logan      Guyan                    23-02-9999-0000-5880-0000
9056   235672                  Logan      Guyan                    23-02-9999-0000-5890-0000
8798   235553                  Logan      Guyan                    23-02-9999-0000-5900-0000
9057   235673                  Logan      Guyan                    23-02-9999-0000-5910-0000
6253   2012-S-0000022          Logan      Island Creek             23-03- 201-0001-0000-0000
4149   2010-S-0000205          Logan      Island Creek             23-03- 201-0014-0000-0000
8811   235458                  Logan      Island Creek             23-03-9999-0000-0020-0000

6609   235096                  Logan      Island Creek             23-03-9999-0000-0050-0000
9094   235716                  Logan      Island Creek             23-03-9999-0000-0490-0000
8805   235612                  Logan      Logan                    23-04-9999-0000-0650-0000
5631   2011-S-0000180          Logan      Man City                 23-06- 6-0001-0000-3009

7335 2014-S-0000219            Logan      Triadelphia              23-08- 123-0004-0000-0000

7509 235390                    Logan      Triadelphia              23-08- 123-0004-0000-0000

7336   2014-S-0000220          Logan      Triadelphia              23-08- 123-0004-0000-3015
6257   2012-S-0000036          Logan      Triadelphia              23-08- 132-0008-0000-0000
1357   ER14 (234242)           Logan      Triadelphia              23-08- 132-0009-0000-0000
5630   2011-S-0000210          Logan      Triadelphia              23-08- 132-0011-0000-3009
4877   ER16 (2005-S-0000219)   Logan      Triadelphia              23-08-9999-0000-0380-0000

1505 244137                    Marion     Barrackville             24-01-9999-0010-0460-0000
1383 2009-S-0000009            Marion     Fairmont                 24-02-9999-0021-3460-0000
1506 244145                    Marion     Fairmont                 24-02-9999-0021-5550-0000

1507 244146                    Marion     Fairmont                 24-02-9999-0021-5560-0000

1534 244345                    Marion     Fairmont                 24-03-9999-0031-4960-0000
1568 245138                    Marion     Grant                    24-09-9999-0090-0540-0000

1560 244617                    Marion     Grant                    24-09-9999-0090-2290-3001
1550 244502                    Marion     Grant                    24-09-9999-0090-4790-0000

1077   243719                  Marion     Grant                    24-09-9999-0090-6600-0000
1076   243714                  Marion     Grant                    24-09-9999-0090-7220-0000
5610   2011-S-0000099          Marion     Grant                    24-09-9999-0090-9190-0000
1078   243722                  Marion     Grant                    24-09-9999-0091-2310-0000
1367   2006-S-0000173          Marion     Grant                    24-09-9999-0091-3530-0000

1444 243561                    Marion     Grant                    24-09-9999-0091-4500-0000
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                                           of 120
1515 244240                  Marion      Lincoln               24-11-9999-0110-0661-0000
1080 243730                  Marion      Lincoln               24-11-9999-0110-1210-0000
1083 243757                  Marion      Lincoln               24-11-9999-0110-1850-0000

1494 244046                  Marion      Lincoln               24-11-9999-0110-1920-0000

1514   244238                Marion      Lincoln               24-11-9999-0110-2620-0000
1082   243741                Marion      Lincoln               24-11-9999-0110-2720-0000
1447   243791                Marion      Lincoln               24-11-9999-0110-3020-0000
1072   243697                Marion      Lincoln               24-11-9999-0110-3810-0000
1513   244231                Marion      Lincoln               24-11-9999-0110-3870-0000
1569   245143                Marion      Lincoln               24-11-9999-0110-4240-0000
6517   245796                Marion      Lincoln               24-11-9999-0110-4441-0000
1446   243790                Marion      Lincoln               24-11-9999-0110-5680-0000
1084   243774                Marion      Lincoln               24-11-9999-0110-5841-0000
1570   245147                Marion      Lincoln               24-11-9999-0110-6050-0000
1571   245148                Marion      Lincoln               24-11-9999-0110-6060-0000

1572 245149                  Marion      Lincoln               24-11-9999-0110-6090-0000

1495 244051                  Marion      Lincoln               24-11-9999-0110-6490-0000

1448   243798                Marion      Lincoln               24-11-9999-0110-6540-0000
1492   244027                Marion      Lincoln               24-11-9999-0110-6830-0000
1512   244224                Marion      Lincoln               24-11-9999-0110-8150-0000
1511   244223                Marion      Lincoln               24-11-9999-0110-8160-0000
1439   240628                Marion      Lincoln               24-11-9999-0110-8501-0000

1443 242550                  Marion      Lincoln               24-11-9999-0110-9660-0000
1581 245300                  Marion      Lincoln               24-11-9999-0110-9689-0000

1583   245302                Marion      Lincoln               24-11-9999-0110-9694-0000
1399   2009-S-0000128        Marion      Lincoln               24-11-9999-0110-9872-0000
1445   243780                Marion      Lincoln               24-11-9999-0111-0190-0000
1551   244509                Marion      Lincoln               24-11-9999-0111-0330-0000
1537   244402                Marion      Lincoln               24-11-9999-0111-0340-0000
1493   244034                Marion      Lincoln               24-11-9999-0111-0360-0000

1417   2009-S-0000166        Marion      Mannington            24-12- 42-0031-0002-0000
1449   243803                Marion      Mannington            24-12-9999-0120-0040-0000
1518   244265                Marion      Mannington            24-12-9999-0120-0042-0000
1451   243805                Marion      Mannington            24-12-9999-0120-0080-0000

1450 243804                  Marion      Mannington            24-12-9999-0120-0090-0000

1516 244253                  Marion      Mannington            24-12-9999-0120-0360-0000
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1068 243623                  Marion
                                          of 120
                                         Mannington          24-12-9999-0120-0900-0000
1069 243624                  Marion     Mannington           24-12-9999-0120-1020-0000
1452 243814                  Marion     Mannington           24-12-9999-0120-2230-0000

1413 2009-S-0000155          Marion     Mannington           24-12-9999-0120-2298-0000

1414   2009-S-0000156        Marion     Mannington           24-12-9999-0120-2299-0000
1562   244647                Marion     Mannington           24-12-9999-0120-4610-0000
8638   246481                Marion     Mannington           24-12-9999-0120-5271-0000
8639   246482                Marion     Mannington           24-12-9999-0120-5281-0000
8640   246484                Marion     Mannington           24-12-9999-0120-5301-0000
8641   246485                Marion     Mannington           24-12-9999-0120-5311-0000
8642   246486                Marion     Mannington           24-12-9999-0120-5321-0000
8643   246487                Marion     Mannington           24-12-9999-0120-5331-0000
8644   246488                Marion     Mannington           24-12-9999-0120-5341-0000
8645   246489                Marion     Mannington           24-12-9999-0120-5351-0000
8646   246490                Marion     Mannington           24-12-9999-0120-5371-0000
1468   243866                Marion     Mannington           24-12-9999-0120-5410-0000
1470   243873                Marion     Mannington           24-12-9999-0120-7270-0000
1497   244065                Marion     Mannington           24-12-9999-0120-7691-0000
1498   244066                Marion     Mannington           24-12-9999-0120-7701-0000

1585 245307                  Marion     Mannington           24-12-9999-0120-8559-0000

1586 245308                  Marion     Mannington           24-12-9999-0120-8560-0000
1369 2006-S-0000247          Marion     Mannington           24-12-9999-0120-8561-0000

1371 2006-S-0000249          Marion     Mannington           24-12-9999-0120-8563-0000

1370 2006-S-0000248          Marion     Mannington           24-12-9999-0120-8564-0000


1588 245310                  Marion     Mannington           24-12-9999-0120-8566-0000


1589 245312                  Marion     Mannington           24-12-9999-0120-8569-0000
1590 245313                  Marion     Mannington           24-12-9999-0120-8570-0000
1591 245314                  Marion     Mannington           24-12-9999-0120-8571-0000

1368 2006-S-0000236          Marion     Mannington           24-12-9999-0120-8605-0000
1453 243828                  Marion     Mannington           24-12-9999-0120-9000-0000
1458 243834                  Marion     Mannington           24-12-9999-0120-9190-0000

1454 243829                  Marion     Mannington           24-12-9999-0120-9240-0000

1455 243830                  Marion     Mannington           24-12-9999-0120-9270-0000
1456 243831                  Marion     Mannington           24-12-9999-0120-9280-0000
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1457   243832                Marion
                                          of 120
                                         Mannington          24-12-9999-0120-9290-0000
1459   243835                Marion     Mannington           24-12-9999-0120-9310-0000
1463   243839                Marion     Mannington           24-12-9999-0120-9320-0000
1460   243836                Marion     Mannington           24-12-9999-0120-9330-0000

1575 245161                  Marion     Mannington           24-12-9999-0120-9470-3001
1464 243840                  Marion     Mannington           24-12-9999-0120-9480-0000
1472 243887                  Marion     Mannington           24-12-9999-0121-0821-0000

1466 243843                  Marion     Mannington           24-12-9999-0121-1240-3001
8576 2015-S-0000111          Marion     Mannington           24-12-9999-0121-1631-0000

1473 243890                  Marion     Mannington           24-12-9999-0121-2880-0000

1474   243891                Marion     Mannington           24-12-9999-0121-2910-0000
1467   243846                Marion     Mannington           24-12-9999-0121-3691-0000
1415   2009-S-0000157        Marion     Mannington           24-12-9999-0121-4090-0000
1409   2009-S-0000150        Marion     Mannington           24-12-9999-0121-5731-0000
1574   245155                Marion     Mannington           24-12-9999-0121-5900-0000

1373 2006-S-0000270          Marion     Mannington           24-12-9999-0121-5921-3001

1469 243871                  Marion     Mannington           24-12-9999-0121-5925-3001
1563 244665                  Marion     Mannington           24-12-9999-0121-7260-0000
1465 243842                  Marion     Mannington           24-12-9999-0121-9980-0000

1426 2009-S-0000196          Marion     Paw Paw              24-16- 43-0022-0000-0000

1531   244315                Marion     Paw Paw              24-16-9999-0160-1440-0000
1555   244542                Marion     Paw Paw              24-16-9999-0160-4080-0000
1519   244298                Marion     Paw Paw              24-16-9999-0160-4110-0000
1529   244308                Marion     Paw Paw              24-16-9999-0160-4120-0000
1520   244299                Marion     Paw Paw              24-16-9999-0160-4130-0000
1527   244306                Marion     Paw Paw              24-16-9999-0160-4140-0000
1528   244307                Marion     Paw Paw              24-16-9999-0160-4150-0000
1521   244300                Marion     Paw Paw              24-16-9999-0160-4160-0000
1522   244301                Marion     Paw Paw              24-16-9999-0160-4170-0000
1523   244302                Marion     Paw Paw              24-16-9999-0160-4180-0000
1524   244303                Marion     Paw Paw              24-16-9999-0160-4190-0000

1525   244304                Marion     Paw Paw              24-16-9999-0160-4200-0000
1526   244305                Marion     Paw Paw              24-16-9999-0160-4210-0000
1478   243932                Marion     Paw Paw              24-16-9999-0160-4430-0000
1499   244106                Marion     Paw Paw              24-16-9999-0160-5930-3001
1556   244543                Marion     Paw Paw              24-16-9999-0160-8920-0000
1485   243951                Marion     Paw Paw              24-16-9999-0160-9900-0000
1486   243955                Marion     Paw Paw              24-16-9999-0161-0750-0000
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1500   244108                Marion
                                          of 120
                                         Paw Paw             24-16-9999-0161-1270-0000
1479   243937                Marion     Paw Paw              24-16-9999-0161-1290-0000
1487   243957                Marion     Paw Paw              24-16-9999-0161-1530-0000
1477   243925                Marion     Paw Paw              24-16-9999-0161-2450-3001

1480   243939                Marion     Paw Paw              24-16-9999-0161-2460-0000
1481   243940                Marion     Paw Paw              24-16-9999-0161-2470-0000
1482   243941                Marion     Paw Paw              24-16-9999-0161-2480-0000
1483   243942                Marion     Paw Paw              24-16-9999-0161-2490-0000
1540   244451                Marion     Paw Paw              24-16-9999-0161-2890-0000
1489   243966                Marion     Paw Paw              24-16-9999-0161-3900-0000
1503   244112                Marion     Paw Paw              24-16-9999-0161-4020-0000
1491   243971                Marion     Paw Paw              24-16-9999-0161-5930-0000
1504   244118                Marion     Paw Paw              24-16-9999-0161-9940-0000
1532   244317                Marion     Paw Paw              24-16-9999-0162-1560-0000

4522 244460                  Marion     Paw Paw              24-16-9999-0162-3090-0000
1546 244461                  Marion     Paw Paw              24-16-9999-0162-3100-0000

1593 245322                  Marion     Paw Paw              24-16-9999-0162-4900-0000
1380 2008-S-0000168          Marion     Union                24-18-9999-0180-0670-0000

1066 243567                  Marion     Winfield             24-19-9999-0190-1110-0000

1594 245329                  Marion     Winfield             24-19-9999-0191-2680-0000

7736   2015-S-0000148        Marshall   Clay                 25-04-9999-0000-3023-0400
4444   2010-S-0000028        Marshall   Meade                25-09-9999-0000-5960-0000
1610   251868                Marshall   Washington           25-14-9999-0000-1490-1400
1651   2009-S-0000006        Mason      Arbuckle             26-01-9999-0606-6632-0000
1652   2009-S-0000007        Mason      Arbuckle             26-01-9999-0606-6641-0000

6610 26767                   Mason      Clendenin            26-02-9999-0685-0849-0000
1669 26699                   Mason      Clendenin            26-02-9999-0685-0850-0000

1655   2009-S-0000025        Mason      Cologne              26-03-9999-0603-9128-0000
1671   26747                 Mason      Cooper               26-04-9999-0681-2032-0000
5605   2011-S-0000071        Mason      Union                26-15-9999-0601-2879-0000
1637   2006-S-0000029        Mason      Union                26-15-9999-0608-2678-0000
1638   2007-S-0000060        Mason      Union                26-15-9999-0608-5112-0000
1639   2007-S-0000061        Mason      Union                26-15-9999-0608-5121-0000
7104   2014-S-0000105        Mason      Union                26-15-9999-0608-7021-0000
1664   2009-S-0000102        Mason      Waggener             26-16-9999-0603-1402-0000

7523 339631                  McDowell   Browns Creek         27-04-9999-0390-0000-0000
1680 2007-S-0000037          McDowell   Sandy River          27-13- 5-0023-0000-0000
1677 2006-S-0000058          McDowell   Sandy River          27-13- 224-0032-0000-0000
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7987   3310240               McDowell    Sandy River            27-13-9999-0037-5930-0000
1689   2008-S-0000038        McDowell    Sandy River            27-13-NOMP-0281-9011-0000
1678   2006-S-0000065        McDowell    War Corp               27-14- 3-0001-0000-0000
4271   10-S-0067             Mercer      Beaver Pond            28-02- 17-0159-0000-0000
1728   2007-S-0000031        Mercer      Beaver Pond            28-02-9999-0613-8440-0000
1897   276122                Mercer      Beaver Pond            28-02-9999-0618-1810-0000
4272   10-S-0294             Mercer      East River             28-05- 29-0010-0010-0000
4273   10-S-0295             Mercer      East River             Min not taxed
1760   2008-S-0000429        Mercer      Jumping Branch         28-06-9999-0617-6853-0000
1906   277037                Mercer      Rock                   28-11- 44-0045-0000-0000
1729   2007-S-0000432        Mercer      Rock                   28-11- 44L-0003-0000-0000
1908   277042                Mercer      Rock                   28-11-9999-0630-5330-0000
7025   2014-S-448            Mercer      Rock                   28-11-9999-0643-1168-0000
4046   2010-S-0000007        Mineral     Cabin Run              29-01-9999-0602-7159-0000

1945 28596                   Mineral     Elk                    29-02-9999-0601-0078-0000

1946 28598                   Mineral     Elk                    29-02-9999-0601-0103-0000

1947 28600                   Mineral     Elk                    29-02-9999-0601-0121-0000

1948 28602                   Mineral     Elk                    29-02-9999-0601-0149-0000
1949 28604                   Mineral     Elk                    29-02-9999-0601-0201-0000
1950 28606                   Mineral     Elk                    29-02-9999-0601-1736-0000

1912   2008-S-0000031        Mineral     Elk                    29-02-9999-0601-4421-0000
1951   28608                 Mineral     Elk                    29-02-9999-0601-4706-0000
1914   2008-S-0000033        Mineral     Elk                    29-02-9999-0612-6168-0000
1952   28610                 Mineral     Elk                    29-02-9999-0614-8670-0000

1954 28614                   Mineral     Elk                    29-02-9999-0616-5188-0000

4047 2010-S-0000009          Mineral     Elk                    29-02-9999-2009-0005-0000

1934 280010                  Mineral     Elk                    29-02-9999-2012-0007-0000

1941 28582                   Mineral     New Creek              29-06-9999-0607-9405-0000


1943 28585                   Mineral     New Creek              29-06-9999-0612-9156-0000

1944 28586                   Mineral     New Creek              29-06-9999-0612-9165-0000
1931 2009-S-0000060          Mineral     Piedmont               29-08-9999-0600-1649-0000

1928 2009-S-0000056          Mineral     Piedmont               29-08-9999-0600-2167-0000
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1930   2009-S-0000059        Mineral      Piedmont               29-08-9999-0616-1618-0000
1932   2009-S-0000062        Mineral      Welton                 29-10-9999-0603-3936-0000
1957   28636                 Mineral      Welton                 29-10-9999-0603-7086-0000
1958   28637                 Mineral      Welton                 29-10-9999-0603-7095-0000
8143   295275                Mingo        Hardee                 30-03- 305-0097-0001-0000
8156   295487                Mingo        Hardee                 30-03- 306-0015-0000-0000
2018   294118                Mingo        Hardee                 30-03-NOMP-0188-0000-0000
6618   295092                Mingo        Hardee                 30-03-NOMP-0195-0000-0000
8157   295490                Mingo        Harvey                 30-04-9999-0040-0140-0000
5569   2011-S-0000009        Mingo        Harvey                 30-04-9999-0040-0620-0000
1970   2007-S-0000015        Mingo        Harvey                 30-04-NOMP-0009-0000-0000
8149   295375                Mingo        Kermit                 30-05- 181-0002-0003-0000

2004   2009-S-0000020        Mingo        Kermit                 30-05-9999-0050-0550-0000
1983   2008-S-0000031        Mingo        Kermit                 30-05-9999-0050-0700-0000
1984   2008-S-0000032        Mingo        Kermit                 30-05-9999-0050-0710-0000
1985   2008-S-0000033        Mingo        Kermit                 30-05-9999-0050-0720-0000
1986   2008-S-0000034        Mingo        Kermit                 30-05-9999-0050-0740-0000
1972   2007-S-0000031        Mingo        Kermit                 30-05-9999-0050-1340-0000

1971   2007-S-0000030        Mingo        Kermit                 30-05-9999-0050-7010-3001
2036   294747                Mingo        Kermit                 30-05-9999-0181-0002-0000
2037   294791                Mingo        Lee                    30-06-9999-0060-0110-0000
2038   294799                Mingo        Magnolia               30-07- 527-0004-0000-0000
9097   295760                Mingo        Magnolia               30-07-9999-0070-0720-0000
1992   2008-S-0000052        Mingo        Magnolia               30-07-9999-0070-0740-0000
1991   2008-S-0000051        Mingo        Magnolia               30-07-9999-0070-0750-0000
1965   2006-S-0000048        Mingo        Magnolia               30-07-9999-0070-0890-0000
6628   295142                Mingo        Stafford               29-09-9999-0090-0220-3001
6629   295143                Mingo        Stafford               29-09-9999-0090-0240-0000
6630   295144                Mingo        Stafford               29-09-9999-0090-0250-0000
2020   294185                Mingo        Stafford               30-09- 592-0004-0000-0000
2039   294811                Mingo        Stafford               30-09- 592-0005-0000-0000
8806   294648                Mingo        Stafford               30-09-9999-0090-0400-0000
1966   2006-S-0000063        Mingo        Stafford               30-09-9999-0090-0520-0000

5570   2011-S-0000048        Mingo        Stafford               30-09-9999-0090-0530-0000
2031   294577                Mingo        Stafford               30-09-NOMP-0094-0000-0000
2032   294579                Mingo        Stafford               30-09-NOMP-0097-0000-0000
8150   295430                Mingo        Tug River              30-10-9999-0010-0230-0000
1839   304505                Monongalia   Battelle               31-01-9999-0000-1811-3001
1840   304506                Monongalia   Battelle               31-01-9999-0000-1821-3001
1841   304507                Monongalia   Battelle               31-01-9999-0000-1831-3001
1842   304508                Monongalia   Battelle               31-01-9999-0000-1841-3001
2111   303959                Monongalia   Battelle               31-01-9999-0000-1851-3002
1844   304510                Monongalia   Battelle               31-01-9999-0000-1861-3001
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2113   304018
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                             Monongalia Battelle                31-01-9999-0100-0124-0000
2252   304939                Monongalia   Battelle              31-01-9999-0100-0345-0000
1850   304522                Monongalia   Battelle              31-01-9999-0100-0437-0000
1851   304523                Monongalia   Battelle              31-01-9999-0100-0438-0000
2116   304022                Monongalia   Battelle              31-01-9999-0100-0441-0000
2117   304023                Monongalia   Battelle              31-01-9999-0100-0442-0000
1834   304487                Monongalia   Battelle              31-01-9999-0100-0467-0000
1854   304528                Monongalia   Battelle              31-01-9999-0100-0513-0000
2227   304800                Monongalia   Battelle              31-01-9999-0100-0543-0000
2251   304930                Monongalia   Battelle              31-01-9999-0100-0574-0000
2299   305647                Monongalia   Battelle              31-01-9999-0100-0601-0000
2068   2009-S-0000040        Monongalia   Battelle              31-01-9999-0100-0624-0000
1836   304490                Monongalia   Battelle              31-01-9999-0100-0668-0000
1837   304491                Monongalia   Battelle              31-01-9999-0100-0669-0000
1855   304535                Monongalia   Battelle              31-01-9999-0100-0676-0000
2114   304019                Monongalia   Battelle              31-01-9999-0100-0686-3001
2118   304045                Monongalia   Battelle              31-01-9999-0100-0749-0000
1853   304525                Monongalia   Battelle              31-01-9999-0100-1042-0000
1835   304489                Monongalia   Battelle              31-01-9999-0100-1104-0000
2228   304810                Monongalia   Cass                  31-03-9999-0001-8133-3002
2101   303858                Monongalia   Cass                  31-03-9999-0003-5083-0000
2173   304568                Monongalia   Cass                  31-03-9999-0007-5143-0000
2174   304569                Monongalia   Cass                  31-03-9999-0007-5153-0000
2312   305668                Monongalia   Cass                  31-03-9999-0009-2213-3004

2313 305671                  Monongalia Cass                    31-03-9999-0009-2243-3004
1859 304559                  Monongalia Cass                    31-03-9999-0030-0160-0000

1860   304560                Monongalia   Cass                  31-03-9999-0030-0170-0000
1857   304547                Monongalia   Cass                  31-03-9999-0030-0174-0000
2230   304813                Monongalia   Cass                  31-03-9999-0030-0262-0000
2305   305656                Monongalia   Cass                  31-03-9999-0030-1090-0000

2180   304594                Monongalia   Cass                  31-03-9999-0300-0064-0000
2181   304595                Monongalia   Cass                  31-03-9999-0300-0065-0000
2308   305659                Monongalia   Cass                  31-03-9999-0300-0083-0000
2309   305662                Monongalia   Cass                  31-03-9999-0300-0086-0000
2184   304602                Monongalia   Cass                  31-03-9999-0300-0097-0000
2185   304603                Monongalia   Cass                  31-03-9999-0300-0131-0000
2187   304607                Monongalia   Cass                  31-03-9999-0300-0133-0000
2186   304604                Monongalia   Cass                  31-03-9999-0300-0137-0000
2279   305372                Monongalia   Cass                  31-03-9999-0300-0208-0000
2229   304811                Monongalia   Cass                  31-03-9999-0300-0244-0000
2176   304573                Monongalia   Cass                  31-03-9999-0300-0255-0000
2182   304599                Monongalia   Cass                  31-03-9999-0300-0290-0000
2120   304065                Monongalia   Cass                  31-03-9999-0300-0311-0000
2142   304102                Monongalia   Cass                  31-03-9999-0300-0316-0000
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2188   304609
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                             Monongalia Cass                 31-03-9999-0300-0318-0000
2172   304566                Monongalia   Cass               31-03-9999-0300-0402-0000
2290   305600                Monongalia   Cass               31-03-9999-0300-0431-0000
2139   304092                Monongalia   Cass               31-03-9999-0300-0441-0000
2103   303863                Monongalia   Cass               31-03-9999-0300-0448-0000

2070 303504                  Monongalia Cass                 31-03-9999-0300-0543-0000

2071   303505                Monongalia   Cass               31-03-9999-0300-0544-0000
2327   305764                Monongalia   Cass               31-03-9999-0300-0571-0000
2090   303738                Monongalia   Cass               31-03-9999-0300-0696-0000
2301   305652                Monongalia   Cass               31-03-9999-0300-0725-0000
1858   304555                Monongalia   Cass               31-03-9999-0300-0831-0000
2169   304562                Monongalia   Cass               31-03-9999-0300-0949-0000
2170   304563                Monongalia   Cass               31-03-9999-0300-0950-0000

2171   304564                Monongalia   Cass               31-03-9999-0300-0951-0000
2302   305653                Monongalia   Cass               31-03-9999-0300-0952-0000
2131   304081                Monongalia   Cass               31-03-9999-0300-1001-0000
2135   304087                Monongalia   Cass               31-03-9999-0300-1010-0000
2137   304089                Monongalia   Cass               31-03-9999-0300-1012-0000
2126   304074                Monongalia   Cass               31-03-9999-0300-1043-0000
2280   305373                Monongalia   Cass               31-03-9999-0300-1053-0000

2046   2007-S-0000068        Monongalia   Cass               31-03-9999-0300-1106-3001
2072   303614                Monongalia   Cass               31-03-9999-0300-1192-0000
2073   303615                Monongalia   Cass               31-03-9999-0300-1193-0000
2276   305369                Monongalia   Cass               31-03-9999-0300-1303-0000
2254   304963                Monongalia   Cass               31-03-9999-0300-1332-0000
2303   305654                Monongalia   Cass               31-03-9999-0300-1346-0000
2108   303942                Monongalia   Cass               31-03-9999-0300-1413-0000
2109   303943                Monongalia   Cass               31-03-9999-0300-1414-0000
6524   305825                Monongalia   Cass               31-03-9999-0300-1610-3004
6523   305823                Monongalia   Cass               31-03-9999-0300-1610-3005
6677   2013-S-0000040        Monongalia   Cass               31-03-9999-0300-1610-3006
2304   305655                Monongalia   Cass               31-03-9999-0300-1660-0000
2175   304572                Monongalia   Cass               31-03-9999-0300-1701-0000
2272   305224                Monongalia   Cass               31-03-9999-0300-1960-0000
2190   304620                Monongalia   Clay               31-04-9999-0001-9154-3003
2198   304677                Monongalia   Clay               31-04-9999-0001-9154-3004
2147   304192                Monongalia   Clay               31-04-9999-0009-8124-3002
2148   304193                Monongalia   Clay               31-04-9999-0009-8154-3002
2194   304648                Monongalia   Clay               31-04-9999-0040-0229-0000
2189   304619                Monongalia   Clay               31-04-9999-0040-0437-0000
2075   303621                Monongalia   Clay               31-04-9999-0040-0454-0000
2233   304825                Monongalia   Clay               31-04-9999-0040-0467-0000
2236   304834                Monongalia   Clay               31-04-9999-0040-0507-0000
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2050   2009-S-0000022
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                             Monongalia Clay                   31-04-9999-0400-0019-0000
2193   304643                Monongalia   Clay                 31-04-9999-0400-0030-0000
2074   303620                Monongalia   Clay                 31-04-9999-0400-0164-0000
2143   304109                Monongalia   Clay                 31-04-9999-0400-0193-0000
2199   304680                Monongalia   Clay                 31-04-9999-0400-0289-0000
2153   304213                Monongalia   Clay                 31-04-9999-0400-0291-0000
2200   304681                Monongalia   Clay                 31-04-9999-0400-0295-0000

2063   2009-S-0000035        Monongalia   Clay                 31-04-9999-0400-0429-3001
2256   304969                Monongalia   Clay                 31-04-9999-0400-0473-0000
2237   304841                Monongalia   Clay                 31-04-9999-0400-0521-0000
2234   304828                Monongalia   Clay                 31-04-9999-0400-0570-0000
2144   304129                Monongalia   Clay                 31-04-9999-0400-0661-0000
2257   304979                Monongalia   Clay                 31-04-9999-0400-0850-0000
2291   305612                Monongalia   Clay                 31-04-9999-0400-0853-0000
2082   303668                Monongalia   Clay                 31-04-9999-0400-0970-0000
2203   304689                Monongalia   Clay                 31-04-9999-0400-0975-0000
2191   304629                Monongalia   Clay                 31-04-9999-0400-0985-0000
2192   304637                Monongalia   Clay                 31-04-9999-0400-1096-0000
2235   304833                Monongalia   Clay                 31-04-9999-0400-1119-0000
4887   304695                Monongalia   Clay                 31-04-9999-0400-1351-0000
2197   304674                Monongalia   Clay                 31-04-9999-0400-1474-0000
2259   305007                Monongalia   Clinton              31-05-9999-0001-5255-3002
2061   2009-S-0000033        Monongalia   Clinton              31-05-9999-0009-5025-0000
2060   2009-S-0000032        Monongalia   Clinton              31-05-9999-0009-5035-0000

2325 305737                  Monongalia Clinton                31-05-9999-0500-0007-0000

2315   305706                Monongalia   Clinton              31-05-9999-0500-0010-0000
4157   2010-S-0000028        Monongalia   Clinton              31-05-9999-0500-0091-0000
2285   305539                Monongalia   Clinton              31-05-9999-0500-0133-0000
2076   303630                Monongalia   Clinton              31-05-9999-0500-0371-0000
1779   304276                Monongalia   Clinton              31-05-9999-0500-0699-0000

2267 305131                  Monongalia Clinton                31-05-9999-0500-0706-3006
2316 305707                  Monongalia Clinton                31-05-9999-0500-0828-0000
2167 304266                  Monongalia Clinton                31-05-9999-0500-1055-0000

2161 304255                  Monongalia Clinton                31-05-9999-0500-1102-0000

2162   304256                Monongalia   Clinton              31-05-9999-0500-1103-0000
2163   304257                Monongalia   Clinton              31-05-9999-0500-1104-0000
2165   304260                Monongalia   Clinton              31-05-9999-0500-1222-0000
2329   305778                Monongalia   Clinton              31-05-9999-0500-1332-0000
2238   304863                Monongalia   Clinton              31-05-9999-0500-1511-0000
2158   304243                Monongalia   Clinton              31-05-9999-0500-1747-3001
2166   304261                Monongalia   Clinton              31-05-9999-0500-1747-3002
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2314 305702
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                             Monongalia Clinton                31-05-9999-0500-1747-3003
2293 305616                  Monongalia Clinton                31-05-9999-0500-1747-3004
2204 304700                  Monongalia Clinton                31-05-9999-0500-2600-0000

2205   304701                Monongalia   Clinton              31-05-9999-0500-2610-0000
1805   304339                Monongalia   Grant                31-07-9999-0000-4267-3002
2296   305622                Monongalia   Grant                31-07-9999-0070-0010-0000
2248   304900                Monongalia   Grant                31-07-9999-0070-0040-0000

2239   304876                Monongalia   Grant                31-07-9999-0070-0110-0000
4156   2010-S-0000027        Monongalia   Grant                31-07-9999-0070-0480-0000
2216   304734                Monongalia   Grant                31-07-9999-0070-0759-0000
1829   304378                Monongalia   Grant                31-07-9999-0070-1131-0000
2317   305709                Monongalia   Grant                31-07-9999-0700-0010-0000
2318   305710                Monongalia   Grant                31-07-9999-0700-0020-0000
2319   305711                Monongalia   Grant                31-07-9999-0700-0050-0000
2320   305712                Monongalia   Grant                31-07-9999-0700-0060-0000
2213   304726                Monongalia   Grant                31-07-9999-0700-0145-0000
2281   305442                Monongalia   Grant                31-07-9999-0700-0146-0000
1801   304329                Monongalia   Grant                31-07-9999-0700-0251-0000
1802   304332                Monongalia   Grant                31-07-9999-0700-0327-0000

1830 304384                  Monongalia Grant                  31-07-9999-0700-0416-0000

1831   304385                Monongalia   Grant                31-07-9999-0700-0417-0000
1832   304387                Monongalia   Grant                31-07-9999-0700-0420-0000
1803   304333                Monongalia   Grant                31-07-9999-0700-0448-0000
2208   304712                Monongalia   Grant                31-07-9999-0700-0449-0000
2209   304713                Monongalia   Grant                31-07-9999-0700-0450-0000
2079   303637                Monongalia   Grant                31-07-9999-0700-0487-0000
2286   305557                Monongalia   Grant                31-07-9999-0700-0616-0000
1820   304365                Monongalia   Grant                31-07-9999-0700-0654-0000
1804   304338                Monongalia   Grant                31-07-9999-0700-0833-0000
2246   304896                Monongalia   Grant                31-07-9999-0700-0969-0000
2247   304897                Monongalia   Grant                31-07-9999-0700-0970-0000
1824   304371                Monongalia   Grant                31-07-9999-0700-0973-0000
1825   304372                Monongalia   Grant                31-07-9999-0700-0975-0000
1826   304373                Monongalia   Grant                31-07-9999-0700-0976-0000
1827   304374                Monongalia   Grant                31-07-9999-0700-0977-0000
1819   304360                Monongalia   Grant                31-07-9999-0700-1035-0000
1828   304377                Monongalia   Grant                31-07-9999-0700-1130-0000
2212   304724                Monongalia   Grant                31-07-9999-0700-1135-0000
1823   304368                Monongalia   Grant                31-07-9999-0700-1182-0000
2214   304729                Monongalia   Grant                31-07-9999-0700-1229-0000
2207   304711                Monongalia   Grant                31-07-9999-0700-1293-0000
2078   303633                Monongalia   Grant                31-07-9999-0700-1555-0000
2083   303673                Monongalia   Grant                31-07-9999-0700-1600-0000
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2084   303674
                                         of 120
                             Monongalia Grant                      31-07-9999-0700-1601-0000
2085   303675                Monongalia   Grant                    31-07-9999-0700-1602-0000
2086   303676                Monongalia   Grant                    31-07-9999-0700-1604-0000
2215   304730                Monongalia   Grant                    31-07-9999-0700-1790-3001
8649   305995                Monongalia   Grant                    31-07-9999-0700-1810-0000
2087   303678                Monongalia   Grant                    31-07-9999-0700-1820-0000
2273   305280                Monongalia   Grant                    31-07-9999-0700-1900-0000

6525   305829                Monongalia   Morgan                   31-08-9999-0080-0010-3001
2217   304763                Monongalia   Morgan                   31-08-9999-0800-0270-0000
2297   305624                Monongalia   Morgan                   31-08-9999-0800-0354-0000
2288   305576                Monongalia   Morgan                   31-08-9999-0800-0731-0000
2218   304766                Monongalia   Morgan                   31-08-9999-0800-0761-0000

2057 2009-S-0000029          Monongalia Morgan                     31-08-9999-0800-1434-0000
5609 2011-S-0000082          Monongalia Morgan                     31-08-9999-0800-1790-0000
2269 305196                  Monongalia Morgan                     31-14-9999-0140-0540-0000

6526   305831                Monongalia   Union                    31-18- 14-0019-0001-0000
2219   304775                Monongalia   Union                    31-18-9999-0800-0111-0000
1797   304319                Monongalia   Union                    31-18-9999-0800-0114-0000
2220   304777                Monongalia   Union                    31-18-9999-0800-0115-0000
1796   304318                Monongalia   Union                    31-18-9999-0800-0321-0000
8651   306014                Monongalia   Union                    31-18-9999-0800-0335-0000
8650   306013                Monongalia   Union                    31-18-9999-0800-0338-0000

1784 304303                  Monongalia Union                      31-18-9999-0800-0620-0000
2283 305470                  Monongalia Union                      31-18-9999-0800-0827-0000

2284   305471                Monongalia   Union                    31-18-9999-0800-0828-0000
1795   304317                Monongalia   Union                    31-18-9999-0800-1224-0000
1783   304302                Monongalia   Union                    31-18-9999-0800-1631-0000
9098   341858                Nicholas     Grant                    34-02-9999-0269-4701-3004
4875   ER1                   Nicholas     Hamilton                 34-03-9999-0300-9160-0000

2384   353735                Ohio         Liberty                  35-03-9999-0615-6624-0000
2352   350254                Ohio         Liberty                  35-03-9999-0615-9532-0000
2407   354481                Ohio         Liberty                  35-03-9999-0628-0366-0000
2351   2006-S-0000013        Ohio         Richland                 35-04-9999-0621-4027-0000
2354   350296                Ohio         Richland                 35-04-9999-0622-1992-0000
2357   350330                Ohio         Richland                 35-04-9999-0622-2232-0000
2374   352391                Ohio         Ritchie
2398   354073                Ohio         Triadelphia              35-06-9999-0622-2599-0000
2372   352173                Ohio         Triadelphia              35-06-9999-0624-0481-0000
2370   351525                Ohio         Triadelphia              35-10-9999-0619-3246-0000
2368   350877                Ohio         Triadelphia              35-10-9999-0619-3530-0000
2367   350856                Ohio         Triadelphia              35-10-NOMP-0619-3415-0000
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2371 351526                  Ohio         Wheeling              35-10-9999-0619-3237-0000

2461   37427                 Pleasants    McKim                 37-05-9999-0000-6165-0000
2462   2008-S-0000005        Pocahontas   Edray                 38-03-9999-0300-0170-0000
2471   2009-S-0000057        Pocahontas   Huntersville          38-06-9999-0600-0110-0000
2726   393300                Preston      Albright Corp         39-18-9999-0616-8309-3001

2994 Basham                  Preston      Grant                 39-10- 12-0041-0001-3001
5673 2011-S-63               Preston      Grant                 39-10-9999-0605-7777-0000

3002   Fisher                Preston      Grant                 39-10-9999-0605-9855-0000
2716   393259                Preston      Grant                 39-10-9999-0606-0987-0000
2556   392451                Preston      Grant                 39-10-9999-0606-1735-0000
2887   393735                Preston      Grant                 39-10-9999-0606-2547-0000

7475 394237                  Preston      Grant                 39-10-9999-0606-3831-0000

7471 394233                  Preston      Grant                 39-10-9999-0606-3831-0000

7983 394475                  Preston      Grant                 39-10-9999-0606-3831-0000

2717 393261                  Preston      Grant                 39-10-9999-0606-3831-3003

6297 2012-S-120              Preston      Grant                 39-10-9999-0606-3831-3010

6302 2012-S-125              Preston      Grant                 39-10-9999-0606-3831-3011

7472   394234                Preston      Grant                 39-10-9999-0606-3840-0000
7476   394238                Preston      Grant                 39-10-9999-0606-3840-0000
2718   393262                Preston      Grant                 39-10-9999-0606-3840-3003
6298   2012-S-121            Preston      Grant                 39-10-9999-0606-3840-3010
6303   2012-S-126            Preston      Grant                 39-10-9999-0606-3840-3011
2972   393852                Preston      Grant                 39-10-9999-0606-3840-3014

7473 394235                  Preston      Grant                 39-10-9999-0606-3859-0000

7477 394239                  Preston      Grant                 39-10-9999-0606-3859-0000

2719 393263                  Preston      Grant                 39-10-9999-0606-3859-3003

6299 2012-S-122              Preston      Grant                 39-10-9999-0606-3859-3010

6304   2012-S-127            Preston      Grant                 39-10-9999-0606-3859-3011
7478   394240                Preston      Grant                 39-10-9999-0606-3868-0000
7474   394236                Preston      Grant                 39-10-9999-0606-3868-0000
7984   394476                Preston      Grant                 39-10-9999-0606-3868-0000
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2720   393264            Preston
                                       of 120
                                      Grant                39-10-9999-0606-3868-3003
6300   2012-S-123        Preston     Grant                 39-10-9999-0606-3868-3010
6305   2012-S-128        Preston     Grant                 39-10-9999-0606-3868-3011
5674   2011-S-60         Preston     Grant                 39-10-9999-0606-4554-0000
5675   2011-S-65         Preston     Grant                 39-10-9999-0606-4563-0000
5676   2011-S-57         Preston     Grant                 39-10-9999-0606-4572-0000

5677 2011-S-58           Preston     Grant                 39-10-9999-0606-4581-0000

5678 2011-S-67           Preston     Grant                 39-10-9999-0606-4590-0000

5679 2011-S-55           Preston     Grant                 39-10-9999-0606-4607-0000

8678 394590              Preston     Grant                 39-10-9999-0606-5205-0000
2671 393135              Preston     Grant                 39-10-9999-0606-6339-0000

4605 Warrior19           Preston     Grant                 39-10-9999-0606-8042-0000

4606 Warrior20           Preston     Grant                 39-10-9999-0606-8051-0000

2552 392443              Preston     Grant                 39-10-9999-0606-8079-0000

2553 392447              Preston     Grant                 39-10-9999-0606-8104-0000

2554 392448              Preston     Grant                 39-10-9999-0606-8113-0000
2555 392449              Preston     Grant                 39-10-9999-0606-8122-0000
2721 393273              Preston     Grant                 39-10-9999-0606-9764-0000

2837 393574              Preston     Grant                 39-10-9999-0607-0556-0000
2668 393041              Preston     Grant                 39-10-9999-0607-1485-0000
2531 392014              Preston     Grant                 39-10-9999-0607-2037-0000

5680 2011-S-53           Preston     Grant                 39-10-9999-0620-6973-0000
2632 392830              Preston     Grant                 39-10-9999-0908-1566-0000

2889 393738              Preston     Grant                 39-10-9999-0912-5190-0000
2633 392831              Preston     Grant                 39-10-9999-0912-9711-0000

2604   392696            Preston     Grant                 39-10-9999-0921-5836-0000
2729   393306            Preston     Kingwood              39-01-9999-0617-6121-0000
2895   393753            Preston     Kingwood              39-01-9999-0617-8414-0000
2896   393754            Preston     Kingwood              39-01-9999-0617-8423-0000
2897   393755            Preston     Kingwood              39-01-9999-0617-8432-0000
2898   393756            Preston     Kingwood              39-01-9999-0617-8441-0000
2899   393757            Preston     Kingwood              39-01-9999-0617-8450-0000
2900   393758            Preston     Kingwood              39-01-9999-0617-8478-0000
2901   393759            Preston     Kingwood              39-01-9999-0617-8487-0000
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2902   393760              Preston
                                         of 120
                                        Kingwood            39-01-9999-0617-8496-0000
2903   393761              Preston    Kingwood              39-01-9999-0617-8502-0000
2904   393762              Preston    Kingwood              39-01-9999-0617-8511-0000
2905   393763              Preston    Kingwood              39-01-9999-0617-8520-0000
2907   393765              Preston    Kingwood              39-01-9999-0617-8548-0000
2908   393766              Preston    Kingwood              39-01-9999-0617-8557-0000
2909   393767              Preston    Kingwood              39-01-9999-0617-8566-0000
2910   393768              Preston    Kingwood              39-01-9999-0617-8575-0000
2754   393498              Preston    Kingwood              39-01-9999-0617-8584-0000
2911   393769              Preston    Kingwood              39-01-9999-0617-8593-0000
2912   393770              Preston    Kingwood              39-01-9999-0617-8600-0000
2913   393771              Preston    Kingwood              39-01-9999-0617-8619-0000
2914   393772              Preston    Kingwood              39-01-9999-0617-8664-0000
2915   393773              Preston    Kingwood              39-01-9999-0617-8673-0000
2916   393774              Preston    Kingwood              39-01-9999-0617-8682-0000
2917   393775              Preston    Kingwood              39-01-9999-0617-8691-0000

2918 393776                Preston    Kingwood              39-01-9999-0617-8708-0000

2919 393777                Preston    Kingwood              39-01-9999-0617-8717-0000

2755 393503                Preston    Kingwood              39-01-9999-0617-8726-0000

2920   393778              Preston    Kingwood              39-01-9999-0617-8735-0000
2921   393779              Preston    Kingwood              39-01-9999-0617-8744-0000
2922   393780              Preston    Kingwood              39-01-9999-0617-8753-0000
4564   Warrior2            Preston    Kingwood              39-01-9999-0617-9556-0000

4614   Warrior28           Preston    Kingwood              39-01-9999-0617-9636-0000
2923   393781              Preston    Kingwood              39-01-9999-0617-9770-0000
2924   393782              Preston    Kingwood              39-01-9999-0617-9789-0000
2925   393783              Preston    Kingwood              39-01-9999-0617-9798-0000
2926   393784              Preston    Kingwood              39-01-9999-0617-9805-0000
2927   393785              Preston    Kingwood              39-01-9999-0617-9814-0000

2928   393786              Preston    Kingwood              39-01-9999-0617-9823-0000
2929   393787              Preston    Kingwood              39-01-9999-0617-9887-0000
2930   393788              Preston    Kingwood              39-01-9999-0617-9896-0000
8652   394484              Preston    Kingwood              39-01-9999-0618-0964-3002
8653   394485              Preston    Kingwood              39-01-9999-0618-0964-3003
4618   Warrior32           Preston    Kingwood              39-01-9999-0618-0964-3004
4615   Warrior29           Preston    Kingwood              39-01-9999-0618-0964-3005

4616 Warrior30             Preston    Kingwood              39-01-9999-0618-0964-3006
4617 Warrior31             Preston    Kingwood              39-01-9999-0618-0973-3003

4248 2010-S-0000067        Preston    Kingwood              39-01-9999-0618-1080-0000
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4247   2010-S-0000068        Preston
                                           of 120
                                          Kingwood            39-01-9999-0618-1115-0000
4255   2010-S-0000059        Preston    Kingwood              39-01-9999-0618-1133-0000
2528   391275                Preston    Kingwood              39-01-9999-0618-1614-0000
4252   2010-S-0000062        Preston    Kingwood              39-01-9999-0618-1981-0000
2931   393789                Preston    Kingwood              39-01-9999-0618-2551-0000
2932   393790                Preston    Kingwood              39-01-9999-0618-2560-0000
2933   393791                Preston    Kingwood              39-01-9999-0618-2702-0000
7466   394105                Preston    Kingwood              39-01-9999-0618-3426-0000
2730   393309                Preston    Kingwood              39-01-9999-0618-6076-3002
2429   393442                Preston    Kingwood              39-01-9999-0618-6496-0000
2753   393496                Preston    Kingwood              39-01-9999-0618-6502-0000
2675   393146                Preston    Kingwood              39-01-9999-0618-6646-3001

2935 393795                  Preston    Kingwood              39-01-9999-0618-6931-0000
2936 393796                  Preston    Kingwood              39-01-9999-0618-6940-0000

2937   393797                Preston    Kingwood              39-01-9999-0618-6995-0000
2938   393798                Preston    Kingwood              39-01-9999-0618-7002-0000
2939   393799                Preston    Kingwood              39-01-9999-0618-7011-0000
2940   393800                Preston    Kingwood              39-01-9999-0618-7020-0000

2941 393801                  Preston    Kingwood              39-01-9999-0618-7066-0000
2732 393311                  Preston    Kingwood              39-01-9999-0618-7084-0000

2942 393802                  Preston    Kingwood              39-01-9999-0618-7155-0000
2943 393803                  Preston    Kingwood              39-01-9999-0618-7164-0000
2733 393312                  Preston    Kingwood              39-01-9999-0618-7173-0000

2944 393804                  Preston    Kingwood              39-01-9999-0618-7182-0000

2734 393313                  Preston    Kingwood              39-01-9999-0618-7191-0000
2945 393805                  Preston    Kingwood              39-01-9999-0618-7208-0000

2735 393314                  Preston    Kingwood              39-01-9999-0618-7217-0000
2672 393142                  Preston    Kingwood              39-01-9999-0618-7360-0000
2430 393443                  Preston    Kingwood              39-01-9999-0618-8706-0000

2544 392374                  Preston    Kingwood              39-01-9999-0619-1122-0000
2644 392942                  Preston    Kingwood              39-01-9999-0619-1195-0000

2482 2008-S-0000011          Preston    Kingwood              39-01-9999-0619-1818-0000
2558 392466                  Preston    Kingwood              39-01-9999-0619-1961-0000
2483 2008-S-0000012          Preston    Kingwood              39-01-9999-0619-2194-0000

2838 393586                  Preston    Kingwood              39-01-9999-0619-2586-0000

2839 393591                  Preston    Kingwood              39-01-9999-0619-2684-0000
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2840 393592                  Preston     Kingwood              39-01-9999-0619-2693-0000
2431 393445                  Preston     Kingwood              39-01-9999-0619-2719-0000

2736   393315                Preston     Kingwood              39-01-9999-0619-2728-0000
2841   393593                Preston     Kingwood              39-01-9999-0619-2737-0000
2842   393594                Preston     Kingwood              39-01-9999-0619-2773-0000
2737   393316                Preston     Kingwood              39-01-9999-0619-2782-0000
2843   393595                Preston     Kingwood              39-01-9999-0619-2808-0000
2738   393317                Preston     Kingwood              39-01-9999-0619-2826-0000

2739 393321                  Preston     Kingwood              39-01-9999-0619-3139-0000
2648 392948                  Preston     Kingwood              39-01-9999-0619-5397-3001

2649 392949                  Preston     Kingwood              39-01-9999-0619-5404-3001

6507   394051                Preston     Kingwood              39-01-9999-0619-5404-3002
4251   2010-S-0000063        Preston     Kingwood              39-01-9999-0619-6680-0000
2557   392462                Preston     Kingwood              39-01-9999-0622-6924-0000
2946   393806                Preston     Kingwood              39-01-9999-0624-9151-0000
2677   393148                Preston     Kingwood              39-01-9999-0905-8538-3001
7665   2015-S-24             Preston     Kingwood              39-01-9999-0912-4137-0000
4603   Warrior17             Preston     Kingwood              39-11-9999-0614-8000-0000
2722   393294                Preston     Kingwood              39-11-9999-0615-0354-0000
2723   393295                Preston     Kingwood              39-11-9999-0615-0363-0000

2725   393297                Preston     Kingwood              39-11-9999-0615-0372-3001
2724   393296                Preston     Kingwood              39-11-9999-0615-0381-0000
2973   393853                Preston     Kingwood              39-11-9999-0615-3716-0000
4607   Warrior21             Preston     Kingwood              39-11-9999-0615-6777-0000
2958   393823                Preston     Lyon                  39-03-9999-0613-4532-0000
2959   393824                Preston     Lyon                  39-03-9999-0613-4541-0000
8657   394506                Preston     Lyon                  39-03-9999-0613-6709-0000
8658   394507                Preston     Lyon                  39-03-9999-0613-6727-0000
4609   Warrior23             Preston     Lyon                  39-03-9999-0613-8468-0000
2613   392731                Preston     Lyon                  39-03-9999-0613-8681-0000
2614   392732                Preston     Lyon                  39-03-9999-0613-8690-0000
2615   392733                Preston     Lyon                  39-03-9999-0613-8734-0000
2616   392734                Preston     Lyon                  39-03-9999-0613-8743-0000
2617   392736                Preston     Lyon                  39-03-9999-0613-8752-0000
2618   392737                Preston     Lyon                  39-03-9999-0613-8761-0000
2619   392738                Preston     Lyon                  39-03-9999-0613-8770-0000
2620   392739                Preston     Lyon                  39-03-9999-0613-8789-0000
2520   2009-S-0000182        Preston     Lyon                  39-03-9999-0613-9582-0000
2748   393451                Preston     Lyon                  39-03-9999-0613-9975-0000

4613 Warrior27               Preston     Lyon                  39-03-9999-0613-9984-0000
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4563 Warrior1              Preston
                                         of 120
                                        Lyon                 39-03-9999-0614-1542-0000
6506 393864                Preston     Lyon                  39-03-9999-0614-1917-0000

2488 2008-S-0000033        Preston     Lyon                  39-03-9999-0614-2293-0000
2654 392963                Preston     Lyon                  39-03-9999-0614-3933-0000

2655 392964                Preston     Lyon                  39-03-9999-0614-3942-3001
8666 394515                Preston     Lyon                  39-03-9999-0614-3988-0000

2656 392966                Preston     Lyon                  39-03-9999-0614-4059-3001

8667 394516                Preston     Lyon                  39-03-9999-0614-4068-0000

8668   394517              Preston     Lyon                  39-03-9999-0614-4077-0000
8669   394518              Preston     Lyon                  39-03-9999-0614-4095-0000
8670   394519              Preston     Lyon                  39-03-9999-0614-4102-0000
8671   394520              Preston     Lyon                  39-03-9999-0614-4111-0000
8672   394521              Preston     Lyon                  39-03-9999-0614-4120-0000
8673   394522              Preston     Lyon                  39-03-9999-0614-4139-0000
8674   394523              Preston     Lyon                  39-03-9999-0614-4148-0000
8675   394524              Preston     Lyon                  39-03-9999-0614-4157-0000

6509 394056                Preston     Lyon                  39-03-9999-0908-1708-3001
8659 394508                Preston     Lyon                  39-03-9999-0908-1735-0000

6510 394057                Preston     Lyon                  39-03-9999-0908-1744-3001

8660 394509                Preston     Lyon                  39-03-9999-0908-1753-0000

8661   394510              Preston     Lyon                  39-03-9999-0908-1762-0000
8662   394511              Preston     Lyon                  39-03-9999-0908-1771-0000
8663   394512              Preston     Lyon                  39-03-9999-0908-1799-0000
8664   394513              Preston     Lyon                  39-03-9999-0908-1833-0000
2571   392593              Preston     Pleasant              39-08-9999-0604-3676-0000
4571   Warrior9            Preston     Pleasant              39-08-9999-0604-4862-0000
2572   392600              Preston     Pleasant              39-08-9999-0604-5692-0000
2542   392322              Preston     Pleasant              39-08-9999-0604-5736-0000

4598 Warrior12             Preston     Pleasant              39-08-9999-0604-5932-0000
4568 Warrior6              Preston     Pleasant              39-08-9999-0604-5941-0000

2835 393550                Preston     Pleasant              39-08-9999-0604-6236-0000
2883 393708                Preston     Pleasant              39-08-9999-0604-6584-0000

2884 393709                Preston     Pleasant              39-08-9999-0604-6593-0000

2880 393705                Preston     Pleasant              39-08-9999-0604-6593-0000
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2881 393706              Preston
                                       of 120
                                      Pleasant              39-08-9999-0604-6600-0000
2427 393397              Preston      Pleasant              39-08-9999-0604-6628-0000
2882 393707              Preston      Pleasant              39-08-9999-0604-6637-0000

7469 394218              Preston      Pleasant              39-08-9999-0604-7770-0000

2714 393233              Preston      Pleasant              39-08-9999-0604-7770-0000

2712 393230              Preston      Pleasant              39-08-9999-0604-7770-3003

8676 394579              Preston      Pleasant              39-08-9999-0604-7770-3006

7467 394216              Preston      Pleasant              39-08-9999-0604-7770-3007

6286 2012-S-109          Preston      Pleasant              39-08-9999-0604-7770-3010

6288   2012-S-111        Preston      Pleasant              39-08-9999-0604-7770-3011
7468   394217            Preston      Pleasant              39-08-9999-0604-7789-0000
7982   394469            Preston      Pleasant              39-08-9999-0604-7789-0000
2715   393234            Preston      Pleasant              39-08-9999-0604-7789-0000
7470   394219            Preston      Pleasant              39-08-9999-0604-7789-0000
2713   393231            Preston      Pleasant              39-08-9999-0604-7789-3003
8677   394580            Preston      Pleasant              39-08-9999-0604-7789-3006
6287   2012-S-110        Preston      Pleasant              39-08-9999-0604-7789-3010
6289   2012-S-112        Preston      Pleasant              39-08-9999-0604-7789-3011
4569   Warrior7          Preston      Pleasant              39-08-9999-0604-8172-0000
2593   392633            Preston      Pleasant              39-08-9999-0604-8252-0000
4570   Warrior8          Preston      Pleasant              39-08-9999-0604-8341-0000

4608 Warrior22           Preston      Pleasant              39-08-9999-0604-8369-0000

2705 393222              Preston      Pleasant              39-08-9999-0604-9046-0000

2707 393224              Preston      Pleasant              39-08-9999-0604-9288-0000
2543 392323              Preston      Pleasant              39-08-9999-0604-9439-0000

2594 392639              Preston      Pleasant              39-08-9999-0605-0079-0000

2630 392804              Preston      Pleasant              39-08-9999-0605-0088-0000

2575 392606              Preston      Pleasant              39-08-9999-0605-1997-0000

2576 392607              Preston      Pleasant              39-08-9999-0605-2004-0000
2577 392609              Preston      Pleasant              39-08-9999-0605-2031-0000

2578 392612              Preston      Pleasant              39-08-9999-0605-2068-0000
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2579 392613              Preston     Pleasant              39-08-9999-0605-2077-0000

2580 392618              Preston     Pleasant              39-08-9999-0605-2157-0000
2581 392619              Preston     Pleasant              39-08-9999-0605-2175-0000

2582 392620              Preston     Pleasant              39-08-9999-0605-2184-0000
2583 392621              Preston     Pleasant              39-08-9999-0605-2228-0000

2584   392622            Preston     Pleasant              39-08-9999-0605-2237-0000
2585   392624            Preston     Pleasant              39-08-9999-0605-2255-0000
2586   392625            Preston     Pleasant              39-08-9999-0605-2264-0000
2587   392626            Preston     Pleasant              39-08-9999-0605-2273-0000
2588   392627            Preston     Pleasant              39-08-9999-0605-2282-0000

2589 392628              Preston     Pleasant              39-08-9999-0605-2291-0000
2573 392604              Preston     Pleasant              39-08-9999-0605-2308-0000
2590 392629              Preston     Pleasant              39-08-9999-0605-2317-0000

2591 392630              Preston     Pleasant              39-08-9999-0605-2326-0000
2592 392631              Preston     Pleasant              39-08-9999-0605-2335-0000
2574 392605              Preston     Pleasant              39-08-9999-0605-2362-0000

5671 2011-S-50           Preston     Pleasant              39-08-9999-0605-2380-0000

2999 Basham5             Preston     Pleasant              39-08-9999-0605-2424-0000

4601 Warrior15           Preston     Pleasant              39-08-9999-0605-2433-0000
2548 392425              Preston     Pleasant              39-08-9999-0605-2451-0000

2549 392426              Preston     Pleasant              39-08-9999-0605-2460-0000

4602 Warrior16           Preston     Pleasant              39-08-9999-0605-2479-0000

2550   392428            Preston     Pleasant              39-08-9999-0605-2488-0000
2547   392423            Preston     Pleasant              39-08-9999-0605-2497-0000
3000   Basham6           Preston     Pleasant              39-08-9999-0605-2503-0000
2996   Basham2           Preston     Pleasant              39-08-9999-0605-2512-0000

2998 Basham4             Preston     Pleasant              39-08-9999-0605-2549-0000

2596 392641              Preston     Pleasant              39-08-9999-0605-2674-0000
2597 392642              Preston     Pleasant              39-08-9999-0605-2709-0000

2598 392643              Preston     Pleasant              39-08-9999-0605-2718-0000
2599 392644              Preston     Pleasant              39-08-9999-0605-2745-0000
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                                       of 120
2600 392645              Preston     Pleasant              39-08-9999-0605-2754-0000
2641 392905              Preston     Pleasant              39-08-9999-0605-2969-0000
2595 392640              Preston     Pleasant              39-08-9999-0605-3600-0000

2968 393840              Preston     Pleasant              39-08-9999-0605-4654-0000

2969 393841              Preston     Pleasant              39-08-9999-0605-4672-0000

2970 393842              Preston     Pleasant              39-08-9999-0605-4681-0000
2551 392432              Preston     Pleasant              39-08-9999-0605-4798-0000

6290 2012-S-113          Preston     Pleasant              39-08-9999-0605-5804-0000

5672 2011-S-51           Preston     Pleasant              39-08-9999-0605-5822-0000

6291 2012-S-114          Preston     Pleasant              39-08-9999-0605-5975-0000

2666   393015            Preston     Pleasant              39-08-9999-0605-6359-0000
2879   393704            Preston     Pleasant              39-08-9999-0605-6812-0000
2885   393710            Preston     Pleasant              39-08-9999-0605-6830-0000
2428   393398            Preston     Pleasant              39-08-9999-0605-6858-0000

2886 393711              Preston     Pleasant              39-08-9999-0605-6876-0000

2991 393950              Preston     Pleasant              39-08-9999-0605-6956-0000

2992 393951              Preston     Pleasant              39-08-9999-0605-6965-0000

2993 393953              Preston     Pleasant              39-08-9999-0605-6983-0000

2709   393227            Preston     Pleasant              39-08-9999-0615-6848-3001
2710   393228            Preston     Pleasant              39-08-9999-0616-0343-0000
2711   393229            Preston     Pleasant              39-08-9999-0616-6374-0000
2981   393877            Preston     Pleasant              39-08-9999-0621-6329-0000
2982   393878            Preston     Pleasant              39-08-9999-0621-6338-0000
2983   393879            Preston     Pleasant              39-08-9999-0621-6365-0000
2980   393876            Preston     Pleasant              39-08-9999-0621-6374-0000
4599   Warrior13         Preston     Pleasant              39-08-9999-0621-9852-0000

4572 Warrior10           Preston     Pleasant              39-08-9999-0621-9923-0000

4600 Warrior14           Preston     Pleasant              39-08-9999-0621-9950-0000
6292 2012-S-115          Preston     Pleasant              39-08-9999-0621-9969-0000

4597 Warrior11           Preston     Pleasant              39-08-9999-0622-0092-0000
6293 2012-S-116          Preston     Pleasant              39-08-9999-0622-4338-0000
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                                           of 120
2426   393391                Preston     Pleasant              39-08-9999-0907-0685-0000
2631   392805                Preston     Pleasant              39-08-9999-0908-1511-0000
2601   392646                Preston     Pleasant              39-08-9999-0910-5112-0000
2602   392649                Preston     Pleasant              39-08-9999-0911-9955-0000
2495   2008-S-0000068        Preston     Pleasant              39-08-9999-0921-1950-0000
9824   394882                Preston     Pleasant              39-08-9999-0921-2235-0000

2997   Basham3               Preston     Pleasant              39-08-9999-0921-5367-0000
6275   2012-S-98             Preston     Portland              39-06-9999-0601-7669-3003
2690   393176                Preston     Portland              39-06-9999-0601-7892-3002
2691   393177                Preston     Portland              39-06-9999-0601-8793-3002
4810   Selders2              Preston     Portland              39-06-9999-0601-8800-0000
2692   393178                Preston     Portland              39-06-9999-0601-8800-3002

4811   Selders3              Preston     Portland              39-06-9999-0601-8819-0000
2693   393179                Preston     Portland              39-06-9999-0601-8819-3002
2625   392758                Preston     Portland              39-06-9999-0601-8828-0000
2694   393180                Preston     Portland              39-06-9999-0601-8828-3002
2695   393181                Preston     Portland              39-06-9999-0601-9382-3002

2626 392764                  Preston     Portland              39-06-9999-0602-0799-0000
4567 Warrior5                Preston     Portland              39-06-9999-0602-2813-0000

2875 393649                  Preston     Portland              39-06-9999-0602-3331-3001

2978 393872                  Preston     Portland              39-06-9999-0602-3402-0000

2979 393873                  Preston     Portland              39-06-9999-0602-3411-0000
2876 393650                  Preston     Portland              39-06-9999-0602-3876-3001
3003 Hoffman                 Preston     Portland              39-06-9999-0602-3947-0000

4812   Selders4              Preston     Portland              39-06-9999-0602-4553-0000
2696   393182                Preston     Portland              39-06-9999-0602-5419-0000
2689   393175                Preston     Portland              39-06-9999-0602-5446-0000
2697   393183                Preston     Portland              39-06-9999-0602-5464-0000
2698   393186                Preston     Portland              39-06-9999-0602-5507-3001
2699   393187                Preston     Portland              39-06-9999-0602-5516-3001
2700   393188                Preston     Portland              39-06-9999-0602-5525-0000
2701   393190                Preston     Portland              39-06-9999-0602-5605-3001

2664   393003                Preston     Portland              39-06-9999-0602-6365-3001
2665   393004                Preston     Portland              39-06-9999-0602-6374-0000
2702   393194                Preston     Portland              39-06-9999-0602-6542-0000
2703   393195                Preston     Portland              39-06-9999-0602-6551-0000

2704 393196                  Preston     Portland              39-06-9999-0602-6560-0000
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2977 393869                  Preston     Portland              39-06-9999-0602-6999-3002

2871 393645                  Preston     Portland              39-06-9999-0602-7024-3003
2872 393646                  Preston     Portland              39-06-9999-0602-7042-3003
2568 392522                  Preston     Portland              39-06-9999-0602-7051-0000

2873 393647                  Preston     Portland              39-06-9999-0602-7079-3002

2963 393830                  Preston     Portland              39-06-9999-0602-7097-3002
2874 393648                  Preston     Portland              39-06-9999-0602-7104-3003

2964 393831                  Preston     Portland              39-06-9999-0602-7113-3002

2965 393832                  Preston     Portland              39-06-9999-0602-7122-3002

2966 393833                  Preston     Portland              39-06-9999-0602-7131-3003

2967   393834                Preston     Portland              39-06-9999-0602-7140-3002
2567   392518                Preston     Portland              39-06-9999-0602-9040-0000
8464   2016-S-103            Preston     Portland              39-06-9999-0602-9451-3005
2628   392770                Preston     Portland              39-06-9999-0602-9987-3007
2499   2009-S-0000011        Preston     Portland              39-06-9999-0603-3972-0000
2833   393533                Preston     Portland              39-06-9999-0603-4034-3001
2834   393534                Preston     Portland              39-06-9999-0603-4043-0000
2569   392525                Preston     Portland              39-06-9999-0603-4141-0000
6268   2012-S-91             Preston     Portland              39-06-9999-0603-4837-3001
6278   2012-S-101            Preston     Portland              39-06-9999-0603-4837-3003
2475   2007-S-0000060        Preston     Portland              39-06-9999-0603-4837-3004
6269   2012-S-92             Preston     Portland              39-06-9999-0603-4855-3001
6279   2012-S-102            Preston     Portland              39-06-9999-0603-4855-3003
2476   2007-S-0000061        Preston     Portland              39-06-9999-0603-4855-3004
6270   2012-S-93             Preston     Portland              39-06-9999-0603-4864-3001
6280   2012-S-103            Preston     Portland              39-06-9999-0603-4864-3003
2477   2007-S-0000062        Preston     Portland              39-06-9999-0603-4864-3004
6271   2012-S-94             Preston     Portland              39-06-9999-0603-4873-3001
6281   2012-S-104            Preston     Portland              39-06-9999-0603-4873-3003
2478   2007-S-0000063        Preston     Portland              39-06-9999-0603-4873-3004

6272 2012-S-95               Preston     Portland              39-06-9999-0603-4882-3001

6282 2012-S-105              Preston     Portland              39-06-9999-0603-4882-3003

2479   2007-S-0000064        Preston     Portland              39-06-9999-0603-4882-3004
6273   2012-S-96             Preston     Portland              39-06-9999-0603-4891-3001
6283   2012-S-106            Preston     Portland              39-06-9999-0603-4891-3003
2480   2007-S-0000065        Preston     Portland              39-06-9999-0603-4891-3004
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6284   2012-S-107            Preston
                                           of 120
                                          Portland              39-06-9999-0621-4107-3002
6274   2012-S-97             Preston      Portland              39-06-9999-0621-4107-3004
6170   Greaser               Preston      Portland              39-06-9999-0912-4164-3001
7667   2015-S-136            Preston      Portland              39-06-9999-0912-4164-3002

2627 392769                  Preston      Portland              39-06-9999-0912-9613-0000

2745   393344                Preston      Reno                  39-04-9999-0607-4767-3007
8463   2016-S-76             Preston      Reno                  39-04-9999-0607-6756-3003
2622   392745                Preston      Reno                  39-04-9999-0607-6792-0000
2530   391292                Preston      Reno                  39-04-9999-0607-7853-0000

2680   393160                Preston      Reno                  39-04-9999-0607-8950-0000
2681   393161                Preston      Reno                  39-04-9999-0607-9771-3003
4611   Warrior25             Preston      Reno                  39-04-9999-0608-0448-0000
4612   Warrior26             Preston      Reno                  39-04-9999-0608-0466-0000

2546 392386                  Preston      Reno                  39-04-9999-0608-0493-0000

2636   392858                Preston      Reno                  39-04-9999-0608-0493-0000
5436   Teets1                Preston      Reno                  39-04-9999-0608-0509-0000
2658   392985                Preston      Reno                  39-04-9999-0608-0509-3001
5437   Teets2                Preston      Reno                  39-04-9999-0608-0518-3002
2744   393343                Preston      Reno                  39-04-9999-0608-1189-0000
4447   392235                Preston      Reno                  39-04-9999-0608-4952-0000
2523   2009-S-0000210        Preston      Reno                  39-04-9999-0609-0561-0000
2541   392237                Preston      Reno                  39-04-9999-0609-2550-0000
2751   393490                Preston      Rowlesburg Corp       39-16-9999-0616-6267-3001

2752 393491                  Preston      Rowlesburg Corp       39-16-9999-0616-6285-3001

2746   393345                Preston      Union                 39-05-9999-0609-5183-3001
2832   393526                Preston      Union                 39-05-9999-0609-5548-0000
2683   393163                Preston      Union                 39-05-9999-0609-7591-0000
2684   393164                Preston      Union                 39-05-9999-0609-7608-0000
2960   393827                Preston      Union                 39-05-9999-0610-1407-0000
2686   393167                Preston      Union                 39-05-9999-0610-2683-3001
2749   393458                Preston      Union                 39-05-9999-0610-2843-0000
3004   Lindquist             Preston      Union                 39-05-9999-0610-9427-0000
2624   392755                Preston      Union                 39-05-9999-0610-9766-0000
2662   392995                Preston      Union                 39-05-9999-0624-9801-0000

2491   2008-S-0000054        Preston      Union                 39-05-9999-0912-4752-0000
2661   392994                Preston      Union                 39-05-9999-0912-4761-0000
2660   392993                Preston      Union                 39-05-9999-0912-9481-0000
2623   392754                Preston      Union                 39-05-9999-0912-9490-0000
2682   393162                Preston      Union                 39-05-9999-0912-9506-0000
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                                         of 120
2740 393330                Preston     Valley                39-02-9999-0611-1744-0000

2741 393331                Preston     Valley                39-02-9999-0611-1753-0000
2742 393332                Preston     Valley                39-02-9999-0611-1762-0000
2845 393599                Preston     Valley                39-02-9999-0611-3145-0000

2846 393600                Preston     Valley                39-02-9999-0611-3154-0000
2830 393508                Preston     Valley                39-02-9999-0611-3163-0000
2847 393601                Preston     Valley                39-02-9999-0611-3172-0000

2848 393602                Preston     Valley                39-02-9999-0611-3181-0000

2849 393603                Preston     Valley                39-02-9999-0611-3190-0000

2850 393604                Preston     Valley                39-02-9999-0611-3207-0000

2851   393605              Preston     Valley                39-02-9999-0611-3216-0000
2852   393606              Preston     Valley                39-02-9999-0611-3225-0000
2853   393607              Preston     Valley                39-02-9999-0611-3234-0000
2854   393608              Preston     Valley                39-02-9999-0611-3243-0000

2855 393609                Preston     Valley                39-02-9999-0611-3252-0000

2856 393610                Preston     Valley                39-02-9999-0611-3261-0000

2857 393611                Preston     Valley                39-02-9999-0611-3270-0000

2858 393612                Preston     Valley                39-02-9999-0611-3289-0000

2545 392377                Preston     Valley                39-02-9999-0611-4108-0000

2859   393613              Preston     Valley                39-02-9999-0611-6703-0000
2860   393614              Preston     Valley                39-02-9999-0611-6712-0000
2861   393615              Preston     Valley                39-02-9999-0611-6730-0000
2747   393450              Preston     Valley                39-02-9999-0611-8024-0000
4604   Warrior18           Preston     Valley                39-02-9999-0611-8033-0000
4565   Warrior3            Preston     Valley                39-02-9999-0611-8051-0000
2535   392199              Preston     Valley                39-02-9999-0611-8122-0000

6508 394054                Preston     Valley                39-02-9999-0611-9933-3006

2948 393810                Preston     Valley                39-02-9999-0612-0501-0000

2485 2008-S-0000022        Preston     Valley                39-02-9999-0612-0985-0000
2976 393857                Preston     Valley                39-02-9999-0612-1396-0000
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5668 2011-S-47               Preston     Valley                39-02-9999-0612-3759-3005
2949 393811                  Preston     Valley                39-02-9999-0612-4080-0000

2950   393812                Preston     Valley                39-02-9999-0612-4099-0000
2951   393813                Preston     Valley                39-02-9999-0612-4115-0000
2954   393817                Preston     Valley                39-02-9999-0612-4124-0000
2952   393814                Preston     Valley                39-02-9999-0612-4142-0000
2561   392482                Preston     Valley                39-02-9999-0612-6015-0000
2743   393333                Preston     Valley                39-02-9999-0612-6480-0000
2953   393815                Preston     Valley                39-02-9999-0612-6514-0000
2862   393617                Preston     Valley                39-02-9999-0612-6541-0000
2863   393621                Preston     Valley                39-02-9999-0612-6630-0000
2864   393622                Preston     Valley                39-02-9999-0612-6649-0000
2957   393821                Preston     Valley                39-02-9999-0613-0572-0000
2612   392712                Preston     Valley                39-02-9999-0613-0625-0000
4610   Warrior24             Preston     Valley                39-02-9999-0621-2975-0000

2865 393625                  Preston     Valley                39-02-9999-0621-3402-0000

2564 392491                  Preston     Valley                39-02-9999-0624-2265-0000
2565 392492                  Preston     Valley                39-02-9999-0625-2306-0000

2560 392481                  Preston     Valley                39-02-9999-0906-5539-0000

2866   393626                Preston     Valley                39-02-9999-0906-5664-0000
2955   393819                Preston     Valley                39-02-9999-0908-5571-0000
2608   392706                Preston     Valley                39-02-9999-0910-5087-0000
2562   392486                Preston     Valley                39-02-9999-0910-5167-0000
2868   393629                Preston     Valley                39-02-9999-0910-5194-0000
2563   392487                Preston     Valley                39-02-9999-0910-5210-0000


2867   393628                Preston     Valley                39-02-9999-0920-1476-0000
2974   393854                Preston     Valley                39-13-9999-0616-2378-0000
9067   402955                Putnam      Buffalo               40-02- 130-0014-0001-0000
2779   402483                Putnam      Buffalo               40-02-9999-0000-0430-0000

2757   401924                Putnam      Buffalo               40-02-9999-0000-0550-0000
2758   401925                Putnam      Buffalo               40-02-9999-0000-0560-0000
2771   402239                Putnam      Buffalo               40-02-9999-0000-0610-0000
3021   2008-S-0000011        Putnam      Buffalo               40-02-9999-0000-0730-0000
3056   2009-S-0000010        Putnam      Buffalo               40-02-9999-0000-0970-0000
2780   402485                Putnam      Buffalo               40-02-9999-0000-1410-0000
8966   2017-S-0000002        Putnam      Buffalo               40-02-9999-0000-2050-0000
3010   2007-S-0000015        Putnam      Buffalo               40-02-9999-0000-2420-0000
8968   2017-S-0000004        Putnam      Curry                 40-04-9999-0000-0040-3004
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3066 2009-S-0000040          Putnam
                                          of 120
                                         Curry                40-04-9999-0000-0180-3001

2785   402552                Putnam     Curry                 40-04-9999-0000-0290-0000
5726   2011-S-0000067        Putnam     Curry                 40-04-9999-0000-0360-0000
3067   2009-S-0000041        Putnam     Curry                 40-04-9999-0000-0600-0000
3068   2009-S-0000042        Putnam     Curry                 40-04-9999-0000-0660-3005
2759   401928                Putnam     Curry                 40-04-9999-0000-0740-3001
2761   401930                Putnam     Curry                 40-04-9999-0000-0750-3001
2762   401931                Putnam     Curry                 40-04-9999-0000-0750-3002
3069   2009-S-0000043        Putnam     Curry                 40-04-9999-0000-0840-0000
3070   2009-S-0000044        Putnam     Curry                 40-04-9999-0000-0880-0000
3071   2009-S-0000045        Putnam     Curry                 40-04-9999-0000-0890-0000
3031   2008-S-0000058        Putnam     Curry                 40-04-9999-0000-1060-3002
2781   402490                Putnam     Curry                 40-04-9999-0000-1320-0000
2793   402641                Putnam     Curry                 40-04-9999-0000-1430-0000
3060   2009-S-0000031        Putnam     Curry                 40-04-9999-0000-1710-0000
3027   2008-S-0000039        Putnam     Curry                 40-04-9999-0000-1760-0000
3011   2007-S-0000051        Putnam     Curry                 40-04-9999-0000-1800-0000
3012   2007-S-0000052        Putnam     Curry                 40-04-9999-0000-1810-0000
3073   2009-S-0000047        Putnam     Curry                 40-04-9999-0000-1830-0000
3074   2009-S-0000048        Putnam     Curry                 40-04-9999-0000-1840-0000
3013   2007-S-0000054        Putnam     Curry                 40-04-9999-0000-1970-0000

6795   2013-S-0000138        Putnam     Curry                 40-04-9999-0000-2020-3005
3063   2009-S-0000035        Putnam     Curry                 40-04-9999-0000-2040-0000
3064   2009-S-0000036        Putnam     Curry                 40-04-9999-0000-2050-0000
3065   2009-S-0000037        Putnam     Curry                 40-04-9999-0000-2070-0000
3077   2009-S-0000051        Putnam     Curry                 40-04-9999-0000-2640-0000
3078   2009-S-0000052        Putnam     Curry                 40-04-9999-0000-2680-3001
3014   2007-S-0000067        Putnam     Curry                 40-04-9999-0000-2710-0000
3015   2007-S-0000068        Putnam     Curry                 40-04-9999-0000-2720-0000
3016   2007-S-0000069        Putnam     Curry                 40-04-9999-0000-2730-0000
3030   2008-S-0000055        Putnam     Curry                 40-04-9999-0000-3030-0000
3007   2006-S-0000053        Putnam     Curry                 40-04-9999-0000-3370-3002
3032   2008-S-0000061        Putnam     Curry                 40-04-9999-0000-3490-0000
3033   2008-S-0000062        Putnam     Curry                 40-04-9999-0000-3500-0000
3079   2009-S-0000053        Putnam     Curry                 40-04-9999-0000-3640-3002
3008   2006-S-0000059        Putnam     Curry                 40-04-9999-0000-3860-0000
7193   2014-S-0000072        Putnam     Curry                 40-04-9999-0000-4500-0000
3080   2009-S-0000054        Putnam     Curry                 40-04-9999-0000-4750-0000

3081   2009-S-0000055        Putnam     Curry                 40-04-9999-0000-5130-0000
3082   2009-S-0000056        Putnam     Curry                 40-04-9999-0000-9200-0000
2774   402403                Putnam     Poca                  40-08-9999-0000-0090-3002
2767   401983                Putnam     Poca                  40-08-9999-0000-0120-3002
2766   401982                Putnam     Poca                  40-08-9999-0000-0130-3002
2765   401981                Putnam     Poca                  40-08-9999-0000-0210-3001
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2764   401980                Putnam
                                          of 120
                                         Poca                 40-08-9999-0000-0210-3002
2786   402558                Putnam     Poca                  40-08-9999-0000-0460-0000
2768   401986                Putnam     Poca                  40-08-9999-0000-0670-0000
3038   2008-S-0000099        Putnam     Poca                  40-08-9999-0000-1050-3001
3086   2009-S-0000123        Putnam     Poca                  40-08-9999-0000-1110-3004
3088   2009-S-0000125        Putnam     Poca                  40-08-9999-0000-1110-3005
3089   2009-S-0000126        Putnam     Poca                  40-08-9999-0000-1110-3006
3087   2009-S-0000124        Putnam     Poca                  40-08-9999-0000-1110-3007
3090   2009-S-0000127        Putnam     Poca                  40-08-9999-0000-1120-3004
3093   2009-S-0000130        Putnam     Poca                  40-08-9999-0000-1120-3005
3091   2009-S-0000128        Putnam     Poca                  40-08-9999-0000-1120-3006
3092   2009-S-0000129        Putnam     Poca                  40-08-9999-0000-1120-3007
3098   2009-S-0000149        Putnam     Poca                  40-08-9999-0000-1230-3004
3009   2006-S-0000099        Putnam     Poca                  40-08-9999-0000-1830-0000
3144   401084                Putnam     Poca                  40-08-9999-0000-2190-0000
2772   402362                Putnam     Poca                  40-08-9999-0000-2300-0000
3017   2007-S-0000111        Putnam     Poca                  40-08-9999-0000-2320-0000
9069   402983                Putnam     Poca                  40-08-9999-0000-2330-0000
3094   2009-S-0000131        Putnam     Poca                  40-08-9999-0000-6840-0000

3043   2008-S-0000123        Putnam     Scott                 40-10-9999-0000-0030-3001
3100   2009-S-0000180        Putnam     Scott                 40-10-9999-0000-0100-0000
3046   2008-S-0000133        Putnam     Scott                 40-10-9999-0000-0150-0000
3047   2008-S-0000134        Putnam     Scott                 40-10-9999-0000-0160-0000
3048   2008-S-0000135        Putnam     Scott                 40-10-9999-0000-0170-0000
3018   2007-S-0000150        Putnam     Scott                 40-10-9999-0000-0220-0000
2789   402573                Putnam     Scott                 40-10-9999-0000-0610-3002
6430   2012-S-0000136        Putnam     Scott                 40-10-9999-0000-0630-0000
3049   2008-S-0000149        Putnam     Scott                 40-10-9999-0000-0670-0000
3050   2008-S-0000154        Putnam     Scott                 40-10-9999-0000-0800-3001
3051   2008-S-0000155        Putnam     Scott                 40-10-9999-0000-0810-3001
3052   2008-S-0000156        Putnam     Scott                 40-10-9999-0000-0820-3001
3101   2009-S-0000181        Putnam     Scott                 40-10-9999-0000-0880-0000
2776   402462                Putnam     Scott                 40-10-9999-0000-0890-0000
2787   402567                Putnam     Scott                 40-10-9999-0000-0920-0000
2788   402568                Putnam     Scott                 40-10-9999-0000-0930-0000
3102   2009-S-0000182        Putnam     Scott                 40-10-9999-0000-0940-0000
4088   2010-S-0000137        Putnam     Scott                 40-10-9999-0000-0970-3006
5489   402571                Putnam     Scott                 40-10-9999-0000-1020-0000

3099   2009-S-0000162        Putnam     Scott                 40-10-9999-0000-1090-3002
2790   402575                Putnam     Scott                 40-10-9999-0000-1380-0000
2784   402534                Putnam     Scott                 40-10-9999-0000-1590-0000
3142   400924                Putnam     Scott                 40-10-9999-0000-2190-0000
3103   2009-S-0000183        Putnam     Scott                 40-10-9999-0000-2270-0000
3019   2007-S-0000196        Putnam     Scott                 40-10-9999-0000-2550-0000
2791   402628                Putnam     Scott                 40-10-9999-0000-2650-0000
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6428   2012-S-0000129        Putnam
                                          of 120
                                         Scott                  40-10-9999-0000-4750-0000
3109   2009-S-0000220        Putnam     Teays Valley            40-11- 191-0045-0004-0000
3111   2009-S-0000224        Putnam     Teays Valley            40-11-9999-0000-0030-3004
3054   2008-S-0000188        Putnam     Teays Valley            40-11-9999-0000-0050-0000
6433   2012-S-0000182        Putnam     Teays Valley            40-11-9999-0000-0550-0000

6432   2012-S-0000181        Putnam     Teays Valley            40-11-9999-0000-0560-0000
9072   403023                Putnam     Teays Valley            40-11-9999-0000-0800-0000
3115   2009-S-0000230        Putnam     Teays Valley            40-11-9999-0000-0930-3001
3106   2009-S-0000215        Putnam     Teays Valley            40-11-9999-0000-0930-3002
3116   2009-S-0000231        Putnam     Teays Valley            40-11-9999-0000-0940-3001
3107   2009-S-0000216        Putnam     Teays Valley            40-11-9999-0000-0940-3002
3112   2009-S-0000227        Putnam     Teays Valley            40-11-9999-0000-1040-0000
2778   402476                Putnam     Teays Valley            40-11-9999-0000-1570-0000
2777   402474                Putnam     Teays Valley            40-11-9999-0000-1600-0000
3114   2009-S-0000229        Putnam     Teays Valley            40-11-9999-0000-1650-0000
3118   2009-S-0000235        Putnam     Teays Valley            40-11-9999-0000-1720-3006
3110   2009-S-0000223        Putnam     Teays Valley            40-11-9999-0000-2970-0000
6437   2012-S-0000200        Putnam     Union                   40-12-1000-0246-0000-3001
3127   2009-s-0000254        Putnam     Union                   40-12-9999-0000-0450-3001
3126   2009-S-0000253        Putnam     Union                   40-12-9999-0000-0450-3002
3128   2009-S-0000255        Putnam     Union                   40-12-9999-0000-1110-0000
3129   2009-S-0000256        Putnam     Union                   40-12-9999-0000-1120-0000
3130   2009-S-0000257        Putnam     Union                   40-12-9999-0000-1130-0000
3131   2009-S-0000258        Putnam     Union                   40-12-9999-0000-1140-0000
3132   2009-S-0000259        Putnam     Union                   40-12-9999-0000-1150-0000
3146   401502                Putnam     Union                   40-12-9999-0000-1260-0000
3147   401503                Putnam     Union                   40-12-9999-0000-1270-0000
3148   401504                Putnam     Union                   40-12-9999-0000-1290-0000
3140   400802                Putnam     Union                   40-12-9999-0000-2010-0000
8165   400801                Putnam     Union                   40-12-9999-0000-2050-0000
3133   2009-S-0000260        Putnam     Union                   40-12-9999-0000-2120-0000
2775   402431                Putnam     Union                   40-12-9999-0000-2350-3001
3135   2009-S-0000262        Putnam     Union                   40-12-9999-0000-2370-3001
3139   2009-S-0000270        Putnam     Union                   40-12-9999-0000-2430-0000
6444   2012-S-0000229        Putnam     Union                   40-12-9999-0000-2520-0000
3138   2009-S-0000268        Putnam     Union                   40-12-9999-0000-3610-0000
3020   2007-S-0000231        Putnam     Union                   40-12-9999-0000-3670-0000
4844   ER4 (416301)          Raleigh    Beckley Corp            41-01-9999-0611-6696-0000
4847   ER7 (416783)          Raleigh    Beckley Corp            41-01-9999-0611-6703-0000
4845   ER5 (416303)          Raleigh    Beckley Corp            41-01-9999-0611-6758-0000
4846   ER6 (416304)          Raleigh    Beckley Corp            41-01-9999-0612-3526-0000

4849 ER9 (417101)            Raleigh    Marsh Fork              41-05-9999-0701-3625-0000

4850 ER10 (417102)           Raleigh    Marsh Fork              41-05-9999-0701-3643-0000
4158 10-S-0224               Raleigh    Richmond                41-07-9999-0857-8470-0000
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4848   ER8 (416966)         Raleigh
                                          of 120
                                         Shady Springs       41-08-9999-0633-3504-0000
4851   ER11 (417929)        Raleigh    Shady Springs         41-08-9999-0634-2629-0000
2805   418256               Raleigh    Shady Springs         41-08-9999-0703-7011-0000
4508   Sayre                Raleigh    Shady Springs         41-08-9999-0855-3442-0000

8224 419175                 Raleigh    Slab Fork             41-09-9999-0861-4458-3003

4843 ER3 (416171)           Raleigh    Town                  41-11-9999-0602-4704-0000
6162 418593                 Raleigh    Town                  41-11-9999-0605-7456-0000


6964 418806                 Raleigh    Trap Hill             41-12-9999-0641-7175-3003

6887 42818                  Randolph   Beverly               42-02-9999-0000-1500-3001

6884 42814                  Randolph   Beverly               42-02-9999-0000-5800-3002

6888 42819                  Randolph   Dry Fork              42-04-9999-0000-0400-3008

4426 2010-S-0000035         Randolph   Huttonsville          42-09-9999-0000-1400-3001
6890 42827                  Randolph   Huttonsville          42-09-9999-0000-1400-3001

6889 42826                  Randolph   Huttonsville          42-09-9999-0000-3700-3001

6895 42834                  Randolph   Leadsville            42-10-9999-0000-6000-0000
6897 42837                  Randolph   Leadsville            42-10-9999-0000-7450-0000
6898 42838                  Randolph   Leadsville            42-10-9999-0000-7500-0000

6899 42842                  Randolph   Leadsville            42-10-9999-0000-9800-0000

5539 2011-S-0000048         Randolph   Middle Fork           42-11-9999-0001-2350-3001

2811 42762                  Randolph   Mingo                 42-13-9999-0000-5000-0000

2813 42764                  Randolph   Mingo                 42-13-9999-0000-7760-0000

6918 42879                  Randolph   New Interest          42-15-9999-0000-1050-3001

6919   42882                Randolph   New Interest          42-15-9999-0000-1050-3003
6883   42807                Randolph   Roaring Creek         42-16-9999-0001-1341-0000
8682   42949                Randolph   Roaring Creek         42-16-9999-0001-3800-3002
8684   42951                Randolph   Roaring Creek         42-16-9999-0001-3900-3002

6924 42888                  Randolph   Valley Bend           42-17-9999-0000-2750-0000

6921 42885                  Randolph   Valley Bend           42-17-9999-0000-4200-0000
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6922   42886                 Randolph    Valley Bend           42-17-9999-0000-4250-0000
6923   42887                 Randolph    Valley Bend           42-17-9999-0000-4300-0000
4629   Pritchard             Ritchie     Clay                  43-03-9999-0300-0515-0000
6660   431522                Ritchie     Grant                 43-05-9999-0000-5717-0000
3153   2008-S-0000054        Ritchie     Grant                 43-05-9999-0005-0167-0000
2829   2008-S-0000051        Ritchie     Grant                 43-05-9999-0005-0168-0000
3152   2008-S-0000053        Ritchie     Grant                 43-05-9999-0500-5161-0000
7092   2014-S-0000023        Ritchie     Grant                 43-05-9999-0505-0556-0000
7684   2015-S-0000048        Ritchie     Harrisville           43-06-9999-0000-0646-0000
7094   2014-S-0000025        Ritchie     Murphy                43-07- 10-0037-0001-3019
2825   2008-S-0000047        Ritchie     Murphy                43-07-9999-0000-7945-0000
2823   2008-S-0000045        Ritchie     Murphy                43-07-9999-0007-1642-0000
2824   2008-S-0000046        Ritchie     Murphy                43-07-9999-0007-1645-0000
2828   2008-S-0000050        Ritchie     Murphy                43-07-9999-0007-1648-0000
2827   2008-S-0000049        Ritchie     Murphy                43-07-9999-0007-1651-0000
2822   2008-S-0000044        Ritchie     Murphy                43-07-9999-0007-1657-0000
7685   2015-S-0000049        Ritchie     Union                 43-10-9999-0001-0238-0000
7686   2015-S-0000050        Ritchie     Union                 43-10-9999-0001-0239-0000
7687   2015-S-0000051        Ritchie     Union                 43-10-9999-0001-0240-0000
7688   2015-S-0000052        Ritchie     Union                 43-10-9999-0100-0104-0000
6714   2013-S-0000006        Roane       Curtis                44-01-9999-0000-0566-0000
3203   2009-S-0000008        Roane       Geary                 44-02-9999-0000-0401-0000
4304   2010-S-0000050        Roane       Geary                 44-02-9999-0000-2839-0000
7359   2014-S-0000055        Roane       Geary                 44-02-9999-0000-4935-0000
7372   2014-S-0000118        Roane       Harper                44-03- 7-0026-0000-3002
3172   2006-S-0000107        Roane       Harper                44-03- 30-0004-0001-0000
3212   2009-S-0000044        Roane       Harper                44-03-9999-0000-0117-0000
3278   444358                Roane       Harper                44-03-9999-0000-0861-0000
3263   444258                Roane       Reedy                 44-04-9999-0000-1418-0000
6319   2012-S-0000111        Roane       Reedy Corp            44-05-9999-0000-0013-0000
3266   444262                Roane       Reedy Corp            44-05-9999-0000-0025-0000
3267   444263                Roane       Reedy Corp            44-05-9999-0000-0026-0000
6970   Haner2                Roane       Smithfield            44-06-9999-0000-0959-0000
6971   Haner3                Roane       Smithfield            44-06-9999-0000-0960-0000
4297   2010-S-0000105        Roane       Smithfield            44-06-9999-0000-2239-0000
3185   2007-S-0000167        Roane       Spencer               44-07- 38-0003-0000-3001
3306   444844                Roane       Spencer               44-07-9999-0000-3499-0000
7397   2014-S-0000270        Roane       Walton                44-09- 28-0019-0000-3003
3363   45628                 Summers     Green Sulpher         45-03-9999-0000-1813-0000

3364 45629                   Summers     Green Sulpher         45-03-9999-0000-1823-0000

3351 450583                  Summers     Green Sulpher         45-03-9999-0000-4003-0000
8750 45747                   Summers     Green Sulphur         45-03-9999-0000-2103-0000

3349 450527                  Summers     Green Sulphur         45-03-9999-0000-4403-0000
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3352 45603                   Summers
                                         of 120
                                        Green Sulphur       45-03-9999-0000-4403-0000
3346 450443                  Summers    Greenbrier           45-02-9999-0000-0280-0000

3348 450447                  Summers    Greenbrier           45-02-9999-0000-0431-0000
3347 450446                  Summers    Greenbrier           45-02-9999-0000-0468-0000
3370 45646                   Summers    Greenbrier           45-02-9999-0000-0602-0000

3354 45618                   Summers    Greenbrier           45-02-9999-0000-0822-0000

3355 45619                   Summers    Greenbrier           45-02-9999-0000-0832-0000

3356 45620                   Summers    Greenbrier           45-02-9999-0000-0842-0000

3357 45621                   Summers    Greenbrier           45-02-9999-0000-0852-0000

3358 45622                   Summers    Greenbrier           45-02-9999-0000-0862-0000

3359 45623                   Summers    Greenbrier           45-02-9999-0000-0872-0000

3360 45624                   Summers    Greenbrier           45-02-9999-0000-0882-0000
3345 450441                  Summers    Greenbrier           45-02-9999-0000-0892-0000

3361   45625                 Summers    Greenbrier           45-02-9999-0000-0892-0000
3362   45627                 Summers    Greenbrier           45-02-9999-0000-1002-0000
3373   45675                 Summers    Jumping Branch       45-05-9999-0000-2245-0000
3326   2006-S-0000037        Summers    Jumping Branch       45-05-9999-0000-3705-0000
3371   45647                 Summers    Jumping Branch       45-05-9999-0000-3805-0000
4130   10-S-0072             Summers    Jumping Branch       45-05-9999-0000-4205-0000
3340   2008-S-0000078        Summers    Jumping Branch       45-05-9999-0000-4305-0000
4131   10-S-0074             Summers    Jumping Branch       45-05-9999-0000-4705-0000
3365   45633                 Summers    Jumping Branch       45-05-9999-0000-4715-0000

3366 45635                   Summers    Jumping Branch       45-05-9999-0000-4735-0000

3369 45645                   Summers    Pipestem             45-06-9999-0000-9142-0000

3368 45644                   Summers    Pipestem             45-06-9999-0000-9143-0000
3327 2006-S-0000056          Summers    Pipestem             45-06-9999-0060-2020-0000

3353   45611                 Summers    Talcott              45-07-9999-0000-0707-0000
3328   2006-S-0000071        Summers    Talcott              45-07-9999-0000-1307-0000
3367   45637                 Summers    Talcott              45-07-9999-0000-7367-0000
3372   45648                 Summers    Talcott              45-07-9999-0000-7825-0000
3409   463071                Taylor     Booths Creek         46-03-9999-0000-2780-0000

3378 2007-S-0000060          Taylor     Booths Creek         46-03-9999-0000-2880-3006
3376 2006-S-0000061          Taylor     Booths Creek         46-03-9999-0000-8990-3002
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3384 2009-S-0000007          Taylor
                                           of 120
                                          Booths Creek        46-03-9999-0001-0570-3006

3381 2008-S-0000049          Taylor     Booths Creek          46-03-9999-0001-0570-3016

3382   2008-S-0000050        Taylor     Booths Creek          46-03-9999-0001-0570-3017
9832   463439                Taylor     Booths Creek          46-03-9999-0001-1160-0000
3402   463010                Taylor     Booths Creek          46-03-9999-2010-1320-0000
3396   462578                Taylor     Court House           46-05-9999-0000-0320-0000
3391   462462                Taylor     Court House           46-05-9999-0000-6660-0000
6512   463183                Taylor     Fetterman             46-06-9999-0000-0400-3001
6513   463184                Taylor     Fetterman             46-06-9999-0000-2780-3001
6514   463185                Taylor     Fetterman             46-06-9999-0000-3140-3001
9829   463405                Taylor     Fettermen             46-06-9999-0000-2900-0000

3379   2007-S-0000064        Taylor     Flemington            46-04-9999-0000-0250-0000
3399   462673                Taylor     Knottsville           46-07-9999-0000-1310-0000
3423   2006-S-0000006        Tyler      Centerville           48-01-9999-0000-1330-0000
3508   481537                Tyler      Centerville           48-01-9999-0000-2050-0000
3532   Hassig2               Tyler      Centerville           48-01-9999-0000-2440-0000
3543   Hassig3               Tyler      Centerville           48-01-9999-0000-2460-0000
3561   Hassig5               Tyler      Centerville           48-01-9999-0000-2480-0000
3562   Hassig6               Tyler      Centerville           48-01-9999-0000-2490-0000
3564   Hassig8               Tyler      Centerville           48-01-9999-0000-2510-0000
3565   Hassig9               Tyler      Centerville           48-01-9999-0000-2540-0000
3522   Hassig10              Tyler      Centerville           48-01-9999-0000-2560-0000
3511   481571                Tyler      Ellsworth             48-02-9999-0000-0080-0000
3512   481572                Tyler      Ellsworth             48-02-9999-0000-0090-0000
3509   481538                Tyler      Ellsworth             48-02-9999-0000-0650-0000
3528   Hassig16              Tyler      Ellsworth             48-02-9999-0000-4050-0000
3560   Hassig46              Tyler      Ellsworth             48-02-9999-0000-4110-0000
3530   Hassig18              Tyler      Ellsworth             48-02-9999-0000-4120-0000
3531   Hassig19              Tyler      Ellsworth             48-02-9999-0000-4130-0000
3533   Hassig20              Tyler      Ellsworth             48-02-9999-0000-4140-0000

3534   Hassig21              Tyler      Ellsworth             48-02-9999-0000-4150-0000
3535   Hassig22              Tyler      Ellsworth             48-02-9999-0000-4170-0000
3536   Hassig23              Tyler      Ellsworth             48-02-9999-0000-4190-0000
3540   Hassig27              Tyler      Ellsworth             48-02-9999-0000-4240-0000
3541   Hassig28              Tyler      Ellsworth             48-02-9999-0000-4250-0000
3542   Hassig29              Tyler      Ellsworth             48-02-9999-0000-4260-0000
3544   Hassig30              Tyler      Ellsworth             48-02-9999-0000-4270-0000
8946   2017-S-32             Tyler      Ellsworth             48-02-9999-0000-6120-0000

3468 481313                  Tyler      Ellsworth             48-02-9999-0000-9380-0000

8951 2017-S-48               Tyler      Ellsworth             48-02-9999-2016-0061-0000
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8952 2017-S-49               Tyler         Ellsworth              48-02-9999-2016-0073-0000
8948 2017-S-41               Tyler         Ellsworth              48-02-9999-2016-0276-0000

8945 2017-S-31               Tyler         Ellsworth              48-02-9999-2016-0337-0000

8943   2017-S-14             Tyler         Ellsworth              48-02-9999-2016-0350-0000
3485   481458                Tyler         Lincoln                48-04-9999-0000-2440-0000
3487   481469                Tyler         McElroy                48-05-9999-0000-0950-0000
3424   2006-S-0000040        Tyler         McElroy                48-05-9999-0000-1400-0000
8957   2017-S-93             Tyler         McElroy                48-05-9999-0000-1850-0000
8958   2017-S-94             Tyler         McElroy                48-05-9999-0000-1860-0000
8959   2017-S-95             Tyler         McElroy                48-05-9999-0000-1870-0000
8960   2017-S-96             Tyler         McElroy                48-05-9999-0000-1890-0000
8961   2017-S-99             Tyler         McElroy                48-05-9999-0000-3405-0000
3548   Hassig34              Tyler         McElroy                48-05-9999-0000-3820-0000
3519   481606                Tyler         McElroy                48-05-9999-0002-0010-0000

9771 2015-s-88               Tyler         McElroy                48-05-9999-2014-0149-0000

8419 Ankrom1 (2016-S-41)     Tyler         McElroy                48-05-9999-2015-1254-0000

8420 Ankrom2 (2016-S-42)     Tyler         McElroy                48-05-9999-2015-1255-0000

8421 Ankrom3 (2016-S-43)     Tyler         McElroy                48-05-9999-2015-1408-0000

8422 Ankrom4 (2016-S-44)     Tyler         McElroy                48-05-9999-2015-1491-0000

8572 Ankrom8 (2016-S-45)     Tyler         McElroy                48-05-9999-2015-1575-0000

8425 Ankrom7 (2016-S-48)     Tyler         McElroy                48-05-9999-2015-1719-0000

8423 Ankrom5 (2016-S-46)     Tyler         McElroy                48-05-9999-2015-1802-0000

8424   Ankrom6 (2016-S-47)   Tyler         McElroy                48-05-9999-2015-1867-0000
3550   Hassig36              Tyler         Meade                  48-06-9999-0000-2740-0000
3425   2006-S-0000104        Tyler         Union                  48-10-9999-0000-0780-0000
3555   Hassig40              Tyler         Union                  48-10-9999-0000-1070-0000
3557   Hassig42              Tyler         Union                  48-10-9999-0000-1090-0000
3514   481599                Tyler         Union                  48-10-9999-0000-1810-0000
3515   481600                Tyler         Union                  48-10-9999-0000-1820-0000
3516   481601                Tyler         Union                  48-10-9999-0000-1830-0000
3517   481602                Tyler         Union                  48-10-9999-0000-1840-0000
3476   481413                Tyler         Union                  48-10-9999-0000-3870-0000
3558   Hassig43              Tyler         Union                  48-10-9999-2014-1001-0000

8711 491400                  Upshur        Buckhannon             49-02-9999-0002-7960-0000
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8712 491402                  Upshur      Buckhannon            49-02-9999-0002-8070-0000

8713 491403                  Upshur      Buckhannon            49-02-9999-0002-8120-0000

8714 491404                  Upshur      Buckhannon            49-02-9999-0002-8160-0000

8715   491405                Upshur      Buckhannon            49-02-9999-0002-8310-0000
6877   491629                Upshur      Union                 49-05-9999-0000-1000-0000
8717   491675                Upshur      Warren                49-06-9999-0000-2100-0000
8718   491676                Upshur      Warren                49-06-9999-0000-4640-0000
8719   491677                Upshur      Warren                49-06-9999-0000-4700-0000
8720   491678                Upshur      Warren                49-06-9999-0000-6140-0000
8721   491679                Upshur      Warren                49-06-9999-0000-6150-0000
8722   491680                Upshur      Warren                49-06-9999-0000-8820-0000
8723   491681                Upshur      Warren                49-06-9999-0000-9800-0000
8724   491684                Upshur      Warren                49-06-9999-0001-0670-0000
8725   491685                Upshur      Warren                49-06-9999-0001-1060-0000
8726   491686                Upshur      Warren                49-06-9999-0001-1070-0000
8727   491690                Upshur      Warren                49-06-9999-0001-2800-0000
8728   491691                Upshur      Warren                49-06-9999-0001-2810-0000
3572   2006-S-0000001        Wayne       Butler                50-01-9999-0000-0200-0000
3592   2008-S-0000018        Wayne       Butler                50-01-9999-0000-1620-0000
3638   2009-S-0000004        Wayne       Butler                50-01-9999-0000-1830-0000
4890   2006-S-0000024        Wayne       Butler                50-01-9999-0000-1990-0000
3573   2006-S-0000023        Wayne       Butler                50-01-9999-0000-1990-0000
4099   10-S-0014             Wayne       Butler                50-01-9999-0000-2630-0000
4100   10-S-0015             Wayne       Butler                50-01-9999-0000-2640-0000
3742   504021                Wayne       Butler                50-01-9999-0000-3120-0000
3743   504022                Wayne       Butler                50-01-9999-0000-3130-0000
3744   504023                Wayne       Butler                50-01-9999-0000-3140-0000
3745   504024                Wayne       Butler                50-01-9999-0000-3150-0000
3746   504025                Wayne       Butler                50-01-9999-0000-3160-0000
3747   504026                Wayne       Butler                50-01-9999-0000-3170-0000
3748   504027                Wayne       Butler                50-01-9999-0000-3180-0000
3749   504028                Wayne       Butler                50-01-9999-0000-3190-0000
3750   504029                Wayne       Butler                50-01-9999-0000-3200-0000
3751   504030                Wayne       Butler                50-01-9999-0000-3210-0000
3752   504031                Wayne       Butler                50-01-9999-0000-3220-0000
3753   504032                Wayne       Butler                50-01-9999-0000-3230-0000
3754   504033                Wayne       Butler                50-01-9999-0000-3240-0000
3755   504034                Wayne       Butler                50-01-9999-0000-3250-0000
3756   504035                Wayne       Butler                50-01-9999-0000-3260-0000
3757   504036                Wayne       Butler                50-01-9999-0000-3270-0000
3798   504600                Wayne       Butler                50-01-9999-0000-3550-0000
3799   504601                Wayne       Butler                50-01-9999-0000-3970-0000
3800   504602                Wayne       Butler                50-01-9999-0000-4340-0000
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3813   504677                Wayne
                                         of 120
                                        Butler                 50-01-9999-0000-4470-0000
3778   504509                Wayne      Ceredo                 50-02- 23X-0046-0000-0000
3688   503451                Wayne      Ceredo                 50-02-9999-0000-0830-0000
3598   2008-S-0000056        Wayne      Ceredo                 50-02-9999-0000-6820-0000
3707   503822                Wayne      Ceredo                 50-03- 8-0130-0000-0000
3702   503697                Wayne      Ceredo                 50-03- 10-0024-0000-0000
3779   504523                Wayne      Lincoln                50-08- 10-0043-0000-0000
3571   2003-S-0000103        Wayne      Lincoln                50-08- 18-0022-0000-0000
5573   11-S-0189             Wayne      Lincoln                50-08- 26-0067-0000-3008
3614   2008-S-0000195        Wayne      Lincoln                50-08- 35-0004-0000-0000
3578   2006-S-0000165        Wayne      Lincoln                50-08- 35-0006-0000-0000
3783   504561                Wayne      Lincoln                50-08- 45X-0268-0000-0000
8774   504938                Wayne      Lincoln                50-08-9999-0000-0270-0000

3575   2006-S-0000115        Wayne      Lincoln                50-08-9999-0000-0310-0000
3683   500480                Wayne      Lincoln                50-08-9999-0000-0570-0000
3600   2008-S-0000150        Wayne      Lincoln                50-08-9999-0000-1560-0000
3814   504708                Wayne      Lincoln                50-08-9999-0000-1570-0000
3692   503541                Wayne      Lincoln                50-08-9999-0000-1900-0000
7222   2014-S-152            Wayne      Lincoln                50-08-9999-0000-2080-0000
3609   2008-S-0000183        Wayne      Lincoln                50-08-9999-0000-2130-0000
3588   2007-S-0000170        Wayne      Lincoln                50-08-9999-0000-2312-0000
3577   2006-S-0000159        Wayne      Lincoln                50-08-9999-0000-2790-0000
3738   503837                Wayne      Stonewall              50-09- 54-0026-0000-0000
3696   503579                Wayne      Stonewall              50-09-9999-0000-1890-0000
3784   504566                Wayne      Stonewall              50-09-9999-0000-2530-0000
3785   504568                Wayne      Stonewall              50-09-9999-0000-2550-0000
4113   10-S-0248             Wayne      Stonewall              50-09-9999-0000-2930-0000
4111   10-S-0246             Wayne      Stonewall              50-09-9999-0000-2950-0000
4112   10-S-0247             Wayne      Stonewall              50-09-9999-0000-2960-0000
3786   504574                Wayne      Stonewall              50-09-9999-0000-2992-0000
3805   504632                Wayne      Stonewall              50-09-9999-0000-2993-0000
3787   504575                Wayne      Stonewall              50-09-9999-0000-3002-0000
3806   504633                Wayne      Stonewall              50-09-9999-0000-3003-0000
3788   504576                Wayne      Stonewall              50-09-9999-0000-3012-0000
3804   504631                Wayne      Stonewall              50-09-9999-0000-3013-0000
3789   504577                Wayne      Stonewall              50-09-9999-0000-3052-0000
3807   504635                Wayne      Stonewall              50-09-9999-0000-3053-0000
4110   10-S-0233             Wayne      Stonewall              50-09-9999-0000-3261-0000
7698   2015-S-225            Wayne      Stonewall              50-09-9999-0000-3552-0000
3619   2008-S-0000238        Wayne      Stonewall              50-09-9999-0000-3920-0000
3703   503724                Wayne      Union                  50-10- 35X-0110-0000-0000
3760   504187                Wayne      Union                  50-10-9999-0000-0070-0000
3780   504538                Wayne      Union                  50-10-9999-0000-0170-0000
3758   504072                Wayne      Union                  50-10-9999-0000-0360-0000
3697   503580                Wayne      Union                  50-10-9999-0000-0400-0000
3632   2008-S-0000279        Wayne      Union                  50-10-9999-0000-2950-0000
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3790   504580                Wayne
                                         of 120
                                        Union                50-10-9999-0000-3160-0000
3791   504582                Wayne      Union                50-10-9999-0000-3710-0000
3693   503558                Wayne      Union                50-10-9999-0000-3720-0000
3781   504540                Wayne      Union                50-10-9999-0000-4000-0000
8775   504949                Wayne      Union                50-10-9999-0000-5170-0000
3808   504639                Wayne      Union                50-10-9999-0000-5388-0000
3764   504321                Wayne      Union                50-10-9999-0000-5410-0000
3794   504586                Wayne      Union                50-10-9999-0000-5720-0000
3586   2006-S-0000234        Wayne      Union                50-10-9999-0000-5720-0000
3793   504585                Wayne      Union                50-10-9999-0000-5720-0000
3584   2006-S-0000232        Wayne      Union                50-10-9999-0000-5980-0000
3585   2006-S-0000233        Wayne      Union                50-10-9999-0000-5990-0000
3679   2009-S-0000165        Wayne      Union                50-10-9999-0000-6000-0000
3680   2009-S-0000166        Wayne      Union                50-10-9999-0000-6010-0000
3792   504583                Wayne      Union                50-10-9999-0001-0130-0000
6501   504810                Wayne      Union                50-10-9999-0001-0380-0000
3770   504490                Wayne      Westmoreland         50-12- 5X-0010-0000-0000
3782   504546                Wayne      Westmoreland         50-12- 5X-0050-0000-0000
4209   2010-S-5              Webster    Fork Lick            51-03-9999-0000-0550-0000
3823   2009-S-0000022        Webster    Fork Lick            51-03-9999-0000-2860-0000
3824   2009-S-0000023        Webster    Fork Lick            51-03-9999-0000-4790-0000
8590   511971                Webster    Fork Lick            51-03-9999-0000-4860-0000
3832   Phillips2             Webster    Fork Lick            51-03-9999-0000-5270-0000
9100   511898                Webster    Fork Lick            51-03-9999-0000-5740-0000
4719   ER4 (511484)          Webster    Glade                51-04-9999-0000-0333-0000
4210   2010-S-55             Webster    Hacker Valley        51-05-9999-0000-1020-0000
9108   511952                Webster    Holley               51-06-9999-0000-3560-0000
8585   511956                Webster    Holly                51-06-9999-0000-3600-0000
8588   511967                Webster    Holly                51-06-9999-0000-3600-0000
8589   511968                Webster    Holly                51-06-9999-0000-3610-0000
8586   511957                Webster    Holly                51-06-9999-0000-3610-0000
4720   ER5 (511598)          Webster    Holly                51-06-9999-0000-5070-0000
3861   520126                Wetzel     Center               52-01-9999-0000-0361-0000
3862   520158                Wetzel     Center               52-01-9999-0000-0367-0000
3865   520364                Wetzel     Center               52-01-9999-0000-0429-0000
3953   523560                Wetzel     Center               52-01-9999-0000-0431-0000
3932   523475                Wetzel     Center               52-01-9999-0000-0432-0000
4003   525085                Wetzel     Center               52-01-9999-0000-0440-0000
3855   2009-S-0000008        Wetzel     Center               52-01-9999-0000-1640-0000

3976   524610                Wetzel     Center               52-01-9999-0000-1920-3002
3912   523042                Wetzel     Church               52-02-9999-0000-0018-0000
3910   523007                Wetzel     Church               52-02-9999-0000-0119-0000
3734   522712                Wetzel     Church               52-02-9999-0000-0137-0000
3866   520627                Wetzel     Church               52-02-9999-0000-0218-0000
3868   520783                Wetzel     Clay                 52-03-9999-0000-0770-0000
3870   520915                Wetzel     Grant                52-04-9999-0000-1360-0000
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3956   523566            Wetzel
                                      of 120
                                     Grant                52-04-9999-0000-6510-0000
3871   521002            Wetzel     Grant                 52-04-9999-0000-6660-0000
3933   523479            Wetzel     Grant                 52-04-9999-0000-6680-0000
3934   523481            Wetzel     Grant                 52-04-9999-0000-6910-0000

3735 522959              Wetzel     Grant                 52-04-9999-0000-6930-0000
3736 522960              Wetzel     Grant                 52-04-9999-0000-6940-0000

3737 522961              Wetzel     Grant                 52-04-9999-0000-6950-0000

3901 522962              Wetzel     Grant                 52-04-9999-0000-6960-0000

3902 522963              Wetzel     Grant                 52-04-9999-0000-6970-0000

3903 522964              Wetzel     Grant                 52-04-9999-0000-6980-0000

3904 522965              Wetzel     Grant                 52-04-9999-0000-6990-0000

3905 522966              Wetzel     Grant                 52-04-9999-0000-7000-0000

3906 522967              Wetzel     Grant                 52-04-9999-0000-7010-0000

3907 522968              Wetzel     Grant                 52-04-9999-0000-7020-0000

3908   522970            Wetzel     Grant                 52-04-9999-0000-7040-0000
3977   524658            Wetzel     Grant                 52-04-9999-0000-7140-0000
3978   524659            Wetzel     Grant                 52-04-9999-0000-7150-0000
3979   524660            Wetzel     Grant                 52-04-9999-0000-7160-0000
3980   524661            Wetzel     Grant                 52-04-9999-0000-7170-0000
3981   524662            Wetzel     Grant                 52-04-9999-0000-7180-0000
3872   521068            Wetzel     Grant                 52-04-9999-0000-7210-0000
3873   521115            Wetzel     Grant                 52-04-9999-0000-7400-0000
3992   525018            Wetzel     Grant                 52-04-9999-0000-7410-0000
3874   521176            Wetzel     Grant                 52-04-9999-0000-7640-0000
3898   522403            Wetzel     Grant                 52-04-9999-0000-7660-0000
3899   522404            Wetzel     Grant                 52-04-9999-0000-7670-0000
3900   522405            Wetzel     Grant                 52-04-9999-0000-7680-0000
3709   522408            Wetzel     Grant                 52-04-9999-0000-7710-0000
3710   522409            Wetzel     Grant                 52-04-9999-0000-7720-0000
3711   522410            Wetzel     Grant                 52-04-9999-0000-7730-0000
3712   522414            Wetzel     Grant                 52-04-9999-0000-7770-0000
3713   522415            Wetzel     Grant                 52-04-9999-0000-7780-0000
3714   522417            Wetzel     Grant                 52-04-9999-0000-7800-0000
3715   522418            Wetzel     Grant                 52-04-9999-0000-7810-0000
3716   522419            Wetzel     Grant                 52-04-9999-0000-7820-0000
3717   522421            Wetzel     Grant                 52-04-9999-0000-7840-0000
3876   521179            Wetzel     Grant                 52-04-9999-0000-7850-0000
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3875   521178                Wetzel
                                          of 120
                                         Grant                52-04-9999-0000-7860-0000
3718   522424                Wetzel     Grant                 52-04-9999-0000-7880-0000
3719   522425                Wetzel     Grant                 52-04-9999-0000-7890-0000
3720   522427                Wetzel     Grant                 52-04-9999-0000-7900-0000
3721   522428                Wetzel     Grant                 52-04-9999-0000-7910-0000
3722   522429                Wetzel     Grant                 52-04-9999-0000-7920-0000
3723   522432                Wetzel     Grant                 52-04-9999-0000-7940-0000
3724   522433                Wetzel     Grant                 52-04-9999-0000-7950-0000
3725   522434                Wetzel     Grant                 52-04-9999-0000-7960-0000
3726   522435                Wetzel     Grant                 52-04-9999-0000-7970-0000
3727   522436                Wetzel     Grant                 52-04-9999-0000-7980-0000
3728   522437                Wetzel     Grant                 52-04-9999-0000-7990-0000
3729   522439                Wetzel     Grant                 52-04-9999-0000-8000-0000
3730   522441                Wetzel     Grant                 52-04-9999-0000-8020-0000
3731   522443                Wetzel     Grant                 52-04-9999-0000-8040-0000
3732   522444                Wetzel     Grant                 52-04-9999-0000-8050-0000
3733   522445                Wetzel     Grant                 52-04-9999-0000-8060-0000
3909   522975                Wetzel     Grant                 52-04-9999-0000-8200-0000
3877   521245                Wetzel     Grant                 52-04-9999-0000-8250-0000

3913 523053                  Wetzel     Grant                 52-04-9999-0000-8270-0000

3914 523054                  Wetzel     Grant                 52-04-9999-0000-8280-0000
3915 523055                  Wetzel     Grant                 52-04-9999-0000-8290-0000

3916 523056                  Wetzel     Grant                 52-04-9999-0000-8300-0000

3917 523057                  Wetzel     Grant                 52-04-9999-0000-8310-0000

3918 523058                  Wetzel     Grant                 52-04-9999-0000-8320-0000

3919 523059                  Wetzel     Grant                 52-04-9999-0000-8330-0000

3920 523060                  Wetzel     Grant                 52-04-9999-0000-8340-0000

3921 523061                  Wetzel     Grant                 52-04-9999-0000-8350-0000

3922 523062                  Wetzel     Grant                 52-04-9999-0000-8360-0000

3923   523064                Wetzel     Grant                 52-04-9999-0000-8380-0000
3878   521265                Wetzel     Grant                 52-04-9999-0000-8400-0000
3879   521290                Wetzel     Grant                 52-04-9999-0000-8430-0000
3880   521291                Wetzel     Grant                 52-04-9999-0000-8440-0000
3881   521296                Wetzel     Grant                 52-04-9999-0000-8530-0000
3882   521306                Wetzel     Grant                 52-04-9999-0000-8550-0000
3884   521390                Wetzel     Grant                 52-04-9999-0000-8910-0000
3857   2009-S-0000073        Wetzel     Green                 52-05-9999-0000-0990-0000
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6445   525287                Wetzel
                                          of 120
                                         Green                  52-05-9999-0000-1030-0000
4004   525150                Wetzel     Green                   52-05-9999-0000-1290-0000
4005   525151                Wetzel     Green                   52-05-9999-0000-1300-0000
4006   525152                Wetzel     Green                   52-05-9999-0000-1310-0000
4007   525153                Wetzel     Green                   52-05-9999-0000-1320-0000
4008   525155                Wetzel     Green                   52-05-9999-0000-1340-0000
3886   521634                Wetzel     Green                   52-05-9999-0000-2630-0000
3993   525039                Wetzel     Green                   52-05-9999-0000-2670-0000
3994   525040                Wetzel     Green                   52-05-9999-0000-2680-0000
3995   525041                Wetzel     Green                   52-05-9999-0000-2690-0000

3925   523238                Wetzel     Green                   52-05-9999-0000-3370-0000
3841   2008-S-0000053        Wetzel     Green                   52-05-9999-0000-3390-0000
3996   525043                Wetzel     Green                   52-05-9999-0000-3420-0000
3844   2008-S-0000060        Wetzel     Green                   52-05-9999-0000-3610-0000
3929   523453                Wetzel     Green                   52-05-9999-0000-3680-0000

3843   2008-S-0000055        Wetzel     Green                   52-05-9999-0002-0390-0000
3892   521829                Wetzel     Magnolia                52-08-9999-0000-0940-0000
3997   525056                Wetzel     Magnolia                52-08-9999-0000-1250-0000
3926   523434                Wetzel     Proctor                 52-12-9999-0000-1600-0000
3894   521969                Wetzel     Proctor                 52-12-9999-0000-1780-0000
3896   521993                Wetzel     Proctor                 52-12-9999-0000-4090-0000
3897   522008                Wetzel     Proctor                 52-12-9999-0000-4190-0000
3860   2009-S-0000164        Wetzel     Proctor                 52-12-9999-0001-7210-0000
6968   53760                 Wirt       Burning Springs         53-01-9999-0000-2991-0000
4022   530503                Wirt       Elizabeth               53-03-9999-0000-1910-0000
4020   530461                Wirt       Elizabeth               53-03-9999-0000-2988-0000
4017   2009-S-0000038        Wirt       Elizabeth               53-03-9999-0000-5010-0000
4018   2009-S-0000040        Wirt       Elizabeth               53-03-9999-0000-5050-0000
4026   53631                 Wirt       Newark                  53-05-9999-0000-1480-0000
4025   53591                 Wirt       Reedy                   53-06-9999-0000-1920-0000
4016   2008-S-0000112        Wirt       Tucker                  53-08-9999-0000-1450-0000
4019   2009-S-0000095        Wirt       Tucker                  53-08-9999-0000-3020-0000
4803   ER7 (552615)          Wyoming    Baileysville            55-01-9999-0000-4480-0000
4696   ER4 (551379)          Wyoming    Barkers Ridge           55-02-9999-0200-1060-0000

8032   553076                Wyoming    Center                  55-03-9999-0300-2680-0000
4802   ER6 (552461)          Wyoming    Huff Creek              55-05-9999-0500-5790-0000
6864   552945                Wyoming    Oceana                  55-07-9999-0700-2210-0000
8034   553097                Wyoming    Oceana                  55-07-9999-0700-3280-0000
7528   553151                Wyoming    Oceana                  55-07-9999-0700-4600-0000
7529   553153                Wyoming    Oceana                  55-07-9999-0700-4620-0000
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H3_DB H3_PG                   Legal_Description
                                                  of 120
   487   459 57.4 Coal Elk Run
   487   430 943 Coal Mined Elk Cr
   487   399 44.56 Coal Elk Cr
   487   370 620 Coal Mined Brushy Fork
   487   341 96.30 Coal 1/12 Int Elk Creek
   441   277 6.60 PGH & Above Gordon Russell 2076
   487   310 603 Ac Coal Less Kitt Pleasant Creek
   479   609 3961 Acs Coal Less Kitt Simpson Creek
   479   569 471 Acs Coal Less Kitt Pleasant Creek

   441    236 9.660 PGH Coal & Above Lewis Mayle ETUX
              Tract 133 North, 112.5 Ac 33.6 Ac Rem, 78.9
   487    281 Ac Mined
   487    223 9.2 Coal Indian Fork
   487    194 49.6 Coal Mined Indian Fork
   487    165 112.86 Coal Indian Fork
   487    252 69.26 Deep Coal Big Run
   446    358 10 Coal Big Run
   446    308 8 Coal, Big Run
   496    116 60 Coal, Indian Fork

   452    452   59 COAL MINING & STRIPPING RIGHTS-Z CR
   325    700   25 Fee, 1/90 Int., Pond Fk.
   275    593   40 FEE, 1/18 INT., BIG BR., POND FK.
   271    770   3.25 Min, 1/4 Int, Robinson Creek
                .317 Min., 3/5 Int., Pond Fk. Bull Cr. (Mp18-
   320    223   Par16)
   320    315   .75 Min., 3/5 Int., Pond Fk. Bull Cr.
   271    770   1.5 Min., Robinson CR., 1/4 Int
                12.05 Ac Fee Big Coal (Remainder of Survey
   284    655   MB21 PG 21)
   312      1   4.987 Min., 7/30 Int., Little Coal
   312     62   2.23 Min., 7/30 Int., Big Horse Cr.
   325    740   2.5 Min., Little Coal River
   303    528   17 1/7 Min., Rock Cr., 1 Well, Pt of 20 Ac.
   311    334   69.04 Min., 1/7 Int.,Rock Cr.
                15.40 MIN., 1/5 Int., ROCK CR. MAP 25
   275    572   PARCEL 3
   287    237   59 Min., 1/3 Int., Horse Cr.
                59 Min., 1/6 Int., Horse Cr. & Cameron Oil &
   319    448   Gas Royalty (Griffith Well)
   321    644   61.49 Min., 1/18 Int., Little Coal

   304    827 6.3 Fee, Lot 7, J.L. Toney's Land, Toneys Br
   270    753 4.77 Fee, Big Coal
   267     61 1.76 Min O&G Pt Lot 1 J. P. Toney Land
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287   285 25 Min., 1/3 Int., Joes Cr. (19-3)
                                               of 120
287   265 17.6 Min., No.2 Gas Coal Seam, Big Coal
          4.35 Min. Mouth of Short Creek (Map 7-
296   508 121.6)
          Parcel 4 46.25 Fee, 3/42 Int., Big Cr., Godby
313   560 Br.
287   311 14 Fee, 5/16 Int., Hewett Cr.
          28.9 Min, & 28.9 Sf, Less Timber 1/4 Int
275   537 Hewett Cr
288   590 48 Fee 1/18 INT, Spruce FK
          36.8 Min.,1/8 Int., Spars Cr. (Lot 4A By Survey
320   410 MB15-102)

267    87 4.11 Min., Less O&G, Spruce Fk (Mp20-1.8)

325   767 558 Min., 1/120 Int.,Mud River Cabot Royalty
288   590 30 Min, 8/54 INT Mouth Of Hewett
288   590 79.06 Min, Lot 1, Big Ugly
          30 MIN.,COAL ONLY,MAIN TURTLE CR.,1/7
270   819 INT.
313   661 31 Min., Mud River, 1/8 Int.
          8.64 Min., Big Cr., 1A, 2A, 2.4A & 3.24A, Big
325   816 Cr.
326     1 50.64 Min., Less O&G, 1/8 Int. Spruce Fk.
288   590 270 Min, 1/18 INT, Spruce FK

326    55 270 Min, Spruce Fk 1/315 Int. & EQT Royalty
326    75 124.5 Min Less O&G 1/16 Int. Spruce Fk
          28.3 Min. 1/8 Int. Spars Cr (Lot 3A By Survey
320   456 MB 15-102)
609   591 1/2 of 81Ac Coal Strange Creek
609   635 1/2 of 81Ac Coal Strange Creek

325   511   124 Ac -27 P Shaft Coal (Mined) (All Minerals)
354   613   274 Ac Shaft Coal (Mined Out)
325   560   18 Acres Coal Buffalo Creek
352   557   11 Ac Coal Buffalo (Mined Out)

318   733 67.81 A. Underlying Coal Castlemans Run
379   292 257 Ac Unminable Coal
          30.178 Ac Harrisons Run- Just Minerals Under
334   424 (B36L-11-Lowe)
354   685 #8 Coal Ohio River (Depleted)
          23.17 Ac & 2 Tracts Coal Gilchrist Hill
318   748 (Abandoned)
318   754 36.75 Ac Coal (Louise) Abandoned
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             160 Ac Ex L Ac Top Vien Gilchrist Hill
 318   760   (Abandoned Coal)
 318   738   107.97 Ac Abandoned Coal (Mechling)
 325   500   42.52 A Shaft Coal
 325   545   3.18 Ac Mc Nabb & 50 Ac Shaft Coal

 325   530 20.2 Ac Shaft Coal & Other Min (Depleted)
 325   579 5.98 Ac Coal & 8 Ac Coal Cross Creek Dep
 325   405 5.98 Ac Coal & 8 Ac Coal Cross Creek Dep
 325   478 55 A Shaft Coal
 325   444 31.41 Acres, Shaft Coal Davidson Add.
 344   362 1.07 Ac Shaft Coal
1199   601 70 Ac Min 1/5 Int Trace Ck
1178   401 25 Ac Min 1/4 Int Saunders Crk
1232   671 112.75 Ac Min 3/4 Int Charleys Crk
1233    55 76.17 Ac Min Kilgore Crk
1232    72 112.75 Ac Min Charleys Crk
1177   228 Lt 53-54 Min Midway Cy Sec H
           6.12 Ac Min Honeysuckle Ln C/F 69/85 2010
1343    56 Tax Year
           9.17 Ac Min Plum Tree Ln C/F 70/4 2010 Tax
1342   364 Year
1391   382 Lt 43-52Inc Garden Farms #1 Mohawk Trl

1391   382 Lt A &53-65Inc Garden Farms #1 Mohawk Trl
1391   382 27 Ac Min Merritts Crk
1199   569 60 Ac Min Guy Riv
1232    86 136 AC MIN 1/2 INT GUY RIV
1214   395 60.9 AC MIN BOWEN CRK
1391   382 9 Ac 7 Mi Crk Big 7 Mi Rd Lesage
 230    79 1/2 78 Leatherbark
 230    86 1/2 12 Leatherbark
 230    93 3/4 50 Little Creek Prime Stutler #986
 257   641 1/2 3 leading
           20 LEADING 3/8 Int Holpp Maritn & Roth W-
 237   539 1470

 230    72 169 Leading Rothlisberger W-810 PZ-None
           1/4 49-1/2 Sycamore #2721 Okey Parsons #1
 230   100 PZ-450
 237   573 1/8 81 WALKER
 255   407 1/9 5 Ac Bee Run
 208   801 11 Ac Strange Creek Min 1/4 of 1/2 Int
 208   801 5.64 Ac Strange Creek Min 1/4 Int
 208   801 1 Ac Strange Creek Min
           76.75 AC WTS OTTER MIN 4/5 OF 4/6 OF 1/7
 208   244 INT
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            80 AC WTS RUSH FORK MIN 4/5 OF 4/6 OF
208   252 1/7 INT
219   570 142 Ac Sandy Coal 1/2 Int

218    39   13 Ac Leatherwood Min 1/2 of 1/4 of 1/6 Int
218    20   30 Ac Wts Otter Min 1/2 of 1/4 of 1/6 Int
211   263   44 Ac WTS West Fork Min 1/4 O&G Out
211   271   8 Ac Wts West Fork Min 1/4 O&G Out
208   285   77 Ac Wts Syc Min 2/3 Of 1/18 Int
208   294   99 Ac Wts Syc Min 2/3 Of 1/18 Int
            2 Ac S S Elk Min
658    94   MIN 1 38/HAWKS NEST
658     1   Min 12 19/Hawks Nest
660   585   MIN 2.543/ ANSTED 360 345
640   600   Min 22 50 Laurel Ck
647   284   Min .829 Ac Dogwood Ridge
783   620   Min 11 30/Mill Ck
            Min Lots 16 17 18 19 Blk 9 Jrf Farm Includes 3
658   136   45
667   371   MIN 52.50/ LAUREL CK
640   660   Min 18 6/10 T Pike
640   725   1/4 Int Min 39 19/20 T Pike
640   720   1/10 Int Min 11 88/Meadow Riv
647   324   1/10 Int Min 11 88/ Meadow Riv
667   475   1/2 Int Min 11 26/ Horseshoe
640   590   Min 35 Laurel Ck
640   531   Min 5.50/ Turkey Ck
629   647   1/10 Int Min 11.88/Meadow River
640   540   Min 34 Big Ck
640   545   Min 8 Big Ck
667   338   Min 16.50/ Laurel Creek
640   733   Min 14 07/Meadow Riv
681   289   MIN 39 58/BRACKEN CK
691   377   Min 3 Meadow Riv
719   557   Min 1.50 / Spy Rock
640   668   Min 52 Hedricks Ck WB 15/277
640   671   Min 34.056/Hedricks Ck WB15/277
640   625   Min 2 36/ Meadow River
677     1   MIN 16.125/ WALLOW HOLE
678   172   MIN 106 WALLOW HOLE
629   659   4 Ac Min Wallow Hole
660   429   Min 1 139/New Riv
692   150   Min 7 1/2 Sewell Mtn
638   265   Min 1 War Ridge
781   162   Min 2 137 1/2 P Little Meadows
638   269   Min 1 1/2 Fork Mtn.,
638   273   Min 1/2 Fork Mtn.
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629   315 Min 67 Bear Seam Suvivorship
                                           of 120
630    99   Min 260 09/Wallow Hole
630   505   Min 80 Nr Qinnimont
723   121   Min 61 70/Laurel Ck Ex Oil & Gas 338/208
660   450   1/2 Int Min 120 Laurel Ck
640   729   Min 5.24/Laural Ck
722   565   Min 75 Sewell Mtn 304/363 1/6Int
719   457   Coal 273 01/Brackens Ck 20 OB 14/461

719   498 Coal 95 08/Brackens Ck 21 329/22 OB14/461
691   345 Min 40 Sugar Ck 349/580
          Gilbert Seam Coal 38 Acres N Side Stringtown
686   398 Rd

621   360 MIN 19 50/ NR COURT HOUSE UPPER SEAM

621   366 MIN 58 75/ NR COURT HOUSE UPPER SEAM

621   294 MIN 69 3/ NR COURT HOUSE UPPER SEAM
621   312 MIN 22 3/10 LAUREL CK UPPER SEAM
621   318 MIN 26 2/10 LAUREL CK UPPER SEAM
621   330 MIN 32 80/ LAUREL CK UPPER SEAM
621   324 MIN 32 80/ LAUREL CK UPPER SEAM
629   321 Min 54 71/Laurel Ck
775   721 1/6 Int Min 495 86/ Laurel Ck
640   584 Min 11 38/Laurel Cr
660   504 MIN 12 02/COTTON HILL
660   531 MIN 12 02/COTTON HILL
660   558 MIN 12 02/COTTON HILL
722   597 1/2 Int Min 11 Ac Dogwood Ridge
756   172 Coal Under 94.25/ Ac Dogwood Ridge
          5/9 Int 20 Ac Coal Sewell Seam Sewell Mtn
669   124 341/435 437 439
668   333 1/7 Int In Min 105.915/ Dogwood Ridge
719   359 Min .18/Meadow Riv 398/265

630   562 Min Ex Outcrop Seam Coal 10.60 Opossum Ck
744    92 Coal 218.75/ Saturday Road
          23 30/ Mill Ck Mineral 491/156 463/295 ½
647   301 Undiv Int Mineral

638   208 557.79 Sewell Seam Less O&G Laurel Creek
          2/3 Int Sewell Seam Less O & G 591.04 New
692   178 River 11
          2/3 Int Min 1129.64 Less O&G Nr Ct House
638   233 Summerlee Tr 1
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          2/3 Int Sewell Seam Less O&G 484.72 NR CT
638   335 HS Summerlee TR 1
781   196 10.88 Ac Min T Pike 576/429
          Min 46.58 Ac Sewell Ck Under 1-112-16
667   308 673/88
647   362 Min .475 White Oak Rd
747   512 Fee 8.791/ White Oak Whipple
687   142 Lot 169 Roaring River LLC 0.48 Ac Fee
640   563 1/4 Int Min 140 54/Ex Sew Seam
656   463 3623 08/ Min Exc Sewell Seam Less O&G
712    98 Min 82 55/T Pike 26/40 Int
669   483 Min 3 5/10 Paint Creek 404/459 R/S
669   501 Min 12.50/ Paint Creek 404/459 R/S
669   519 Min 10 Paint Creek 404/459 R/S
669   537 MIN 15 PAINT CREEK 404/459 R/S
656   450 MIN 7 6/10 PAINT CREEK 404/459 R/S
687   127 Min 2 Town Br
656   468 Min 16 51/ Paint Ck
656   473 Min 6.50/ Paint Ck
656   478 Min 10 Paint Ck
656   483 Min 19.50/ Paint Ck
          Sew Seam Coal under Lots 89, 93 & 197
669   136 Harvey Prud (6.27 Ac)
638   213 Min 27.50/Less O & G Nr Harvey
638   326 Min 19 1/4 Mossy Ck
638   343 Min 25.60/Paint Ck.
775   653 Min 4.709/Paint Ck Rd
691   311 Min 15.01 Ac Paint Ck Min Under 2-35-6
647   361 1/8 Of 18 79/ N S Fee Gauley
629   303 Min 17 64/Paint Ck
705   643 Min 12 1/3 Mth 20 Mile
720   102 Min 2 17/ Montgomery Hts Res 293/179
640   738 1/2 Int Min 17 71/AC Paint Ck
492   292 1/99 MIN 71.25 AC Brier Lick
486   638 Coal 10Ac, Tanner Fork
476   605 Coal 36.01 Ac Lower Level Run
476   615 Coal 28.70 Ac Lower Level Run
476   625 Coal 24.56 Ac Lower Level Run
476   667 Coal 58.11 Ac Lower Level Run
476   677 Coal 29.36 Ac Lower Level Run
478   167 Coal 58 Ac Little Crooked Run
486   538 1/6 Coal 102 Ac Mikes Run
486   516 1/6 Coal 106.84 Ac Butchers Run
486   495 1/6 Coal 62.75 Ac Butchers Run
486   473 1/4 Coal 100 Ac Cub fork
486   621 Coal 94.65 Acres L F Steer Crk
476   687 ½ Min-OG 216A. Cub Fork
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478    282 Coal 77.32 Ac Spring Creek
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           1/12 COG 220.75 Ac Tanner Fork Boylen
500    200 1/Franklin Adkins W R Collins/Standard Oil
527    211 Coal 186.61 Ac Ellis Fork
476    659 ½ Coal 226.60 Ac Fairgrounds

478    159   Coal-Pittsburg Vein 192.57 Ac Stewarts Creek
476    635   Pittsburg Coal 29 Ac Lynch Run
486    661   Coal 7.90 Acres Copen Run
478     61   PGH Coal 38.60 Ac Jakes Lick of Ellis
541    526   Coal 117.95 Ac Ellis Fork
476    693   Coal 197.38 AC S.S. Kanawha

478     18   Min-OG 83.20 Ac Kanawha & Stewarts Creek
486    699   Min 2.125 Ac Wabash
486    455   Coal 5.25 Ac Little Cove
486    437   Coal 16 Ac Big Cove
486    419   Coal 12.43 Ac Bear Fork
487    256   1/21 Min-C 44.20 Ac Laurel of Fink
478     28   Min-OG 40.37 AC Lower Big Run of Horn
515    224   100 A Min Only Walls
             37.457 Ac Minerals Only Surface Map 47 Pcl
533    688   37 From Carpenter
             55 A 92 P Minerals Only From
540    524   Whanger/Deputy Comm
             1/2 Int 140.87 A. Laing (Minerals) From
533    671   Conley
515    216   1/2 INT IN 40 A MINERAL
             Interest in 134 Ac 4 Accts Comb = Int in 599
463    549   Ac
463    555   2/3 Int in 126.5 Ac Minerals
             Lot 49 Laurel Hills 2nd Adn (Minerals Only(
842    530   (.46 Ac)
283    462   1 A Creek Bottom 9.4 A (Min) Ohio River
             (25% Int) 12.930 Ac Hardins Run (Minerals
870    282   Only)
             Lot 2 A Cowl Bros Adn (Minerals Only) (.49
862    145   Ac) G10-239
291    165   60 Min Acres Kings Creek
             Lots 336-337 Buck Hts 1st Adn (Minerals
854    211   Only) (.19AC) (W43C-107)
             Lot 120 Harvard Hts (Minerals Only) (0.143
849   1151   Ac) (W43B-452)
             Lot 15 Mar Hts (Minerals Only) (0.151 Ac)
849   1754   (W42S-378)
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              Lot 157 Hagerty Sub Div 4 (Minerals Only)
 849   1815   (0.176 Ac) (W43E-114)
1603    962   53.55 As Coal Mined Out Nutters Run
1426   1127   16.78 As Coal M/O
1603    980   40.28 As Coal Mined Out
1603    945   55 As Coal Mined Out
1618    775   4.405 Ac O&G/Other West Fork
              1.78 As Pgh Coal From Consol Tract 1987 CID
1447   1174   1/17
1471    785   1/2 Int 8.75 AS Coal M/O Johnson Fork
              161.57 Ac Pgh Coal From Consol Tract 1974
1603    938   CID 1/2
              122.13 Ac Pgh Coal From Consol Tract 1980
1603    931   (PT)

1603    924 51.36 Ac Pgh Coal From Consol Tract 1981
            8.025 As Coal M/O Lamberts Run Map
1449    227 227/52
            Part 304.44 As(Coal-Mined Out) Robinson
1603    914 Run
1643    120 2575.23 As Coal M/O (Roby Coal Co)
            3.50 as Coal M/O Redstone Under 21.143 as
1425    476 Rooting Creek
            212.63 As Barren Coal Tract #265 Under
1426     82 Map489/6 & 469/8
            64.97 As Coal M/O 1/6 & 1/30 Int CID 2/43
1467    929 Map 446/31
            70 AS Coal M/O 1/6 & 1/30 Int CID 2/44 Map
1468    217 446/30
            29.81 As PGH Coal M/O Browns Ck under
1415    869 map 387/31 CID 1/44
            82.03 As Coal M/O Duck Creek Under Map
1603    907 445/13 CID Map 2/26
1519    668 49.50 Ac Deep Coal
1394    938 1 As Mineral Katy Lick
            101.42 As Pittsburgh Coal M/O (Consol Tract)
1603    897 Inc Par 38 & 39
            6 As Coal & Mined Out Under 153.40 As & 5
1425    486 As Buffalo Creek
            55 Ac 1/64 Coal O G M 474-167 Sand Creek-
 474    167 Hutchinson Land
            1.82 Ac 1/12 O G & 1/6 Minerals-Limestone
 487    122 Ridge 487-122
            4.33 Ac 1/12 O G & 1/6 Minerals-Limestone
 487    135 Ridge 487-135
            7.81 Ac 1/12 O G & 1/6 Minerals-Limestone
 487    148 Ridge 487-148
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             64 Ac All O G M R F S 446-293 VanFosson #2-
 499   561 #5/Creston
           73 1/2 Ac All O G M R F S 446-293 VanFosson
 499   676 #1/Creston
           Lot 12 (2.11 Ac) 1/2 Int O G M Grass Lick-
 474   201 Forest View Estates 357-445
 487   246 1.53 Ac 1/4 O G M Johns Run 487-246
 417   889 62.37 Ac Int Minerals
 487   204 57 1/2 Ac 1/5 O G M Dudeon 487-204
 437   919 5 Ac 1/4 Coal O G Metals 437-919
           43550 Sq Ft 1/2 O G M Robinson Heights 420-
 420   388 388
           Lot 7 (1.15 AC) 1/2 O G M Cedar Ridge
 420   407 Development 420-407
           13 Ac More or Less Int O G M Flatwoods 487-
 487   273 273
 487   289 2.81 Ac Int O G M L M Creek 287-105
 449   575 95 Ac 1/120 O G M Fall Run 311-602
           65 1/2 Ac Int O G M Cedar Run 420-262 J L
 416   768 Shively Well/Nytis
           45 Ac 1/6 Int Tug Fork Waybright Land 414-
 414   117 117

 487   396   20.15 Ac Int O G M Coal Joes Run 468-853
 487   409   16.5 Ac Int Coal O G M Joes Run 468-853
2798   365   20A 1/6 Min Int Ruckers Creek
2798   365   Und Min Int 2A & R/W Little Sandy
             100A 1/2 Coalbed Meth Int Big Sandy
2984   468   Thorofare BR
2814   598   6 A Min Int Big Sandy
2798   365   1/4 Min Int North Side Elk River
2784   843   2A Min Int Big Sandy
2784   856   1A Min Int Sand Run
2784   874   34-3/4 A 1/8 Int Min Less O/G Island Br
             30 A Fee Belle Creek Les O/G Coal Map 2/11
2765   320   Les Timer
2959   930   1-1/3A 1/2 Min Int Giles Cabin Creek
2815   403   10-43/100A 1/2 Min Only Guthrie Estate
             8/100 A Surf Tract 5 Newhouse Branch 1/12
2765   320   Min
2959   639   65A 1/2 Min Less Oil & Gas Spruce Fork
2798   365   1/2 7-1/2A Min Int Coopers Ck
2784   929   3A 13 PO Min Int Little Sandy

2959   458 62-131/160A Mineral Less O & G Little Sandy
2959   469 251-4/10A Coal Int Coopers Ck
2959   512 114 37/100A 6/64 Coal Int Lick Branch
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2988   204 147A Min Int Coal Ony Mill Ck
                                             of 120
2798   365 1-1/2A Min No Side Elk River

2985   184 102A 1/6 Coal Int Mile Fork Coopers Creek

2984   479 102A 1/36 Coal Int Mile Fork Coopers Creek
2798   365 1/2 Min Int 1-1/2A Wills Creek
2959   545 248-3/4A Coopers Ck Coal Int
2959   567 60A Coal Int Cash Creek Coopers Creek
2798   365 2-56/100A Min Int Wagner PT
2984   457 81A 1/16 Coal Int
2959   838 28-4/10 A M/L 2/3 Int Coal Elk Hills
           31/32 Min Int In 29A Less O & G Min Map 1-
2959   426 136
2881   807 6A Min 1667/10000 Int Tack Ck

2798   365 2-02/10 A Min Mudsuck Fork Davis Creek
           49-3/4 A Mineral Interest Mud Suck FK Davis
2881   823 Ck
2959   480 31-3/100A M or L Coal Pt Kelly Lt 7
2788   871 3-85/100A M/L Coal INT Davis Creek
2784   970 1-45/100a M or L Coal Pt Kelty Lt 1
2984   498 1-16/100A Elk 2 Mile
2798   365 10 A Min Int Cabell Est
2788   885 9-21/100A Coal Int Tuppers CK
2788   899 15 A Coal Int Tups CK
2788   915 19-3/4A Coal Int Tups CK
2788   931 35A Coal Int Tups CK
           24-2/10A Tuppers CK Less 3/32 Oil 1-3/4 Gas
2788   948 & Others Min Int
2788   963 5A 73 PO MIN INT TUPS CREEK
           50A 1/6 Undiv Min Int Second CK & Litton
2788   978 Lease
2788   993 52-1/10 AC 1/4 Coal Int Allens FK

2789     5   50A 1/6 Coal Int Tuppers CRK Less 1/2 O & G
2789    18   25A 1/4 Coal Int Coon Crk
2789    34   57-2/10A 1/2 Coal Int Waters Tuppers CK
2958   898   Lt 40x240 Sissonvil Min Only
2798   365   6-1/2A Min Int Pt Lt 36 Sheba Tract
             52-1/10A 1/6 Und Int 1/2 Min Allen Fork Les
2958   930   0/G SS 91/92/93
             5/6 Int 52-1/10A 1/2 Min Int Allesn Fork Poca
2958   962   Less O/G SS 92/93
2958   994   1-3/4A Min Tuppers Creek
2959     1   Min Int Les O & G 57A 151 Sq Rods
2798   365   14-1/2A Min Int Tups Ck
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2798   365 6-1/4A 1/4 Min Int Tups Creek
                                             of 120
2915   715 31-3/4A Min Int Tuppers Creek
2959    65 32A Coal Int Tups Ck
2915   747 1/2 Min Int 29A 91 Po Allen Fk Poca

2789    52 1/6 Und Min Int 14-1/4A Main Fk PoCa 21&3

2959    97   1/6 Min Int In 1A 13-3/4 Poles Dawson Br
2789    70   4A Coal Int Rocky Fork
2980   392   251A Coal Int Wts 2 Mile Ck
2959   207   1-1/2A Min Int Martins Br
             92-21/100A Poca River Coal Sold To State
2962   506   2012
2789    86   3-39/100A Min Int Tylers CK
2993     1   18A Coal Int Frogs Creek
             Min Int Pt Lt 4 J D Thomas Est Rocky Fk 6
2798   365   98/100A M/L
2789   111   2-1/2A 1/3 Min Int Waters Tylers Creek
             6-36/100A 1/3 Min Int Lts 23-24 Tyler
2798   365   Mountain Farm
2992   943   20A Coal Int Right Hand Fk 2 Mile Ck
2959   136   20A Coal Int Righ Hand Fk 2 Mike Ck
2798   365   1A M/L Min Int Martins Br Clearview
             142A 76 Po 9/24 Coal Int Lts 3 Thru 7 & Pt Lt
2959   239   11 Anderson Est
2959   271   54-7/10A 1/2 Coal Int Kan 2 Mi

2959   305   40-12/100A Coal Rick Fork & Kanawha 2 Mile
2766   763   2A 1/2 Min Int Alum Crk
2798   365   2 A 1/2 Min Int Alum Creek
2798   365   5A Min Int North Side Alum Ck
2813   773   1/2 Und Int 14A Min Int Crooked Ck
 724   321   1/3 of 156.69 A Coal Crooked R
 724   112   20 Ac Coal Kleins Run
 379    81   Fee 1/8 of 1/6 of 19 Acres Zircles Branch
 341   512   Fee 1/8 of 1/6 of 19 Acres Zircles Branch
 329   246   Fee 1/2 Acre Mud River
 326    74   MIN 1/7 OF 137.5 AC COAL MAP 01-65
 331   586   Min 1/3 of 2/3 of 1/2 of 123 Acres

 335   440 MIN 1/10 of 123 AC Midd Fk Coal Map 02-19
 322   508 MIN 1/7 of 50 AC Buffalo Cr
           Min Coal 1/14 of 74.75 Ac Buff Ck Coal Map
 341   465 01-96
 355   276 MIN 1/2 OF 1/5 OF 100 AC LITTLE LAUREL
 328   471 Min 4/5 of 42 AC Mud River
 341    26 Min Coal 1/11 of 110 Ac. Middle Fk
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379   457   Min Ex O & G 62 Ac (Tract 1) Coal Map 01-83
326   128   MIN. 1/6 OF 24 ACRE , MUD RIVER
332   322   3/4 of 50 Ac Roberts Br
335   532   MIN 1/2 of 25 AC Coon Ck
332   490   Min 2/8 of 90 Ac Mud River

341    17 Min Coal 1/5 of 1/12 of 42 Ac. Little Laurel

341     1 Min Coal 1/5 of 1/12 of 37 Ac. Little Laurel

340   640   Min Coal 1/5 of 1/12 of 26 Ac. Little Laurel
340   631   Min Coal 1/5 of 1/12 of 3 Ac. Little Laurel
322   399   MIN 35 Acres Buffalo CR
340   622   Min Coal 1/12 of 42 Ac. Little Laurel
340   613   Min Coal 1/12 of 37 Ac.Little Laurel
340   604   Min Coal 1/12 of 26 Ac. Little Laurel
340   595   Min Coal 1/12 of 3 Ac. Little Laurel
364   588   Min. 1/7 of 166 Ac. Lick Br Mud River
331   448   Min 1/2 of 37 AC Big Cr
339   613   Min. 54 Ac. Mud River Coal Map 02-82
340   586   Min Coal 1/8 of 99 Ac. Mud River
335   462   Min. 105 Ac. Mud River Coal 01-45
331   429   Min. 12 Ac. Coon Cr.
355   225   MIN. 1/12 OF 37 AC. LITTLE LAUREL
379   200   Min 1/12 of 3 Ac Little Laurel
355   263   MIN. 1/24 OF 15 AC. LITTLE LAUREL
352   241   Min 1/2 of 100 Acres Mahone Cr
341   276   Min 65 Ac Bee Br
326    25   MIN . ¼ OF 30 AC . MIDDLE FK.
340   577   Min Coal 1/4 of 54 3/4 Ac Sand Creek
340   568   Min Coal 1/4 of 100 Ac. Little Laurel
340   559   Min Coal 1/4 of 35 Ac. Mud River
340   550   Min Coal 1/2 of 55 Ac. Mud River
341   490   Min 1/8 of 1/6 of 21 Acres Buffalo Ck
341   479   Min 1/8 of 1/6 of 12 Acres Buffalo Ck
322   383   MIN 1/12 of 90 AC Mud River
355   296   MIN 1/6 OF 72 9/10 AC MUD RIVER
375   705   Min. 1/22 of 110 Ac.Middle Fk
397   559   Min. 1/2 of 60 Ac.Middle Fk
340   541   Min Coal 46 Acres Mullberry Br
331   315   Min 3/4 of 1/7 of 60 Acres Buffalo Creek
331   341   Min 3/4 of 1/7 of 50 Acres Buffalo Cr
340   532   Coal 1/6 of 62 Acres Mud River
340   523   Min Coal 1/6 of 54 Ac, Mud River
332   393   Min 1/2 of 25 Acres Little Laurel
355   238   MIN. 26 ACRES, MAHONE CR.
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332   270   Min 3 Acres Mud River
                                               of 120
332   251   Min. 1/2 of 42 Acres, Little
332   231   Min 1/12 of 37 acres Little Laurel
332   211   Min 1/12 of 26 Acres Little Laurel
332   191   Min 1/12 of 3 Acres Little Laurel
331   277   Min 1/12 of 8 acres Little Laurel
331   297   Min 1/24 of 15 Acres Little Laurel
331   364   Min 1/24 of 8 Acres Little Laurel
385   612   Min Ex O & G 80 A Town Br
376   730   Min 1/6 of 1/2 of 60 Acres Middle Fk
341   456   Min Coal 1/6 of 62 Ac Mud River
341   447   Min Coal 1/6 of 54 Ac Mud River
341   438   Min Coal 1/6 of 1/22 of 20 Ac
341   429   Min Coal 1/6 of 75 Ac Tr Ck
341   395   Min Coal 1/6 of 24 Ac Mud River

341   386   Min Coal 1/6 of 1/11 of 20 Ac Little Laurel
341   413   Min Coal 1/12 of 42 Ac Little Laurel
341   404   Min Coal 1/12 of 37 Ac Little Laurel
341   368   Min Coal 1/12 of 3 Ac Little Laurel
341   359   Min Coal 1/12 of 8 Ac Little Laurel
341   350   Min Coal 1/24 of 15 Ac Little Laurel
341   323   Min Coal 1/7 of 6 Ac Buffalo Ck
341   314   Min Coal 1/7 of 50 Ac Buffalo Ck
341   305   Min Coal 1/7 of 60 Ac Buffalo Ck
341   296   Min Coal 1/7 of 2 Ac Buffalo Ck
341   287   Min Coal 1/14 of 68 Ac Buffalo Ck
340   514   Min Coal 1/12 of 15 AC Trace Fork
            MIN 1/3 OF 83.5 ACRES LAUREL FK COAL
352   266   MAP 01-148
397    52   Min 1/3 of 50 Acres, Porter Fk
397    79   Min 1/3 of 48 Ac, Porter Fork
329   463   Min 1/4 of 70 Acres, St. Fk.

340   505 Min Coal 1/3 of 1/6 of 109.5 Ac Trace Fork

340   496   Min Coal 1/3 of 1/6 of 109.5 Ac Trace Fork
322   355   MIN 1/8 of 381 AC
340   487   Min Coal 1/16 of 15 Ac Trace Fk
335   518   Min 1/10 of 182 Acres Joes CK
            Min Coal 1/2 of 6/35 of 17.75 Ac Straight
340   478   Fork
340   469   Min Coal 5/35 of 17.75 Ac Straight Fork
340   460   Min Coal 16 Acres St Fork
332   160   Min 1/5 of 6/35 of 319.75 Ac St Fk
329   515   Min 1/5 of 6/35 of 319.75 Ac St Fk
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            Min Coal 1/2 of 6/35 of 319.75 Ac Straight
340   451   Fork
322   330   MIN 100 Acres, Sams Branch
322   463   MIN 15 Acres ST FK
340   442   Min Coal 1/12 of 20 Ac Merritts Ck
340   433   Min Coal 1/12 of 70 Ac Merritts Creek
340   424   Min Coal 1/2 of 30 Acres Porter Fork
349   413   Min 1/2 of 24 Acres, Porter Fk

349   252 Min 1/2 of 16.5 Acres Laurel F Fork of Joes Ck

340   406 Min Coal 1/6 of 6/25 of 32 1/2 Ac Joes Creek

340   415 Min Coal 1/6 of 6/25 of 32 1/2 Ac Joes Creek
340   397 Min Coal 4 Acres Trace Fork
369    69 Min 1/2 of 30 Porter Fork
395   293 Min O&G 1/12 of 50 Acres Trace Fork
          Min 1/6 of 136.5 Ac Trace Fk Coal Map 01-
335   471 102
335   506 Min 1/6 of 25 AC, Trace Fk
322   245 MIN 1/3 of 1/4 of 190.5 Ac Trace Fork

340   386 Min Coal 1/6 of 6/25 of 32 1/2 Ac Joes Creek
331   569 Min 1/12 of 177 AC Donally Fork

359   400 Min 2/5 of 1/6 of 40 Acres Laurel Fk Joes Ck

359   422 Min 2/5 of 1/6 of 40 Acres Laurel Fk Joes Ck
340   377 Min Coal 1/2 of 71 Acres Road Fork
          Min Coal 17/30 of 95 1/2 AC Turkey Ck Coal
340   368 Map 01-83
322   219 MIN 1/3 or 1/3 of 1/2 of 89 AC TR FK
322   226 MIN 1/3 of 1/3 of 1/2 of 89 AC ST FK
322   490 MIN 1/3 of 1/3 of 1/2 of 89 AC ST FK
340   359 Min Coal 10 Acres Trace Fork
340   350 Min Coal 1/6 of 91 1/4 AC Road Fk

397   108   Min 1/3 of 70 Ac Porter Fk Coal Map 02-32
359   444   Min Ex O&G 20 Ac St Fk
357   615   Min Ex O&G 10 Acres G'ville
331   397   MIN 5/6 OF 24 1/2 AC LAUREL F
382   472   Min 1/6 of 1/7 of 15 Ac Turkey Ck
382   407   Min 1/3 of 1/7 of 15 Ac Turkey Ck
382   453   Min 1/6 of 1/7 of 20 Ac Turkey Ck
382   380   Min 1/3 of 1/7 of 20 Ac Turkey Ck
382   434   Min 1/6 of 1/7 of 80 Ac Toney Br
340   341   Coal 1/12 of 30 AC Joes Ck
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322   256 MIN 1/12 of 85 8/10 Acres RD FK
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322   497   MIN 1/12 of 143.5 AC Road Fork
326   167   MIN 30 ACRES , JOES CK
326   155   MIN ½ OF 30 ACRES,JOES CK
340   332   Coal 1/4 of 51 AC Laurel Fork
340   323   Min Coal 21 Acres Trace Creek
352   251   MIN 23 ACRES TRACE FORK
340   314   Min Coal 1/2 of 15 AC Porter Fork

341   166 Min Coal 1/2 of 50 Ac Porter Fork Joes Ck

341   267 Min Coal 1/2 of 16.5 Ac Laurel Fk of Joes Ck
341   258 Min Coal 1/12 of 15 Ac Trace Fk
341   249 Min Coal 1/2 of 75 Ac St Fk Coal 02-51

341   240   Min Coal 1/2 of 1/4 of 20 Ac Merritts Creek
350   168   75 Ac. Tr. Fk Coal Map 01-01
350   168   100 Ac. Porter Fk Coal Map 02-31
341   157   Min Coal 1/2 of 45 Ac Joes Ck
341   148   Min Coal 1/2 of 30 Ac Joes Ck
341   134   Min Coal 1/2 of 35 Ac Joes Ck
            Min Coal 1/2 of 35 Ac Laurel Fk Coal Map 01-
341   231   157
            Min Coal 1/12 of 30 Ac Joe Ck Coal Map 01-
341   222   112
341   213   Min Coal 23 1/8 Ac Traces Fk
341   202   Min Coal 11 1/2 Ac Joes Ck
            Min Coal 2/7 of 63.5 Ac Sugartree Coal Map
341   184   02-06
            Min Coal 1/7 of 73.5 Ac Sugartree Coal Map
341   175   02-06
382   361   Fee 1/4 of 1/8 of 62.5 Ac
335   484   Fee 1/8 of 62.5 AC Pigeon Roos
396   198   Fee 1/6 Of 17.5 Acres Harts
335   364   Fee 3/4 Acre 12 Pole Creek
            MIN 1/18 OF 20/21 OF 500 ACRE HAMILTON
326   119   CR.
331    75   Min 1/3 of 25 Acres E S Guy
349   390   Min. 1/3 of 65 Acres. E.S. Guy
            MIN 1/2 of 1/12 of 20/21 of 500 AC Hamilton
322   447   Creek
385   622   Min. Ex. O. & G. 3/4 of 70 A E.S. Guyan
326    37   MIN 1/8 OF 1/6 OF 258 ACRES BIG UGLY

328   156 Min 1/11 of 1/10 of 9/10 of 75 Ac 12 pole Ck
349   174 Min. 1/5 of 34.50 Acres, Harts
375     1 Min. 1/5 of 17.50 Acres, Harts Cr.
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323   118   Coal 437 Acres, Big Ugly
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323   118   Coal 79 4/5 Acres Big Ugly
388   220   Min 3 Acres E S Guyan
386     1   Min 1 Acre Little Harts
335   350   Min 17.5 Acres Harts
323   118   Coal 89 1/3 Ac, Big Ugly
355   206   MIN 3 22/40 ACRES
340   276   Elkins Branch Fee 1/2 of 10 Acres
322   278   MIN 7 Acres, Stinson CK
322   267   1/2 of 16 Acres Left Hand Fk
322   290   MIN 3/4 of 70 Acres, Parsoner Creek
322   302   MIN 3/4 of 10 Acres, Parsoner Creek
339   572   Min 3/60 of 20 Acres Stinson Ck
329   317   Min 1/7 of 1/4 of 1/3 of 208 Bud Gas
329   335   Min 1/7 of 1/4 of 1/3 of 208 AC Bud Gas
329   351   Min 1/7 of 1/4 of 1/3 of 208 AC Bud Gas
329   367   Min 1/7 of 1/4 of 1/3 of 208 AC Bud Gas
329   401   Min 1/7 of 1/4 of 1/3 of 208 AC Bud Gas
385   661   Min Ex O & G 21 1/4 Acres Conley Ck
326    96   MIN COAL 60 ACRE,CONLEY CK
329   113   Min 2/10 of 235 Acres Stinson Creek
328   493   Min 10 Acres Mud River
385   641   Min Ex O&G 8 Acres Upper Ck
340   286   Min 3/60 of 20 Acres Stinson Ck
347   333   Min 3/60 of 36 1/2 Acres Stinson Ck
329   265   Min 1/9 of 116 5/8 Left Hand Fk
329   285   Min 1/9 of 43 Acres Stinson Ck

329   170   Min 1/8 of 197.50 AC Mud Rv Harmon Gas
331   470   Min 1/8 of 197.50 Acres Mud River
340   305   Coal 1/2 of 1/8 of 197.5 Ac Mud River
388   200   Min 1/5 Of 1/5 Of 40 Acres Carpers Br
388   140   Min 1/5 Of 1/5 Of 75 Acres Wolf Penn
388   180   Min 1/5 Of 1/5 Of 20 Acres Bear Brnn
388   120   Min 1/5 Of 1/5 Of 29 Acres Bear Br
388   160   Min 1/5 Of 1/5 of 55 Acres Bear Br
347   320   Min 3/60 of 36 1/2 Acres Stinson Ck
329   189   Min 1/16 of 52 Acres Left Hand Fork
332   441   Min 8/224 of 75 Acres Stinson Ck
332   425   Min 8/224 of 65 Acres Stinson Ck
332   409   Min 1/9 of 116 5/8 Acres Left Hand Fork
326    13   MIN 1/8 OF 69 ACRES M, UD RIVER
329   382   Min 1/8 of 78 Acres Left Hand Fk
331   517   Min 1/8 of 24 3/4 Acres Mud River
329   208   Min 1/8 of 24 3/4 Acres Mud River
340   296   Coal 1/2 of 24 3/4 AC Mud River
329   227   Min 1/8 of 69 Acres Mud River
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      309 Min 1/5 of 1/7 of 111 Acres Mud River
322   392   Min 1/2 of 16 Acres Left HD FK
331   493   Min 1/8 of 69 Acres Mud River
326     1   Min O&GM 1/10 of 229 Acres Stinson Ck
340     1   Min Coal 1/2 of 28 Acresm Hanging Rock
348   375   Min 1/12 of 25 Ac Left Hand Fork
332   175   Min 5 1/2 Acres Mud River
395   313   Min 1/8 of 70 Acres Parsoner Ck

355   166 MIN 1/4 OF 1/7 OF 1/5 OF 75 AC WOLF PENN
325   671 MIN ¼ OF 40 ACRES PARSONER CK
          Min 34/640 of 1/5 of 50 Ac Sycamore (Pcl 5)
382   276 (5.360 % Int)
395   333 Min 1/2 of 23 Acres Left Hand Fk
332   290 Min Coal 1/2 of 169 Acres Stinson Ck
332   457 Min 1/2 of 25 Acres Dog Bone Creek
341   125 Min Coal 1/8 of 197.50 Ac Mud River
341   116 Min Coal 1/8 of 24 3/4 Ac Mud River
341   107 Min Coal 1/8 of 69 Ac Mud River

382   335 Min 1/10 of 50 Acs Bear Fork Int In 216 Acs
          Min. 2 Acres W. S. Guyan
353   253 Min. 3 Acres E.S. Guyan
340   267 Min Coal 25 Acres 10 Mile
347   343 MIN 52 ACRES 6 MILE
408     1 Lower 2 Mile Fee 7.38 Acres
408    26 Fee 1/9 of 1/2 of 31 32 33 34 Hubball
331   382 Min 7 5/11 Acres W S Guyan
340   109 Min 64.50 AC, Guyan
340   258 Coal 1/3 of 1/2 of 64 AC Upper Two Mile
340   249 Min Coal 1/3 of 34 Acres W S Guyan
340   240 Min Coal 1/3 of 34 Acres W S Guyan
369   527 Min. 1/2 of 100 Acres, Harless Fk.
340   231 Min Coal 1/8 of 45.50 Ac Upper Two Mile
325   682 MIN 60 ACRES ,2 MILE
322   431 MIN 1/2 of 110 Acres Upper 2 Mile
340   222 Min Coal 4 Acres Upper 2 Mile
385   680 Min 3/4 Acre Bear Ck
340   213 Coal 2/3 of 65 AC Bear Creek
349   572 1/3 of 50 Acres
340   138 Coal 1/3 of 1/8 of 41 Ac Mud River
340   204 Coal 1/3 of 1/8 of 41 Ac Mud River
382   491 Min 1/20 of 1/3 of 4/9 of 48 A Big Laurel
382   517 Min 1/20 of 1/3 of 4/9 of 5 Ac Big Laurel
382   567 Min 1/20 of 1/3 of 4/9 of 35 A Big Laurel
382   593 Min 1/20 of 1/3 of 3/25 of 72 Big Laurel
382   627 Min 1/20 of 1/3 of 1/5 of 72 A Big Laurel
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            Min 1/9 of 35 Acres Mud RV NRA 10002056
331   540   2003 Min 1/9 of 35 Acres Mud Rv 2004-05
335   493   Min 1/9 of 35 Acres Mud Rv
            Min 1/3 of 2/3 of 35 Acres Mud Rv NRA
            10002056 2003 Min 1/3 of 2/3 of 35 Acres
331   553   Mud Rv 2004-05
360   117   Min 1/3 of 1/9 of 41 Ac Mud River
322   186   MIN 1/9 of 150 Acres Sand Fork Maul FK
322   325   MIN 1/4 of 39 Acres Sugartree
331   413   Min 17 1/8 Acre Big Laurel
332   306   Min 1/2 of 96 1/2 Acrse Mud River
397   405   Min 24 Acres, Maul Fk
340   129   Min Coal 1/9 of 45 Acres Fez Ck
329   451   Min. 160 AC., Sand Creek
376   755   Min 1/6 of 58 Acres Laurel Fork
329   416   Min Coal 1/2 of 107.50 AC Sugartree
            Min 1/2 of 1/2 of 1/4 of 1/3 of 100 Ac
331   608   Sugartreet (01-80
349   359   Min 1/4 of 53 Acres Mud River
            MIN 1/7 of 50 Acres Sand FK C Map 01-122,
322   367   01-124
369   450   Min 1/2 of 1/8 of 70 Acres Sycamore
335   399   Min 1/12 of 60 Acres Sand Fork
            Min 1/12 of 1/2 of 69.50 Acres John Ck (Coal
359   463   Map 01-76)

335   413 Min 1/12 of 3/8 of 130 Acres Suycamore Fk
          Min 1/12 of 3/8 of 70 Acres Sycamore Fk
360   130 2007-08
          MIN 1/6 OF 1/4 OF 1/5 OF 111.50 ACRES
355   153 MAUL FK
340   156 Coal 1/8 of 1/5 of 111.50 AC Maul Fork

340   147 Coal 1/8 of 1/4 of 1/5 of 111.50 AC Maul Fork
340   174 Coal 1/4 of 42.50 Acres Big Laurel
340   192 Min Coal 1/4 of 42.50 Ac Big Laurel
          Min Ex O & G 34 Acres Sand Fk Coal Map 01-
385   697 77
322   478 Min 1/4 of 5/7 of 119 Acres Dry Ck
341   566 Min 1/3 of 4 1/2 Ac Sycamore Ck
341   551 Min 1/3 of 4 1/2 Ac Sycamore Ck
332   357 Min 2/3 of 17 3/4 Acres Mud River
          Min 1/3 of 1/7 of 65 Acres Sugartree Coal
335   561 Map 01-103
349   586 Min 4 3/8 Acres Mud River
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           Min 1/3 of 1/4 of 46 Acres Sugartree Coal
408     58 Map 01-79
           Min 1/2 of 1/2 of 1/4 of 1/3 of 50 acres
332      1 Sugartree 01-81

341     98 Min Coal 40 Ac Big Laurel Coal Map 01-17
341     89 Coal 6/10 of 40 AC Big Laurel
341     80 Min Coal 1/10 of 40 Ac Big Laurel
           Min Coal 1/8 of 1/5 of 111.50 Ac Maul Fk
341     71 Coal Map 01-26
           Min Coal 1/2 of 1/4 of 50 Ac Maul Fk Coal
341     62 Map 01-15
341     53 Min Coal 9 Ac Big Laurel
341     44 Min Coal 2/3 of 53 Ac Mud River
382    137 Fee 21 Acres, Trace Fork Coal Map 01-08
335    388 Min 128 1/2 Acres, Coal River
340    183 Coal 1/2 of 20 Acres, Fuquaes
369    410 Min. 1/2 of 20 Acres, Fuquayes
332    144 Min 1/8 of 63 Acres Fuquayes
348     92 Min 1/2 57 Acres Toms Cr.
322    233 MIN 1/2 of 57 Acres Toms Creek
374    702 Min 1/4 of 294 30/100 Ac Sias 2 A Well
335    377 Min 25 Acres, Island Ck

349    551 Min 49 Acres, Fuquayes Ck Coal Map 1-52

402    566 Min 1/2 of 1/12 of 1/2 of 150 Cobbs Creek
341     35 Coal 12 1/2 Acres
633    829 Crawley Pt Tr 2 (4.90 Ac)
           FEE: 10 ACRE TRACT 1 CRAWLEY CREEK H. T.
607    169 BUTCHER TRACT
630    944 Coal: 152.3 Ac Big Creek
           Min: 369.7 Ac North Fk Big Cr (Ex O&G & 1/2
642    990 Int Alma Seams)
630    990 Coal: 158 Ac Big Cr
635   1085 Min: 25 Ac Trace Fk Mill Cr (Ex O&G)
638    655 Min: 13-1/3 Ac Kanawha Br Big Cr
           Coal(Mined Out) 9.6 Ac Whitman Br Guyan
633   1045 River Alma Seam
607    273 MIN: 38. 7/8 AC ROCKY BR GUYAN RIVER
635   1065 Coal: 109 Ac Limestone Br Guyan River
606   1030 MIN: 52.315 AC BUFFALO CR
635   1075 Coal: 100 Ac Jeffrey Fk Big Cr
606   1098 0.20 % INT COAL 111.50 AC CRAWLEY

606   1009 100% INT COAL 19AC GARRETTS FK BIG CR
631    838 Min: 343 Ac Logan & Boone Counties
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 642    895 Coal: 718.85 Ac Guyan River
                                              of 120
 606   1181   MIN: 5 AC MILL CK
 633    788   Min: (Ex O&G) 36.75 Ac Trace Fk Big Cr
 606    133   Coal 25Ac North Fk Big Creek
 642    939   Coal: 208.64 Ac North Fk Big Creek
 652    622   Coal: 84 Ac North Fk Big Cr
 642    922   Coal: 47.93 Ac North Fk Big Creek
 652    562   Coal: 167 Ac North Fk Big Cr
 619    496   Cow Creek 48.5 Ac (Fee)
 607      1   COW CREEK C-25 D-48.16 (FEE)
 642    956   Coal: 148 Ac Middle Fk Island Cr

 617   1170   Coal 11.50 Ac Trace of Middle Fk Island Cr
 649    430   Min: 138.82 Ac Cow Cr
 642    905   Lot 3 2.54 Ac Spruce Fork Min
 612    785   Fee 35.82 Acs Man (0.3755 % Int)

 633   1086 South Side Guyan River 23.89 Ac (Fee) 1/3 Int
            Fee Southside Guyan River 23.89 Ac
 631    447 (0.469633% Int)

 633    923   Fee Southside Guyan River 23.89 (0.00061%)
 619    354   Pt Warren Perry Tract Taplin 3.872
 598    560   Buffalo Creek 16.565 Ac M/L (Fee)
 612    676   Fee: 208.37 Ac Buffalo Creek .38%Int
 604      1   Min 3.3 A Huff Cr
              480.70 Ac Pgh Coal (Mined Barren Faulty
1010    791   inact & Res)
1084    593   67.48 Ac Sew Coal
1010    797   158.90 Ac Pgh C (Active or Developed)
              4632.57 Ac Pgh C (mined Barren Faulty Inact
1010    803   & Residue)
              94.314 acres Sewickley Coal and Lot 40 x 100,
1050    700   Cleveland Ave.
1050    846   (1/2 Int) 25 Ac Freeport Coal
              (1/8 Int) 72 Ac Coal & (50% In Of 1/8)O&G
1034    816   Exc PGH) Sapps Run
1050    841   20.52 Sew Coal W Fork River
              All Coal (Exc Kittanning) 37.25 Ac Rt 250
1010    761   Valley R
1010    755   50.5 Ac Coal Valley R (Exc Kitt Coal)
1130    661   (1/4 Int) 5 Ac West Fork River
1010    765   (½ Int Coal) (1/4 Int O&G) 2 Ac Valley R.
1033    745   ½ Int 25 ACS Coal
              Tract "B" Seven (7) Parcels 614.89 acres
1050    835   Redstone Coal
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1024    194 (223/1200 Int) 1200 Ac Sew Coal Buffalo Cr
1022    332 9.59 Ac Pgh & Sew Coal L. Laurel Run
1050    779 (1/4 Int) 105 Ac Sew Coal L Bingamon

1050    681 (25/1200 Int) 1200 Ac Sew Coal Buffalo Cr
            11009.25 Ac Mined Barren Fault Inactive &
1010    823 Residue
1050    615 Sandrock vein, Camp Run
1010    771 98.25 Ac Map Coal Dunkard Mill Run
1022    329 34.81 Ac Sew Coal Mill Fall
1034    807 85.04 Acres, Sewickley Coal, Helens Run
1050    852 70 Ac Dunkard Mill Run Sew Coal
1141    601 37.25 Ac Sew Coal Grays Run
1050    631 18.41 acres Coal L. Bingamon Creek
1050    619 (1/4 Int) 105 Ac Sew Coal L Bingamon
1050    858 9.06 acres Sewickley Coal and Tipple,
1050    864 37.6 Ac Sandstone Coal Dunkard Mill Rn
            80.75 acres Sandstone Coal, Dunkard Mill
1050    870 Run,

1050    817 39.66 acres Sewickley Coal Dunkard Mill Run

1024    206   (310/1200 Int) 1200 Ac Sew Coal Buffalo Cr
1050    814   (1/2 Int) 99.07 Ac Mapletown Coal
1024    197   90.25 Ac Sew Coal Dunkard Mill Run
1024    185   70 Ac Sew Coal Dunkard Mill Run
1034    762   97.3 Acres Sewickley Coal Plum Run

1034    774 62.07 Acres Sewickley Coal, Dunkard Mill Run
1034    833 (1/8 Int) 38.46 Ac Sew Coal Mods Run

1034    843   (1/4 Int) 195.93 Ac Coal (Exc Pgh) Plum Run
1084    476   7 Ac Coal East Run Buffalo Cr
1050    627   29.21 Ac (4 Trs) Buffalo Cr Coal
1050    709   57 acres Coal, Mods Run
1050    706   125.75 Ac Sew Coal Mods Run
1050    678   54.36 Ac Map Coal Rock Lick Run

1083   1052 7.32 Ac (TR 1) Warriors Fork (Plat 973-914)
1050    657 48 acres Sewickley Coal, Flaggy Meadow
1050    696 34.6 acres, Sewickley Coal, Salt Lick
1050    774 (1/2 Int) 108 Ac Mapletown Coal
            (P/O 1/4 Int) 23.34 Ac (50% In Of 1/4 Int)
1050    769 O&G & Map Coal

1050    693 42.5 acres, Sewickely Coal, Campbells Run
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                                               of 120
        604 45 Acres Sewickley Coal, L. Bingamon
1050    608 (1/7 Int) 182.2 Ac Sew Coal Mohans Run
1050    741 18.3 acres Sewickley Coal, Bingamon
            0.12 Ac O&G Coal-Bed Methane Coal & Other
1083   1019 Mins Rymer (Under 12-49-23)
            17.03 Ac O&G Coal-Bed Methane Coal &
1084    559 Other Mns Rymer (Under 12-49-30)
1024    209 124.5 Ac Sew Coal Mohans Run
1219   1044 90 Ac Sew Coal Big Run
1219    802 9.5 Ac All C Exc Pgh L Bingamon
1219    808 (1/3 Int) 99 Ac Map Coal Whetstone
1219    814 9 Ac Sew Coal
1219    881 24.62 Ac Sew Coal Big Run
1219    887 39 Ac Map Coal Buffalo Cr
1219    893 46 Ac All C Exc Pgh L Dents Run
1219    899 12 Ac Sew Coal Pyles Fork
1219    905 20.25 Ac Sew Coal Bingamon
1024    212 102.49 Ac Sew Coal Bartholimew
1050    752 153.45 acres Sewickley Coal (2 Tracts)
1050    684 (1/2 Int) 45.7 Ac Sew Coal
1063    573 (1/2 Int) 35 Ac Sew Coal Campbells Run

1034    851 (1/10 Int) 176.75 Ac Sew Coal Bartholimew

1034    856 (1/10 Int) 176.75 Ac Sew Coal Bartholimew
1033    724 52.5 AC ½ Sew Coal Bartholimew
            (4/10 Int) 42 AC & 29.5 AC Map Coal Buffalo
1033    710 Cr

1033    717 (1/10 INT) 173.18 AC Sew Coal Dents Run
            An Undivided One-tenth (1/10) Interest in
            and to 173.18 Acres Sewickley Coal, Dents
1034    865 Run

              An Undivided One-tenth (1/10) Interest in
1034    869   and to 71.45 Acres Sewickley Coal, Pyles Fork
1034    873   (1/2 Int) 95.24 Ac Map C Quaker Fk
1034    877   (1/2 Int) 60.88 Ac Map Coal
              50 Ac Mapletown Coal & 1/16 of Oil & ½ Gas
1033    731   Roy That May Be Developed
1050    764   22 Ac Map Coal Buffalo Cr
1022    355   (1/2 Int) 25.5 Ac Sew Coal
              39.75 Ac Sew Coal Warriors Fork NRA# 12
1022    335   50000331 Min/Roy

1022    340 34.5 Ac Map Coal Pyles Fork (Exc Sew Coal)
1022    345 79.5 Ac Map Coal Crabapple Run
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1022   350   154.43 Ac Map Coal
                                                of 120
1022   360   (1/2 Int) 15 Ac Sew Coal Buffalo Cr
1022   380   (1/2 Int) 72 Ac Sew Coal Dents Run
1022   365   (1/2 Int) 97.25 Ac Sew Coal Bartholimew

1050   738 1.07 Ac Coal & (50% Int) O&G Owen Davy
1050   635 (1/2 Int) 60.0 Ac Sew Coal Whetstone
1050   749 (1/2 Int) 60 Ac Sew Coal Whetstone
           5 Ac Map Coal & (50% Int Of 1/4 Int O&G)
1050   759 Campbells Run
1207   565 44 Ac Coal O&G Pyles Fork (1/4 Int)

1050   649 78 acres Coal (Exc. Pgh & Sew) Dents Run

1050   653   42 acres Coal (Exc. Pgh & Sew) Dents Run
1050   642   29.75 acres Sewickley Coal, Brush Run
1084   546   6 Ac Sew Coal Pyles Fork Cr
1083   991   (1/2 Int) 35 Ac Sew Coal Campbells Run
1050   735   47.5 acres Mapletown (Sew) Coal
             (1/5 Int) 60 Ac All Coal Exc PGH & (50% Int Of
1033   763   1/5 Int) In O&G
             (1/5 Int) 60 Ac All Coal Exg PGH & (50% Int Of
1034   776   1/5 Int) O&G
1050   731   182.6 Ac Sew Coal Mohans Run (1/7 Int)
1050   638   140.3 Ac Sew Coal Brush Run
             17.78 Ac (Calc) B Paw Paw (Exc Plat of LS
1083   950   Perkins Sub)
             167.85 Ac Pgh Coal (Mined Barren Faulty
1022   415   Inact & Residue
1050   724   15.1 Ac Min B Paw Paw (2 Pcls Sew Coal)
1024   188   96.5 Ac Sew Coal B Paw Paw
1022   412   11 Ac Sew Coal B Paw Paw
1022   388   5 Ac Sew Coal B Paw Paw
1022   406   10 Ac Sew Coal B Paw Paw
1022   409   8.97 Ac Sew Coal B Paw Paw
1022   391   6 Ac Sew Coal B Paw Paw
1022   394   41 Ac Sew Coal B Paw Paw
1022   397   9.3 Ac Sew Coal B Paw Paw
1022   400   60 Ac Sew Coal B Paw Paw
             30.86 Ac Sew Coal B Paw Paw NRA # 16
1034   810   20192421/24/25
1022   403   9.5 Ac Sew Coal B Paw Paw
1050   793   11.22 Ac Laurel Run Map Coal
1050   690   (50% Int) 20 Ac Sew Coal Laurel Run
1050   727   13 Ac Coal Finches Run
1050   671   12.8 Ac Sew Coal
1050   796   (1/2) 33.5 Ac Waynesburg Coal Paw Paw
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1034    804 (Pcl 1) 1566.774 Ac Sew Coal
                                              of 120
1034    779 (Pcl 3) 14.379 Ac Sew Coal
1050    800 (1/2 Und Int) 25 Ac Sew Coal Laurel Run
1050    664 1.75 Ac Coal & (50% Int O&G) Jesse Run

1034    784 (1/2 Int) 45.64 Ac Sew C Laurel Run Sand Coal
1034    789 (1/2 Int) 25 Ac Sew Coal Laurel Run
1034    794 (1/2 Int) 185.5 Ac Sew Coal
1034    799 (2/8 Int) 185.5 Ac Sew Coal B Paw Paw
1010    833 59.55 Ac Min Chunks Run
1050    804 142.49 Ac Sew Coal B Paw Paw
1024    200 8 Ac Waynesburg Coal Big Paw Paw
1050    674 10.59 Ac Coal Big Paw Paw
1060    335 5.7 Ac Min L Paw Paw Sew Coal
1050    831 34 Ac Sand Coal Pharoahs Run (157-119)
            (1/2 Int) 149.06 Ac O&G 10 Ac Sand Coal B
1022    442 Paw Paw
1022    447 28.5 Ac Sew Coal Laurel Run (1/2 Int)

1034    886 (1/42 Int) 105.07 Ac Min & 27 Ac Pgh Coal
1060    903 7 Ac Pl Valley Rd Rem Coal Rights
            1225.81 Ac Pgh C(25 Trs)Mined Faulty Inac
1010    706 Barren & Res

1034    889 Rem C Under 121 Ac Barnam Coal Co Lands
            .858 Ac Coal & O & G Reserved River Hill -
 918    244 Potts
 762    558 56.43 A Coal Sewickley
 698     44 3 Coal J N Hicks & O&G
 403    331 112 Acres 5 Mile Minerals Only
 403    880 74.44 Acres 5 Mile Minerals Only

 415    559 171 Ac 1/10 Mineral Int Clendenin District
 373     64 11.75 Ac Oil, Gas & Mineral Int

 403    373 52 74 Acres Tomlinson Run 1/2 of Min Only
 393    650 40 Acres Back Letart 1/2 Int Coal
 411    846 70 Acres 1/2 Int Minerals Only
 390   1005 32.11 Acres M L Minerals Only
 395    250 135 ACRES MINERALS ONLY
 395    259 35.25 ACRES MINERAL ONLY
 425    782 102 Acres 1/4 In Min Only
 403    391 344 Acres Coal Only
            295.47 Acs Min Below Drainage SS Elkhorn
 585     82 3/8 Int. Less O/G
 530    431 7.955 AC MIN MO FOUR POLE CR
 519    697 1/3 Und Int 30 Fee Panther Crane Cr
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             28.40 Coal Bradshaw All Seams Above
 591   610 Drainage Tr #28
 539   161 30.00 Fee Fish Trap Dry Fork
 318   189 Fee Part of 1.00 Dry Fk at War
 974     1 31.93 AC LICK BR
 936   269 ¼ INT MIN 60 AC NR LITTLESBURG
 931   395 Min 1.43 Ac Lick Br
 974   229 6.28 ACS NR WILLOWTON
 973   770 PT TRACT 6 ADDAIRS RUN (27.8 ACS)
 948   422 Min 97 Ac Bluestone
 931   378 1 AC Godfrey
 936   262 3.85 AC GODFREY
 932     1 Min 10 Crane Ck
1033   486 23.1 Acs Mineral + 20 Acs
 350   784 MR 72.2 IKE WASH PATS CR DRS
           MR 51.5 Ac Nancy Harvey Ld Coal 61-1 Tract
 330    78 19 A
           MR 114 Ac Wiseman Ld/120 Ac/61-1G Tct
 330    70 #19
           MR 19.75 F Nethken Ld Coal19.75 Ac Coal 61-
 330    62 1E Tct #19

 330    54 MR 6.56 Ac F Nethken Ld Coal 61-1C Tct #19
 330    46 MR 29.4 Ac Pierce Ld 29.4 Ac of Coal
 330    38 MR 68.5 Ac Coal 141-2 Tract #13
           MR 16.288 Ac Sutton Survey Item 57 (6)
 342   363 16.288 AC Coal
 330    30 MR 130 Ac 130 Ac Coal Tract #19
 342   377 MR 2 Ac Julia Ross LD /lewis/2 Ac coal
 330    22 MR 150 Ac Sol Smith Land Tract #22

 330     6 MR 24.5 Ac Pierce LD 24.5 Ac Coal Tract #15
           3/8 Interest MR 334.663 Ac (Surf:Elk 15-20,
 350   778 20.1, 21.1, 22 16-20 & 20-9

 310   519 MR's 4 Ac Dunlap Harrison (Surf:Elk 19-7)
           M Rts 31 Ac Lime or Moral/Mor Ct Odr #1-
 330   720 264

             MR'S Except Oil/Gas 1/2 Int 15.25 Ac Abrams
 330    92   Ridge (Oil/Gas:06-9999-2010-0002)
             MR's Except Oil/Gas 1/2 Int 50 Ac Knob Mt
 330    86   (Oil/Gas:06-9999-2010-0003)
 346   226   MR 53 AC 31.80 AC COAL 18-1
             Coal On 242 Ac Hamp 242 Ac @ Nom Fee 14-
 346    16   1 (Other MR:08-9999-2009-
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             MR 67 Ac Chestnut Rdg 34 Ac Coal/33 @ 50
 346   156   16-1 Retained In DB 228 P 45
 346   296   MR 22 AC MILL RUN DRS
 338   639   MR 19 Ac Mill Run DRS
 338   612   MR 12.13 Ac Mill Run DRS
 474    52   .62 A Fee Trace Cr
 474   180   .51 A Fee Trace Frk Pigeon
 418   337   1.50 Ac Fee Road Br
 454   214   3 Ac Fee Den Br
 474   204   449 A Min (Ex O &G) (3 Trs) 12Pole Cr
 450    35   14 A Min Ellis Kirk Br 12 Pole
 424   185   18 A FEE JAMES BR
 474   139   .50 A Fee Jennie's Cr
             67.75 A Min Jennie's Cr (1/2 Intowned By
 436   465   Shirley Chafi
 430   236   25.67 A Min M Bone Cr
 430   229   26. A Min M Bone Cr
 430   242   25 A Min Swell Hickory Gap M Bone CR
 430   222   26 A Min (2 TRS) M Bone Cr
 424   186   29 A MIN JENNIES CR
             80 A Min M Bone Creek (Alum Cove Br & Lick
 424   191   Br) 1/2 Int
 422   636   .50 A Min Jennies Cr
 419   129   8.6 A Min Elk Frk Pigeon
 418   445   .95 A Fee Par 7 Tug River
 489   287   97 A Min Beech Cr (1/4 Int)
 430   202   15 A Min Rt Frk Beech Cr
 430   207   25 A Min Rt Frk Beech Cr
 419   180   8.33 A Min Steep Gut Br
 454   549   1 A Min Guyan River (33.4)
 455     1   125 A Min Guyan River
 455    17   3.22 A Min Guyan River
 394   279   .375 A Fee Ainwick
 422   610   .75 A Fee Alnwick
 481   602   .69 A Min Beech Bottom
 419   181   68.14 A Min Leatherwood Cr

 450     1   32 A Min (O&G Only) Browning Frk Horsepen
 418   395   1.70 A Fee Guyan River
 418   421   .50 A Fee Tug River
 474   150   346.46 A Min (1/4 In Coal Only Buffalo Cr
1391   557   1/2 52 Sew C Miracle Run
1391   564   1/2 47.09 Sew C Miracle Run
1391   574   1/2 85 Ac Sew C
1391   581   1/2 100 Ac Sew
1407   509   1/2 16.06 Sew C Miracle Run
1391   588   1/2 97.75 Sew C Miracle Run
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1407   536   100 Sew C Paw Paw
                                               of 120
1392   203   49.52 Ac Sew C Dunkard Creek
1391   596   35.3 Ac Sew C Dunkard Creek
1391   606   35.26 Ac Sew C Miracle Run
1407   600   17.20 Ac Sew C
1407   620   8/9 Int 30.75 Ac Sew C Dunkard Creek
1391   528   138.65 Ac Sew C
1391   620   1/6 95 Ac Sew C Dunkard Run
1392   127   37.75 Sew C Dunkard Creek
1392   198   95 Sew C Miracle Run
1392   341   72.99 AC Sew C
1433   203   52.5 Ac Sew C
1387   394   37.50 Ac Sew C
1391   549   65 Ac Sew C Dunkard Creek
1389   313   45 Ac All Coal Exc Pgh C Dunkard Creek
1407   560   1/6 of 190.63 Ac Sew C Miracle Run
1409   596   43.25 Ac Coal Simpson Tr
1404   856   87 Ac All Min Exc Pgh C & OG
1391   538   6 Ac Sew C
1392   133   1/5 68.425 Sew C Samuel Everly
1407   476   55.898 Ac Red C
1391   708   67.30 REM Sew C Billingsley
1391   720   69.70 REM Sew C Billingsley
1392   396   1/4 57.8 Red C Wades Run

1392   404 1/4 of 1/2 114. Way C South Tr (unminable)
1391   658 188.50 Ac Redstone Crooked Run
           188.80 Ac Redstone Coal NRA (Permit
1391   669 #EM00000132)
1391   628 1/3 130 Pgh C Mary White Tr
1392   146 102.65 All C Exc Pgh & Sew
1392   369 99.15 AC RS Coal Lazzelle Tr

1391   744   Pt 94.814 Sew C & 110.682 Red C Mined Out
1391   755   70.680 Sew C Robinson Run Mined Out
1392   384   65. Sew C mostly mined out
1392   389   47.9 Sew C mostly mined out
1392   646   128.94 Red C $100 Woco #228
1392   647   52.527 Red C
1389   349   65.264 Red C Robinson Run
1392   642   52.527 Red C Robinson Run
1414   231   10.92 Way C Wades Run
1392   138   80 Ac Way C Scotts Run
1391   731   135.75 Ac Sew & Red Coal
1392   654   30. Ac Rem Coal S C Lazzelle Tr
1405    40   49.475 Pgh C J Sanders Tr
1444   761   61.7 Sew C Var Trs Mined Out
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1389   397 17.01 Pgh C Josiah Garlow
                                             of 120
1391   700   105.054 Red C
1392   223   2 PARCELS 3.50 AC & 3.8 AC WAY C
1414   564   4/35 Int 41.70 Sew C Henderson Tr
1407   492   3/5 Int 47.231 Way C Core Tr

1390   473 1/3 Int 58.192 Pgh C Morris Tr All Mined Out
           1/3 Int 67.78 Pgh C & Sew C Morris Tr Mined
1390   477 Out
1414   150 2/10 Int 115. Sew C Guston Run
1414   685 44.882 Ac Red C
1392   350 69.70 Coal Less Pgh & Sew
1391   648 57.786 All Coal Lazzelle Tr Mined Out
1414   461 70.086 Strippable Pgh C Mined Out
1391   680 1/2 14.4 Deep Pgh C Mined Out

1391   689   188.50 Red C & Fre C (Permit S-1002-90) NRA
1392   354   43.95 Red C & Fre C unmineable
1414   653   54.0731 Pgh C Crafts Run Mined Out
1414   621   18.48 All C Exc Pgh & Sew & Red C
1414   589   86 Sew Robinson Run Mined Out
1407   645   100 Sew C Crooked Run Mined Out
1414   198   27. Way C Brewer Tr
             50.00% Int In 7.57 Red C O&G & .65 O&G
1382   310   Scotts Run
1390   481   1/10 Int 29.25 Sew C Ramp Hollow
1390   487   1/5 Int 29.25 Sew C Ramp Hollow
1414   262   88 AC Red C Lazzelle Tr
1408   184   50.841 Red C
1392   359   16.25 AC Red C mined out
1405    57   65/100 Int 116.31 Ac Red C
1409   572   35/100 Int 116.31 Ac Red C.
1485   608   1/5 Undiv Int 74.08 Way C & Rem Min
1485   595   1/5 Undiv Int 74.08 Way C & Rem Min
1518   146   1/5 Undiv Int 74.08 Way C & Rem Min
1392   364   22.01 Red C P Lazzelle
1389   328   17.01 Ac Pg C Mined Out
1412   704   25.618 Ac Way C (16-2)
1392   627   1/2 31.78 WC Dolls Run
1393   551   1/2 31.78 WC Dolls Run
1414   535   1/3 45. All C Exc Pgh Miracle Run
1414   507   1/3 25.24 Sew C Days Run
1389   412   1/4 89.04 Sew C Big Indian Creek
1392   634   3/5 88.70 Sew C Coopers Run
1390   498   1/8 60. Sew C Days Run
1392   164   96.42 Sew C Big Indian Creek
1392   173   1/5 177 Sew C Pedlar Run
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1432   594 2/9 119 Sew C Big Indian Creek
                                             of 120
1392   612   58.71 Sew C Days Run
1390   483   1/3 212 Way C Dolls Run
1404   791   1/3 121. Way C Dolls Run
1392   608   67.12 Sew C Days Run
1407   777   70 Ac Sew C Paw Paw
1392   604   45. Sew C Robinson Run
             2/9 119. Ac Sew C Big Indian Creek
1433   133   (Unminable)
1392   208   48.75 Sew C Big Indian Creek
1389   601   42.42 Sew C Jakes Run
1392   168   1/6 96 Ac Sew C
1404   812   45.49 Sew C Big Indian Creek
1392   213   8/42 255.25 Sew C Jakes Run
1392   233   1/6 21. AC SEW C
1390   529   6.25 Sew C Days Run
1392   600   1/5 Int 172.14 Ac Sew C Big Indian Creek
1392   622   1/2 104.48 Sew C
1392   617   8/42 255.25 Sew C Jakes Run
1389   586   22. Sew C Jakes Run
1389   427   20.4 Ac Sew C Days Run
1408   151   56.41 Sew C Jakes Run
1408   220   1/2 Int 7. Ac Coal Booths Cr (Geo Price)
1433     1   16.38 All Coal Brains Run (Mined Out)
1432   686   35.444 Ac All Coal (Mined Out)
             128. Ac Coal (61 Ac U Fre Only & 67 Ac All
1408   734   Coal) Monongahela River

1392   418   83.965 Ac Fre C Beverly Pike (Unmineable)
1457   226   1/2 INT 154.50 COAL (UNMINABLE
1408   566   27.125 Ac KTG C BOOTHS CREEK
1390   503   37/245 of 10/32 88.5 Ac Coal
1412   680   3/7 79.75 All Coal Fields Creek

1404   879 1/6 of 1/2 Int 350 Fre C & L K & All Other Min
1392   423 51.50 Ac All Coal Gwyn
1408    93 59.05 KTG C John Howell Tr
           46.50 Fre C Virgil Vandervort 25.40 Ac Fre C
1407   796 M L Devault
           2/3 102.25 Fre C (67.485) A J Garlow 51. Fre
1408     1 C J M Hess
1408    21 61. Fre C Chas Morgan
1408    41 100 Ac KTG C Cobun Creek
1408   748 1/2 85. Ac KTG C
1392   178 38.23 Ac All Coal Rezen Brown
1404   826 1/4 476.55 Ac KTG C (Unmineable)
1404   841 1/4 476.55 Ac KTG C (Unmineable)
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1392   412 1/4 476.55 Ac KTG C (Unminable)
                                           of 120
1392   243 1/4 476.55 Ac KTG C (Unminable)
1414   414 78.88 Ac Coal Susan Dolton Tract

1414   366   172.45 Ac Coal Luther & John Dolton Tract
1391   878   1/3 57.04 Ac Sew C Tr/W (Mined Out)
1392   248   1/2 INT 39.45 AC WAY COAL (M17P78)
1388   489   99.0897 Ac Way Coal
             32.47 Ac WB CL Henry Kerns Patriot (NRA
1389   635   #S00009483)
1457   205   25.7848 Ac Coal Ec Pitt & Sew
1389   505   1/2 53.75 Ac WC Big Indian Creek
1392    19   1/4 19.35 Ac Sew C Stewarts Run
1412   758   41.87 AC Way C (mined out)
1392   429   11.30 AC Way C & Freeport Coal
1392   438   8.4519 AC Way Coal
1392   447   49.52 AC Way Coal
1389   456   55.587 Sew C Garrett Conn Tr
1405     1   75. Ac Fre C Flaggy Meadow Run
1391   863   20.04 Ac Pgh C Mined Out
1391   867   23.341 Ac Sew C In Operation

1392    25 1/3 Int 55.587 Ac Sew C 1/2 Garrett Conn Tr

1392    29   1/3 Int 55.587 Ac Sew C 1/2 Garrett Conn Tr
1392    33   40.30 Ac Pgh C Mined Out
1396   301   30.37 Ac Sew C Stewarts Run
1392   589   16.05 Ac Sew C Stewarts Run
1392   583   9.665 Ac Sew C Stewarts Run
1390   519   6/35 185.094 Ac Sew C Eugenius Snider
1408   604   110.71 ACS WAY C
1391   891   24.805 Ac Sew C C L Lough
1391   873   15.7 Ac Sew C Undev $20
1392   183   13.009 Ac Sew C Pt J N Michael
1392   188   10.50 Ac Sew C Little Indian Creek
1396   315   32.75 Ac Sew C Stewarts Run
1392     1   1/2 Int 64.22 Acs Sew C Stewarts Run
1392     5   1/2 Int 34.64 Acs Sew C Stewarts Run
1392    10   1/2 Int 25 Sew C Big Ind Cr
1391   886   34.16 Ac Sew C Snider Run
1392    14   1/4 19.33 Ac Sew C Stewarts Run
1392   578   10. Ac Sew C Stewarts Run
1391   896   272.355 Ac Sew C Rem Undev
1389   475   59.2 Ac Sew C Big Indian Creek
1392   595   19.4 Ac Coal Stewart Run
1390   573   62.24 Ac Sew C
1390   534   22.388 Ac Sew C Big Indian Creek
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1390   539 31.125 Ac Sew C Big Indian Creek
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1390   544   135.418 Ac Sew C Big Indian Creek
1390   549   45. Ac Sew C Little Indian Creek
1389   489   50.00% Int In 7.58 Ac Rem Min
1607   206   63.972 Ac Pgh C
1390   554   104.0036 Ac Sew C (Mined Out)
1408   381   93.04 Ac Way C Scotts Run
             1/3 Of Und 1/25 Int In 44 Ac Coal, Oil & Gas
1485   622   (M11-118 & M12-31)
1389   547   31.50 Ac Coal West Run
1392   334   12.50 Ac COAL PLUMMER-R GAMBLE
1408   713   202.50 Ac KTG Coal COBUN CREEK
1392   573   66.32 Ac Fre & Ktg Coal
             69.95 Ac Fre C By Survey 63.65 Mined Out
1432   664   1/1/47
1476   331   5.59 Ac Fre coal & 1/2 Int Oil & Gas
1414   318   1.128 All Min
             1/3 Int .02 Ac Sur 30 Ft Unnam Roadways &
1485   642   5.999 Min
1392   569   139.36 Pgh Var Tr-135. Mined Out Barren
1391   849   30 Fre C Forks of Cheat
1392   565   48.50 Coal West Run
1391   844   1/3 45.70 PGH C Mined Out
1607   220   62.04 Coal D M Higgenbottom Lease
1607   213   101.19 W L Jaco Coal
             102 Ac Upper Fre C & All Others Veins Below
1391   833   Pgh C
1408   498   10.10 Pgh C Stewartstown

1408   527   19.48 Pgh C Pierpoint 19. Pgh C Mined Out
1391   839   1/3 45.70 PGH C T J Colebank Mined Out
1391   828   14 Pgh C (Stumps & Ribs)
 522   333   1/4 of 1/4 Int 10 Min Keenan Branch
 469   614   1/4 Int Lots 14-19 Inc Min Brushy Fk

 751   239   91 76/100A Coal Ex Pitts View #8 Natl Road
 751   158   82A Coal N Valley Grove
 783   635   40.002 Ac Surface Coal
 784   331   2 Acres + or – B&H Road
 794   222   37A Coal Only
 751   165   282A S F S Creek Coal Only Ex PGH Vein
 792   424   Coal Lts Pts 1-2-3-4-5
 750   685   410.00 Ac Mined Out Coa
 792   448   4-1/4 Acres Coal Near Triadelphia
 794   239   146 Acres Porters Farm Mined Out Coal
 862   430   Rock Point PGH Coal 3A
 792   436   30 512 Natl Rd Coal Only
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            43 Acres PGH #8 Vien Coal only & 2.5 Acres
768   680 Porters Farm

280   583   4.72M Middle Island Pike Lot 1 (New Survey)
326    33   Old Field Fork Elk 50 Ac
331   405   Brown Mtn Minerals 12 Ac
676   211   Min 2 Ac (Less O-G) Pt Old Farm Bishop
            Fee 40 (3/8 Int) Big Sandy- Rinard CID 2 Par
694   450   90
754   322   Coal (1/15 Int) 214.75 Big Sandy CID 1-43
            Coal & Min (¼ Int) 93 28/160 B Sandy CID 2-
689   332   83
702   543   Coal 57.50 B Sandy CID 2-117
695   498   Coal 23 7/8 Big Sandy Cid 2-93
675   940   Coal 52 Glade Farms CID 2-43
            Coal 504.83 Non Bear (9/160) Laurel Run-
784   324   Miller CID 3-16
            Coal 504.83 Non Bear (9/160) Laurel Run-
783   120   Miller CID 3-16
            Coal 504.83 Non Bear (3/160) Laurel Run-
793   835   Miller CID 3-16
            Coal 504.83 Non Bear (9/320) Laurel Run-
686   328   Miller CID 3-16
            Coal 504.83 Non Bear (9/160) Laurel Run-
766    74   Miller CID 3-16
            Coal 504.83 (9/160) Laurel Run-Miller CID 3-
766   232   16

783   121   Coal 244 (9/160) B Sandy - Miller CID 3-16
784   433   Coal 244 (9/160) B Sandy-Miller CID 3-16
686   334   Coal 244 (9/320)B Sandy-Miller CID 3-16
766   113   Coal 244 (9/160)B Sandy-Miller CID 3-16
766   264   Coal 244 (9/160)B Sandy-Miller CID 3-16
681   709   Coal 244 (3/160) B Sandy-Miller CID 3-16

783   193 Coal 80 (9/160) Laurel Run - Miller CID 3-16

784   543 Coal 80 (9/160) Laurel Run Miller CID 3-16

686   340 Coal 80 (9/320) Laurel Run-Miller CID 3-16

766   152 Coal 80 (9/160) Laurel Run Miller CID 3-16

766   296   Coal 80 (9/160) Laurel Run Miller CID 3-16
784   648   Coal 315 (9/160) L Sandy-Miller CID 3-16
783   265   Coal 315 (9/160) Sandy-Miller CID 3-16
793   845   Coal 315 (3/160)L Sandy-Miller CID 3-16
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686
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      346 Coal 315 (9/320) L Sandy Miller CID 3-16
766   191 Coal 315 (9/160)L Sandy-Miller CID 3-16
766   328 Coal 315 (9/160)L Sandy-Miller CID 3-16
754   271 Coal 170 Big Sandy-J Mitchell CID 2-101
755   111 Coal 72 Little Sandy-Moyers CID 2-91
754   169 Coal 26 Glade Farms-Niner CID 2-81
          Coal 153 Cheat Hill - Pickenpaugh-barren CID
754   220 3-57
          Coal (Approx 1/4) 183.25 G Farms-A
755   729 Robinson CID 2-40
          Coal (1/2 Int) 280 Sandy Creek W Robinson -
754   118 Barren

805   349 Coal U-F (1/2 Int) 93.50 Laurl Run CID 3-24
683   994 Coal 250.10 Nr Brandonville CID 2-103
          Coal (Less CMB) 98 (3/4 Int) Hazel Run-
729   146 Harvey CID 1-23
          Coal 33 1/3 (3/4 Int) Hazel Run- Harvey CID 1-
729   146 23

695     1 Coal 108 (3/4 Int) Laurel Run-Harvey CID 3-21

695   131 Coal (3/8 Int) 60 Big Sandy-Rinard CID 2-85

672   172 Coal 275 (¾ Int) C A Harshbarger Tr CID 2-105
672   186 Coal 212.51 (¾ Int) Big Sandy CID 2-98
700   218 Coal 34 7/160 Adj Frazee CID 2-60

702   361 COAL 127 RESERVATION BARNES TR CID 1-16
700   196 Coal 32 (1/2 Int) Hazel run CID 1-20
687    39 Min 3.585 (2/3 Int) Laurel Run

755   360 Coal 108.50 Glade Farms-0 Mitchell CID 2-35
700   150 Coal 32 Hazel Run (1/2 Int) CID 1-20

682   564 UF Coal 521.89 Ac (W-O) Nr Pisgah CID 3-33
701   969 Coal (1/4 of 1/2) 125 Big Sandy CID 2-82
          Coal 99 1/2 Laurel Run(1/2Int) Coal 67 3/4
695   683 Big Sandy (1/2Int)
679   185 Coal 4 Pringle Run CID 2-128
682   576 Crop 291.05 John B Graham CID 1-9
682   586 Crop 96.27 L J Bradshaw CID 1-9
682   596 Crop 100.00 L A Hartman CID 1-9
682   606 Cro-Fault 121.29 S A Pratt CID 1-9
682   616 Cro-Fault 89.55 C A Dorsey CID 1-9
682   626 Fault 66.06 C F Wotring CID 1-9
682   636 Fault 25.00 Lyda Utt CID 1-9
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682   646 Fault 413.55 W G Brown CID 1-9
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682   656   Fault 93.06 W L Shaw CID 1-9
682   666   Fault 116.43 Jas Flynn CID 1-9
682   676   Fault 40.38 Mary Weining CID 1-9
682   699   Fault 130.82 A W Snyder CID 1-9
682   709   Fault 44.52 Jane Metzler CID 1-9
682   719   Cro-Fault 90.90 W H Casteel CID1-9
682   989   Coal 81.84 Robt A Menefee CID 1-9
679   119   Fault 143.04 W M Garner CID 1-9
683     1   Cro-Fault 124.88 Calvin Lyons CID 1-9
683    11   Fault-Crop 181 J M Elliott CID 1-9
683    21   Cro-Fault 552.00 M F Pell CID 1-9
683    31   Fault 124.59 Thom D Bower CID 1-9
683    41   Cro-Fault-Coal 152.79 Jacob Bower
683    51   Fault 23.125 Matilda Forman CID 1-9
683    61   Fault-Coal 18.17 W H Chidester CID 1-9

683    71 Cro-Fault-Coal 100.00 J W Ridenour CID 1-9

683    81 Fault-Coal 48.15 Phoebe E Ridenour CID 1-9

679   109 Fault-Coal 54.04 Rebecca E Ridenour CID 1-9

683    91   Cro-Fault-Coal 39.26 Mary Albright CID 1-9
683   101   89.69 John S White-Crop-Fault CID 1-9
683   111   Coal 68.60 Jacob F White CID 1-9
729   146   Coal W-O 120 & 94 FT Vein-Hartman
            Coal (Less CBM) 75 76/100 (1/4 Int) Mary A
729   146   Core Tr
683   121   Coal 42.50 (10.50 U-F) Jesse Johnson Tr
683   133   Min 16 26/160 (.50 U F Coal) Freeland Tr
683   148   Min 8.28 Thomas Fortney Tr
683   158   Min 283.73 (210.15 UF Coal)
683   168   Min 91 (11 U-F Coal) Bucklew & Fields Tr

682   118 Min 102 (Less Coal-Bakers 2) Noah Gross Tr
682   128 Min 6.10 Thomas Fortney Tr
682   138 Coal 1023 Birds Cr CID 2-4
804   327 Coal (1/5 Int) 488.4 Fault & Non-Bear
804   346 Coal (1/5 Int) 488.4 Fault & Non-Bear
729   146 Coal (2/15 INT)488.4 Fault & Non Bear
729   146 Coal (1/5 INT) 488.4 FAULT & NON BEAR
          Coal 488.4 (1/15 INT) Fault & Non Break-
729   146 Herring
729   146 Coal (2/15 INT) 57.5 Morgan Run

744   779 COAL-BAKERS UNDER W-O 29.24 Greens Run
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744   793 COAL 10 GREENS RUN
                                             of 120
744   682 Coal 45 W-O Nr M&K Pike CID 2-75
702   439 Coal 74 PT WO-Irona
744   695 COAL 9.31 THREE FORK
682   148 Min 60.38 Murdock Tr
681   927 Min 18.61 Murdock Tr
681   933 Coal 105.50 Ison Irons Tr Heather Run
782   266 Coal 188.92 (Worked Out) CID 2-5
679   179 Strippings Rts (½ Int) 22.11 J L Greaser Tr
702   303 Coal 127.42 Morgan Run
702   332 Coal 54.80 W-O
676   522 Min Lot Riverdale
          Coal W-O & Fault 1310.14 Tunnelton CID 1-
681   953 34
681   963 Coal-Fault 1905.76 Tunnelton CID 1-34

681   973   Coal 74.38 Below Upper Free-Irona CID 2-8
681   983   Coal 53.38 Barren-Free-Irona CID 1-34
682     1   Coal 19.38 Mined Out-Irona CID 1-34
682    11   Coal .62 Upper Free-Irona CID 1-34

682    21 Coal-W-O 17 Upper F-Irona-Myers CID 1-34
679   167 Coal 2 Three Fork Stone CID 1-34

682    31 Coal W-O 3.45 Borgman Tr-McCabe CID 1-34
682    41 Coal 1 Roy Smith Tr CID 1-34
679   161 Coal ½ Three Fork-Goff CID 1-34

682    51 Coal-U-Free 1.64 K & T Pike-Myers CID1-34
          Coal (Austin Vein) 1 Three Fork-Ellison CID 1-
679   155 34
682    61 Coal 5 NR Tunnelton-Wright CID 1-34

679   149 Coal (Austin Vein) 1 Ernest Burke Tr CID 1-34
676   104 Coal & Min Rts 4 A Lick Run
702   325 Coal 20 W O Eastern Coal
          Coal 10.572 Exc Small Top Seam Wolfe Tract-
700   833 Swartz
702   483 Coal 30.6 Bakers cook Run

719   203 Coal 107.08 W O Fault-B S Miller Tr CID 2-114
695   141 Coal 78 Nr Morgan Run
719   209 Coal 2 1/2 & .56 Out Crop-Morgan Run
          Min (Exc O-G) 61.97 (½ Int) Irona Lynch Tr CID
675   977 P/O1-27

675   983 Coal-Mined Out 8.4 H M Hayden Tr CID 1-27
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675   989 Coal-Mined Out 200 J P Garlitz Tr CID 1-27
679   125 U-Free Coal 5.36 M & K Ellifritz C/D 1-51

679   103   Coal U-Free Mined Out 2 M & K Pike CID 1-27
683   444   Coal 212 Worley Tr-Industrial CID 1-27
675   995   Coal 62 R & B Pike CID 2-18
679    97   Coal 4 Craig Tr-Morgan Run CID 1-27
676   415   Coal 42 W-O Morgan
679    91   Coal 2 Morgan Run
            Bak Coal & Seams Below 204.67 & 15 Coal
676   524   Cheat Hill
674   669   Min 44.52 (½ Int) Nr Tunn Halbritter
            Min Exc Free Coal 136 (½ Int) (Less O-G) Kitt-
674   677   Howesville
            Min-Exc Free Coal 136 (1/2 Int) (Less O-G-
760   443   CBM) Kitt-Howesville
744   696   Min 3 (1/2 Int) K&T Pike
687   119   Min (Less O G ) 12.5 (1/6 Int) Three Fork
682    78   Coal 43.68 Greens Run
676   188   Min 3 Lots Nr M & K Stn
796   647   1A Min Birds Cr
729   146   Bakers Coal 26.87 W V N Shops
683   386   Coal (2/3 Int) 80 East End
683   400   Coal 82.50 East Kingwood
            Min 1.83 & ½ A Coal- (Less O-G) Kinwood-
676   190   Feltz
683   414   Coal 4 2/5 West Kingwood-Feltz
681   699   Coal 73.51 Fault-Bethlehem-Shay
729   146   Coal (2/5 INT) 68.35 UN ORR TR
681   851   Coal 7 Ices Ferry-Dunn
681   840   Coal 25 C Martin Tr-Dunn
804   503   Coal 24.66 (1/2 Int) J Brown CID 1-53
804   527   Coal 56 Shahan-Bucy Tr CID 1-50
729   146   Coal-Bakers 107 120/160 Birds Cr
686   629   Min 4 (1/6 Int) Raccoon Cr
686   644   Min 4.50 (1/6 Int) Sandy Cr
686   669   Min 1.36 (1/6 Int ) Sandy Cr
686   671   Min 40.1 (1/6 Int) Maple Run
686   719   Min 52.65 (1/6 Int) Maple Run
686   721   Min 23 36/160 (1/6 Int ) Maple Run
686   746   Min 29 104/160 (1/6 Int) Maple Run
686   795   Min 62.3 (1/6 Int ) Maple Run
732   930   COAL BAKERS 4 COOKS RUN
689   785   Coal-Bakers W-O 92 Barber Bailey-Stone

729   146 Coal Bakers 10 PT W-O Three Fork CID 1-07
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729   146 Coal 7 Racc Cr
                                             of 120
760   783 Coal 15 (1/12 Int) C Martin Tr CID 1-112
          Coal (Exc Bak & Above) 52.13 A Braines Run
719   230 CID 1-40
686   863 Min 5(1/2 Int) Birds Cr
          Min 31.18 (1/2 Int) (Less O-G) Racc Cr CID 1-
674   693 42
804   695 Coal 80 (1/2 Int) Martin- Fisher CID 1-59
          Min 3 & 24.3 & 29.4 (1/2 Int) (Less O-G) Racc
674   701 Cr-Nethkin

804   719 Coal 77 (1/2 Int) Martins Run Kay CID 1-40
          Coal 117 & 10 (1/2 Int) Three Fork - Gilbert
804   743 CID 1-89
804   767 Coal 314 Jacob Weaver Tr CID 1-64
804   791 Coal 31.1 (1/2 Int) Three Fork CID 1-42
804   815 Coal 143.13 Martin Tr CID 1-60
804   839 Coal 56.15 (1/2 Int) Brewer Tr CID 1-61
804   863 Coal 49 3/4 Three Fork CID 1-41
804   887 Coal 67.78 H J K Bolyard Tr CID 1-62
804   911 Coal 34.6 (1/2 Int)Martins Run CID 1-63
          Min 31.18 (Less O-G-CBM) (1/2 Int) Racc Cr
760   431 CID 1-42
804   551 Coal 80 (1/2 Int) Martin Fisher CID 1-59
          Min 3 & 24.3 & 29.4 (1/2 Int) (Less O-G-CBM)
760   455 Racc Cr-Neithkin

804   575 Coal 77 (1/2 Int) Martins Run- Kay CID 1-40

804   599 Coal 117 & 10 (1/2 Int) Three Fork-Gilbert
804   623 Coal 31.1 (1/2 Int) Three Fork
804   647 Coal 56.15 (1/2 Int) Brewer Tr CID 1-61
804   671 Coal 34.6 (1/2 Int) Martins Run CID 1-63
695   154 Coal (1/2 Int) 50 Sandy Cr CID 3-8
729   146 Coal (169/200 INT) 225 L Sandy CID 1-17
687   177 Coal under 185.2 Conner Hill CID 2-9
687    79 Coal 6 A Cheat Hill
          Coal (1/2 Crop)(Less CBM) 326 (1/12 Int)
729   146 Morgan Glade CID 1-30
729   146 Coal (1/4 INT) 40 Morgan Glade CID 1-17

683   436 Coal Barren 118.866 Sugar Valley CID 1-36
682   546 Coal 233.75 (½ Int Beaver Cr)
          Coal (Less 196.50 AM STN Seam) 700 Little
675   916 Sandy CID 1-64
          Coal (Less 196.50 AM STN Seam) 700 Little
675   904 Sandy CID 1-64
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683   524 Crop 851 Little Sandy CID 120
                                             of 120
679   137 Coal 40 (½ Int) Little Sandy CID 1-20
675   910 Coal 111 (½ Int) L Sandy CID 3
          Coal Non Bear Fault 1227 (9/160 Int) Big
783   218 Sandy 1-43
          Coal Non Bear Fault 1227 (3/160 Int) Big
689   803 Sandy 1-43

686   316 Coal Non Bear Fault 1227 Big Sandy CID 1-43
          Coal Non Bear Fault 1227 (9/320 Int) Big
805   339 Sandy 1-43
          Coal Non Bear Fault 1227 (9/160 Int) Big
782   347 Sandy 1-43
          Coal Non Bear Fault 1227 (9/160 Int) Big
765   628 Sandy 1-43
          Coal Non Bear Fault 1227 (9/160 Int) Big
765   706 Sandy 1-43
782   419 Coal 727 Big Sandy (9/160 Int) CID 1-43
793   825 Coal 727 Big Sandy (3/160 Int) CID 1-43
689   795 Coal 727 Big Sandy (3/160 Int) CID 1-43
784   219 Coal 727 Big Sandy (9/160 Int) CID 1-43
686   322 Coal 727 Big Sandy (9/320 Int) CID 1-43
807   821 Coal 727 Big Sandy (9/320 Int) CID 1-43
765   667 Coal 727 Big Sandy (9/160 Int) CID 1-43
765   738 Coal 727 Big Sandy (9/160 Int) CID 1-43
729   146 Coal (1/4 INT) 40 Morgan Glade CID 2-59
695   558 Coal 41 Little Sandy
729   146 Coal (1/4 INT) 40 Morgan Glade CID 1-17
          Coal (25/112 INT) 40 CROP 103 MORGAN
729   146 GLADE
          3 Ft Vein Coal & Mining Rts 74 78/160 Crab
677   750 Orchard CID P/O 2-66
          Coal 187 (B26), 100 (B24), 31 (B25), 54 (B6)
683   340 Big Sandy
687    87 Coal 46 Conner Run CID 2-19
          Coal Double vein (Approx 30) L Sandy (1/2
700   911 Int) West Hill CID 2-71
          Coal Double Vein (1/2 Int) (Approx 30) Little
701   943 Sandy West

684   458 Coal 40.7 Tr 7-Tichnell Wilson CID P/O 2-35

684   474 Coal W-O 67 Tr 7 Titchenll Wilson CID 2-35
684   490 Coal 50 Tr 9 Struble Tract CID 2-35

684   506 Coal 25.87 Tr 10 Irene Feather Tr CID 2-35
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            Coal-Non-Bear 23.96 Tr 11-G A Ringer Tr CID
684   538 2-35
          Coal-Non-Bear 31.20 Tr 14 Peter Titchenell Tr
684   524 CID 2-35
684   554 Coal 19 Tr 20 -JC Feather Tr CID 2-35
          Coal WO Fault 74.988 Tr 20 JC Feather Tr CID
684   570 2-35
684   586 Coal 10.8 Tr 30-1 E Feather CID 2-35

684   602   Coal W-O 14.95 Tr 30- I E Feather CID 2-35
684   618   Coal 5.57 Tr 32-S F Crane CID 2-35
684   634   Coal W-O 7.68 Tr 32-S F Crane CID 2-35
684   650   Coal 4.2 Tr 33- W C Titchenell CID 2-35
684   666   Coal W-O 5.8 Tr 33 W C Titchenell

684   682 Coal W-O 67.4 Tr 34 Joel Titchenell CID 2-35
687   179 Coal W-O 52.19 Tr 35 J D Miller CID 2-35
684   698 Coal 20 D O Titchenell CID 2-35

684   714 Coal Mined Out 48.55 D O Titchenell CID 2-35
684   220 Coal 8.12 Albright Graham CID 2-35
684   442 Coal 80 Beech Run Albright CID 2-33
          Coal (1/4 Int) 40 Crop 103 Morgan Glade CID
755   298 2-56
          COAL 50 & 117 (3/4 Int) Sandy Cr Cheat
694   450 Rinard CID 1-29
          Coal (Less CBM) 48 (3/4 Int) Little Sandy CID 1-
729   146 74
694   849 Coal 45 (3/4 Int) Cheat Hill CID 2-28

694   916 Coal 90 (3/4 Int) Cheat Hill- Swartz CID 2-80
          Coal (Less CBM) 173 (3/4 Int) Sandy Cr CID 1-
729   146 14

694   982   Coal 33 (3/4 Int) Conner Run-Swartz CID 2-81
694   782   40.50 (3/4 Int) CID 1-59
694   450   Coal 92 (3/4 Int) J A Lambert CID 2-17
694   450   UF Coal 130 (3/4 Int) Cheat Hill CID 2-23

694   450 Coal 102 (3/4 Int) Parker Run Harvey CID 1-48

683   950 UF Coal 22 Ac Muddy Cr Goodwin CID 2-60
684   236 UF Coal 36.36 Glade Run H G Jenkins
          UF Coal 121.95 (Less Coal 15A C W-O) Little
674   635 Sandy GG Jenkins
684   244 UF Coal 54.53 Glade Run CID 2-50
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683   958 UF Coal Mined Out 4.72 Valley Pt CID 1-80
719   607 Coal (1/2 Int) 13.11 Muddy Cr CID 2-68
684   228 Coal 69 Muddy Cr- Halbritter CID 2-64
          Coal U-F 21.18 Tr 11-G A Ringer Old F CID 2-
681   773 40
          Coal Mined Out 58.82 Tr 11-GA Ringer CID 2-
681   763 40
          Coal – UF Mined Out 53.17 Tr 13 D O Feather
681   753 – Old F CID 2-40
700   138 Coal (1/6 Int) 415 1/2 Sovern Run
          Coal W-O Fault 286 Muddy Cr (Less CBM) CID
765   770 1-44

755   328 Coal 237.26 (3/5 Int) WS Harned-Cheat Hill

765   811 (1/4 Int) Coal Under 108 Little Sandy CID 1-16

702   532   Coal 24 (1/2 Int) Sandy Cr TA Dev CID 1-71
683   514   Coal 233.75 (½ Int) Beaver Cr
675   925   Crop 851 (½ Int) L Sandy CID 1-20
679   131   Coal 40 (1/2 Int) L Sandy CID 1-20
            Coal W-O Fault 65(1/2 Int) Sovern Run CID 1-
675   934   79
            Coal 237.26 (1/5 Int) WS Harned Cheat Hill
718    51   CID 20-2
            Coal 54 (1/5 Int) (Less Free-Port & Big Joe)
718    75   Deep Hollow CID 2-47
            Coal Stripped 167.59 (1/5 Int) (Less Freeport
718    99   & Big Joe)
            Min 188 (1/2 Int) (Less O-G) & Coal 2
677   752   Webster Run (Fur,Fin,Feather)
683   358   Coal 5 Beech Run (M21A)
683   372   Coal .25 Muddy Cr
719   690   Coal-Fault 36.11 Hartmen Tr
700   382   Coal W-O 97.28 Hill House Tr
700   421   Coal W-O 148.36 Hartmen Tr
700   342   Coal 110.935 Fault CID 2-45
729   146   (29/80 INT) Coal 40 Morgan Glade
            Coal (1/2 Crop) (Less CBM) 326 (7/60
729   146   Int)Morgan Glade

729   146 (39/112 Int) Coal 50 Crop 175 Morgan Glade
765   872 Coal 225 (1/32 Int) Little Sandy

729   146 (1/16 Int) Coal 50 Crop 175 Morgan Glade
765   933 Coal 107 (1/4 Int) Little Sandy
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            ½ Int in Coal & Deep Mining Rts Under
685   959   159.974 Muddy Cr
701   956   Coal 24 (1/2 Int) Sandy Cr TA Dev
683   966   UF Coal 12 Ac Glade Run
687   202   UF Coal 20 Ac Beech Run
719   264   Min 2.80 A Morgan Run CID 2 Par 58
826   104   Min 1 3/4 A Muddy Cr
            Min (Less O-G) (3/5 Int) 135 Big Sandy-Harvey
694   450   CID 1-70
765     1   Coal 31.75 (1/3 Int) Laurel Run
684    27   Coal (½ Int) 10 Albert Snyder Jr
684    45   Coal ( ½ Int) 108.39 Childs Tr CID 1-48
734   797   COAL (1/2 INT) 80 TEETS TR CID 1-51
684    59   Coal ( ½ Int) 80 Teets Tr CID 1-51

734   797   COAL (1/2 INT) 113.59 MILLER - CRANE TR
684    78   Coal ( ½ Int) 113.59 Miller-Crane Tr
717   744   Coal (1/2 Int) 40 McClain Tr CID 1-42
684    92   Coal (½ Int) 40 McClain Tr CID 1-42
684   106   Coal (½ Int) 60 J. A. Lenhart

674   653 Coal Bakers W-O 111.2 J Elliot Tr CID 1-34
729   146 Coal 40.75 Whetsell Set CID 3-1

686    36 Min (½ Int) 93 137/160 Snowy Creek Cid 2-75

700   264 Coal-Fault 42.316 Wesley Welch Tr CID 1-41

700   303 Coal W O 68.619 Wesley Welch Tr CID 1-41
672   749 Min 94 (Less O-G) Briery Mtn CID 3-40
689    78 Min (2/5 Int) 40 Cheat Hill CID 2-45
          COAL (LESS 112 BAKERS) 150 ELLIOTT TR CID
734   797 1-52
684   120 Coal 4 Russell Wilson Tr
684    13 Coal 12.350 Irene Feather Tr
684   134 Coal 4.361 & Coal 10 Crab Orchard Dixon
684   148 Coal (½ Int) 12.10 Tw Elliott Tr
684   162 Coal (½ Int) 225.875 C B Bishop Tr
684   176 Coal 1 3/8 & 100 Snowy Cr
684   190 Coal (½ Int) 370 Crane Lakin Tr
          Coal (½ Int) 19.50 Pine Swamp Miller CID 1-
674   723 64
676    37 Coal 23 Pine Swamp Wilson CID 1-63
690   756 Min (1/3 Int) 111.05 Freeland Church
686   292 Min 4.75 Freeland Church

686   294 Min (2/3 Int) 15.09 Freeland Church CID 2-67
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            Coal 40.785 & 119.50 Whetsell Sett. Bakers
702     9 (9/10 Int)

683   496 Coal 157 (9/10 Int) Leroy Garner Tr-CID 2-34
683   502 Coal 108.625 (9/10 Int) Young Tr CID 2-34
695   537 Coal 61.875 GM Bishop Tr CID 2-34

675   898 Coal 263.1 SP Whetsell Tr (9/10 Int) CID 2-34

681   807 Coal 60 Cassill & Felton Tr (9/10 Int) ICD 2-34
683   508 Coal 120.5 (9/10 Int) Calvert CID 2-34

681   801 Coal 25 Missoure Hiscox (9/10 Int) CID 2-34

681   795 Coal 13.875 H W Bucklew (9/10 Int) CID 2-34

681   789 Coal 57 (9/10 Int) Scott Felton Tr-CID 2/34

681   783   Coal Bakers (2 Trs) 73 Whetsell Sett (9/10 Int)
695   522   Coal W O 110 Tr 27 JC Feather
808   472   Min 1/7 Int (2Trs) 61 60/160 Aurora
700   993   Coal (1/4 of 1/2) 224 Laurel Run CID 3-30
733     1   MIN UNDER 9350 SQ FT LOT 2 RUTHBELL
672   204   Min 50 Less O-G Roaring Cr CID 1-50
683   428   Min 50 Corinth Snowy Cr CID 3-32
695   546   Coal 31.75 Lease Laurel Run CID 3-25
764   716   Min 15 (1/7 Int) Briery Mtn
765    60   Min 15 (1/7 Int) Briery Mtn
705    85   Min 15 (3/7 Int) Briery Mtn
764   755   Min 90 (1/7 Int) S P Everly Tr CID 2-49
765   131   Min 90 (1/7 Int) S P Everly Tr CID 2-49
705    94   MIN 90 1/7 INT S P EVERLY TR CID 2-49
764   794   Min 11 15/16 (1/7 Int) Spruce Run
765   202   Min 11 15/16 (1/7 Int) Spruce Run
705   103   MIN 11 15/16 1/7 INT SPRUCE RUN
764   833   Min 25 (1/7 Int) Bald Knob CID 3-37
765   273   Min 25 (1/7 Int) Bald Knob CID 3-37
705   112   MIN 25 1/7 INT BALD KNOB CID 3-37

764   872 Min (2 Trs) 39 (1/7 Int) NR Rodamer CID 3-37

765   344 Min (2 Trs) 39 (1/7 Int) NR Rodamer CID 3-37
          MIN (2 TRS) 39 1/7 INT NR RODAMER CID 3-
705   113 37
764   911 Min 83.2 (1/7 Int) Rodamer CID 3-37
765   415 Min 83.2 (1/7 Int) Rodamer CID 3-37
705   130 MIN 83.2 1/7 INT RODAMER CID 3-37
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765   486 Min (1/14 Int) 16 1/2 Spruce Run
                                            of 120
764   950 Min (1/14 Int) 16 1/2 Spruce Run
749   758 Coal 55.93 (1/3 of 1/2 INT O-G) Lick Run
796   850 Coal 55.93 (1/3 of 1/2 Int O-G) Lick Run

700   976 Coal (1/4 of 1/4) 214 rinard-White CID 1-61

686   365   Min (1/24 Int) (6 Trs) 214 Buffalo Hill CID 4-18
809   484   Min (1/24 Int) 50 Buffalo Cr
689   865   Min 17 (2/9 Int) Buffalo Hill
738   327   Coal 6 A Nr Tunnelton
            Min (1/10 Int) 126-100-100-50-40-38 1/2
689   849   Buffalo Cr
689   811   Min (1/15 Int) 35 Buffalo Cr
729   146   Coal (Less CBM) 19 Sandy Cr CID 3-12
729   146   Coal W O (Less CBM) 34 CID 1-17
            Coal (U-F) (1/2 Int) W-O 172 Tun Co-op CID 2-
700   868   10
            Coal (Upper Free W-O 172) (1/2 Int) Tun Co-
700   172   Op CID 2/10
738   120   Coal (U-F) W-O 160 Tun Co-Op CID 2-10
700   194   Caol (U-F) W-O 160 Tunn Co-Op CID 2-10
738   120   Coal (U-F) (1/2 Int) 10 Sandy Creek
686   359   Min (1/16 Int) 126 Buffalo Hill
 73   540   Min 2.50 Sandy Cr
732   188   MIN (1/16 INT) 126 BUFFALO HIL
687    58   Coal 93 1/2 Blazer Fee Exc CID 2-42
672   640   Min 20 A (Less O-G) on Bottom Island
            Min 27.685 (Less O-G) W Side McVicker
672   196   Home Tr

676    25   Min (1/8 Int) Less O-G 249 Salt Lick CID 1-4
686    13   Min (3/20 Int) 45 Aurora CID 2-18
686   238   Min 15 (1/3 int) Kensinger Run
686   250   Min (½ Int) 58 Salt Lick CID 1-38
681   825   Coal & Min Rts Split Six Seam Laurel Run
676    96   Min 15 (1/3 Int) Kensinger Run
676   407   Min (½ Int) 131 3/8 Salt Lick
717    54   Min 75 Salt Lick
686   817   Min (1/6 Int)105 Salt Lick CID 1-11
686   196   Min & OG (½ Int) 40 White
            Min 188.23 (1/20 Int) Salt Lick CID 1-35 (Bk
719   238   Tax 2006 & 07 Regular)
686   875   Min 188.23 (1/20 Int) Salt Lake
686   873   Min 83.8 (1/15 Int) Wolfe Cr
686   807   Min 83.8 (1/15 Int) Wolfe Cr
686   226   Min 83.8 (3/10 Int) Wolfe Cr.
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            Coal U-Free 12.21 Twyford-Worked CID P/O 2-
679    85 48

679    79 Coal-U-Free 189.61 W-O non Work CID 2-70
679    73 Coal-U-Free 23.6 Twyford-Non-Work
676   421 Coal 8 J Johnson Tr CID 2-82

674   747 Min 68 (9.56 U-F) Mary Hawley Tr CID 2-88
674   741 Min 23.53 C E Keefover Tr CID 2-83
674   753 Coal O-G & Min 23 Mary A. Hawley Tr
          Min 38.50 (28.78 U-Free) S P & J S Hawley
674   759 CID 2-87
          Coal (Less 4 Ft Vein) 22.19 M Fortney Tr CID 2-
676   427 77
          Coal (Less 4ft Vein) 5.81 M Fortney Tr CID 2-
676   433 78

676   439 Coal (Less 4Ft Vein) 4.31 J Fortney Tr CID 2-80
674   765 Min 9 130/160 A J Fortney Tr CID 2-81
674   765 Min 9.50 J S Dunn Tr CID 2-79
674   823 Min 6.18 J S Dunn Tr CID 2-76
          Min (Less 4 Ft Vein) 158.63 T Fortney Tr CID 2-
674   775 85

674   781 Min (Less 4 Ft Vein) 53.81 E Fortney CID 2-74
          Min (Less 4 Ft Vein) 179.23 (126.49) U-Free
674   787 CID 2-73

683   454 Min (Less 4 Ft Vein) 43.92 Fortney Tr CID 2-75
          Coal above U-F (1/2 Int) 220 Cheat Hill CID
700   131 1/17
          Coal (Less 4Ft Vein) 169.50 (84.50 U-Free
676   445 Squires Tr
674   793 Min 14.22 C E Keefover Tr
674   799 Min (Less 4 Ft Vein) 158.20 F B Fairfax Tr
685   981 Coal 33.65 K & T Pike Margua C/D 2-46
729   146 Coal 67.15 W W Groves Tr CID 1-21
729   146 Coal 36 Fields Cr CID 2-66
702   454 Coal (1/2 Int) 70 Dolan Tr Cid 2-93
          Min (Less O-G-CBM) 150.75 (1/3 Int) Back
760   810 Run CID 1-7
          Coal 1164.5 (Non Commer.) Three Fork CID 2-
682    88 68

719   225 Coal 43.9 (1/2 Int O-G) Fields Creek CID 2-105
702   405 Coal (L Free) (1/4 Int) 52.87 Kanes Cr.
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755   162 Coal 527.98 (1/18 Int) Deckers Cr CID 2-55
682    98 Coal Mined Out 46.5 Upper F-Watson

682   108 Coal Mined Out 173.3 Upper F-McKinney
681   906 Coal Mined Out 49.3 Upper F-Taylor
681   866 Coal Mined Out 37.7 Upper F-1 Welton
681   889 Coal Mined Out 22.14 Back Run-Michael
687   135 Coal 116 Logan Glade
679   143 Coal 2.25 & 15 U F Preston C & C
681   879 Coal 29.52 Zone 1 CID 2-36
683   464 Coal Fault 370.380 Zone 1 CID 1-19
674   805 Coal Mined Out 859.493 Zone 3 CID 2-10
676   451 Coal-Crop 1903.281 Zone 3 CID 2-14
689   727 Coal 3 Kanes Cr
717   698 Coal W-O 4.57 Deckers Cr
729   146 Coal L Free (3/8 INT) 52.87 Kanes Creek
          Coal Min & Mining Rts Under ½ A Bethelem
683   474 School Lot
          U-F Coal 62.953, 175.9, 42.359 & 82.205
672   188 Zone 3 Shay Boyle
674   623 U-F Coal 20.31 Barren W-O Murray

687   127 U-F Coal 42 (4 Trs) & 157.36 (4 Trs) Murray
          Coal 12.31 (Below Masontown Vein) Three
676   457 Fork
681   858 U F Coal 902.89 AC-Murray
674   643 U F Coal 38 A & 71 Ac – Muarry Tr
687   146 UF Coal 6.75 Glade Run-Rogers
683   484 Coal 252.73 Ac Brown Tr
687   154 UF Coal 38.53 Ac Murray

            Min 4.06&Coal (Less Elk Lick)10 (Less Sur
676   463   Mining Rts under 2.1740) & 15 Deckers Creek
681   689   Coal 137.574 Mined Out N W Division
578   742   1.285 Ac
471   951   32 Ac Coal
            Int in 1/2 Int 32 Ac Coal, 34 1/2 Ac Coal & 32
471   943   Ac Coal
472   393   Int 34.50 Ac Coal J W Smith LD
472   401   2.5 Ac Ohio 18 Mile Crk
497     1   1/2 of 83 AC min Honey Cut
504   930   Min 75 Ac 18 Mile Crk & 13 Mile Crk
469   837   Min 47 Ac Criner Ld
580   145   1/2 of 81 Ac Min Cross Crk
489   759   19.17 Acres Minerals
577   130   1/11 of 122 Ac Min Turkey Crk
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506    92 1/6 of 1/2 of 20 Ac Min Trace Crk
                                            of 120
            Min Under Lots 202 Thru & In-Cluding Lots
480   667   209 Hurricane Hts
523   670   1/3 of 25 Ac Sumner Land
506   123   1/2 of 6 Ac Min Clymers Crk
506   154   1/2 of 22 Ac Min Reserved
469   751   ½ int Min 40 Ac Cert #126
469   728   1/2 int Min 35.50 Ac
469   728   1/2 int Min 35.50 Ac
506   178   Min 3.83 Ac Coon Crk
506   226   1/24 of 48 Ac Min T R Mccallister
506   250   1/24 of 47 Ac Min Thomas Adkins
497    53   1/5 Of 38.5 AC MIN NR Hurricane
469   822   Min 87 Ac Clymers Crk
502   217   5AC Lick Crk
504   975   1/2 of 10 Ac Lick Crk
497    19   1/2 Of 65.75 AC MIN Sams Fork
489   775   Min 30 Ac Trace Fork
489   799   Min 81.50 Ac Chapman Land
506   298   4.22 Ac Min Browns Crk
506   369   4.992 Ac Min Browns Crk
489   823   1/2 of 124.50 Ac Min Mud Lick
            1/4 Int 20 Ac & 40 Ac Min Mac-Wood LD, 1/2
541   232   of 97.80 Ac Min G
505     1   50/100 Ac Min Laywell Crk
505   237   1/5 of 36.50 Ac
505   257   2/5 of 62.50 Ac Sycamore Crk
506   431   Min 11 Ac Reserved
504   772   Int in Min 15 Ac Browns Crk
489   836   1/4 of 167 Ac Min
489   850   1/4 of 100 Ac Min
489   864   1/4 of 115 Ac Min
497   116   1/2 of 28 Ac Min
482   687   1/3 of 110 Ac Min & 10 Ac Min
497   146   Min 25 AC
497   131   Min 45 AC
504   796   1/2 of Min 22.50 Ac Browns Crk
482   681   Min 47.50 AC May Land
549   445   Min 78 Ac
505   767   1/6 of 19.95 Ac Min Bridge Crk
            Minerals Only Nr Hurricane Par 1 (51.35) Par
505   743   2 (2.43)1
505   717   Min 1/2 of 42.62 Ac Big Hurrican Crk
480   683   10/20 Coal 360 Ac Poca River
471   965   ½ of 40.97 Ac Coal CC Harmon L D
487   493   1/2 of 25.75 Ac Coal W D Harmon LD
471   957   1/2 Int Coal Min 49 Ac J Lande
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471   973 1/2 int Coal Min 49 Ac J Lande
                                             of 120
480   659   Min 66.47 AC Poca Hills
469   694   Min 162 Ac E F & Maggie Harmon
497    68   1/2 of 73 AC
505   671   2/96 Int in 145 Ac LHF
505   929   2/96 Int in 145 Ac LHF
505   905   2/96 Int In 145 AC LHF
505   646   2/96 Int in 145 Ac LHF
505   977   2/96 Int in 117 Ac LHF
505   443   2/96 Int in 117 Ac LHF
505   953   2/96 Int in 117 Ac LHF
504   875   2/96 Int in 117 Ac LHF
506     1   1/3 of 1/3 Int in Min 229 Ac Res
482   695   Min 69.6 AC David Land
487   679   1/4 of 5.25 Ac LHF
469   883   Min 56.25 Ac LHF
489   878   3.9244 Ac Min
580   488   2.8134 Ac Min
505   404   Mineral in 50 Acre

497    83   642-1/16/2400 Int Min 850.67 Ac Scary Crk
507   277   Min 4 Ac Valley Land
497   193   MIN 0.601 AC Hedrick Rd
497   163   MIN 2.19 AC Hedrick Rd
497   223   1/2 of 75 AC MIN Valley & Hills
489   893   1/4 Min Reserved 4.9 Ac & 24 Ac
479   604   ½ of 21 Ac Min Little Scary
531   973   1/2 of Min 31 Ac Erskine LD
497   270   MIN 21.60 AC Rocky Step
497   253   2/3 of 22.50 AC Min Reserved
497   288   1/3 of 208 AC Min Reserved
497   305   2/3 of 178.68 Min Reserved
505   791   Min 11.47 Ac Bills Crk
469   891   Min 5.07 Ac Bills Creek
479   623   Min Reserved Lot 1 Sec 1 Coon Crk Subd
479   613   Min Reserved Lot 2 Sec 1 Coon Crk Subd
505   313   1/2 of 24 Ac Min Meddings Land
515   193   1/7 OF 118 AC BIG SCARY
555   254   Min Lot 6 (.52 Ac) Hurricane Crk

505   811   Min 15/16 of 111.50 Ac, 15.50 Ac & 84.50 Ac
480   675   Min 3.3 Ac Bills Crk
471   983   Min Reserved on 19.43 Ac River & Hills
487   693   1/2 of 15 Ac Reserved
505   277   2/3 of 20 1/3 Ac Min NR Scott
489   923   20.33 Ac Min Reserved
487   543   2.75 AC Min & 1.12 AC Min Res
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 531    946 28.33 Ac Min Poplar Fork
                                             of 120
 504    458   1.17 Acres
 504    653   1/2 of 1/5 Und Int Min 60 Ac & 18 Ac
 497    322   50 Ac Min Sugar Camp
 531    913   Min Tract 1-A (10 Ac) Cedar View Farm
              Min Tract 5 (3 Ac), Tract 6, Tract 3 (2.5 Ac),
 532      1   Tracts 13 &
 578    771   Min 1.409 Ac Rt 35
 504    534   2/3 of 1/2 of 80 Ac Min Valley LD
 505    850   1/6 Int Min 80 Ac
 504    820   2/3 of 1/2 of 90 Ac Min Big Hurricane
 505    349   1/6 Int Min 90 Ac
 504    617   Min in 9.64 Ac
 481    337   Min 4.27 Ac Reserved
 479    596   Min Lots 5, 6 & 7 (26 Ac) Kennedy L D
 504    590   All Coal, Oil, Gas & Min 6.53 Ac
 506    573   1/12 Int Min 84.75 Ac
 504    429   Mineral Int in 8.99 Ac
 532     60   1/3 of 30 Ac 18 Mile Crk
 505    575   1/2 Int of 1/6 of 306 Ac Min
 505    610   1/2 Int of 1/6 of 306 Ac Min
 505    539   1/2 128.65 Ac Coal Joseph Wagner
 505    503   1/2 45 Ac Coal J D Rutan
 506    679   1/2 64.75 Ac Coal E A Rutan
 505    467   1/2 25.25 Ac Coal C C Harmon
 506    537   1/2 112.75 Ac Coal F H Harmon
 502    181   Min 1.263 Acres
 502    194   Min 1.3 Acre Red House
 502    281   Min .05 & Min 1.17 A Red House
 488     59   1/2 Of 45 Ac 18 Mile Crk
 555    190   1 Ac Eighteen Mile Cr
 506    743   1/8 of 114.50 Ac S W Fisher Land
 479    664   ½ of 6 & 43 Sq Poles Min Shank Land
 506    814   1/2 of 11.50 Ac Min Shank Land
 506    340   Min 113.75 Ac Pleasant Rd
 532    161   25 Ac Min Miller Land
 506    894   Min 121 1/8 Ac 18 Mile Crk
 489    937   5.33 Ac Min
5043   6915   Min 0.33 A Beckley
5043   6915   Min Lt 252 Mid-City Add
5043   6915   Min 0.71 A Beckley
5043   6915   Mineral 0.23 No Kanawha St
              O & G Lots 18-19 & Pt Lot 14 Honaker
5043   6915   Bottom

5043   6915 O&G Lot 9 & Pt Lots 7 & 8 Honaker Bottom
5046   7692 Coal 71.35 Ac Richmond Dist
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5043   6915 Min 2 Ac Piney
                                             of 120
5043   6915 Min 3.33 Ac Piney & Fat Cks
5040    477 Min 5.982 Acs 4-H Rd
5042   2041 Min (Ex O&G) 80.17 Ac Glade Creek
            Coal 124 11/32 Ac (1/4 of 1/6 Und Int) Wts
5064    277 Winding Gulf

5043   6915 Min Ex Poca No 3 & No 4 Seam Piney (1/5 Int)
5049   2427 Coal 179.8 Ac Sandbranch SID 1-37
            Min 154 Ac Breckenridge 300001 50000166,
            00020009, 18181392, 20101487 (1/12 Und
5057   8263 Int)
            Min Less O & G 35 1/4 Ac 1/2 Und Int (Map
 570    119 124-93)
            Coal & Coalbed Methane 150 Ac 1/4 Und Int
 570     92 Dodson Run (Map 124-34)
            Coal & Coalbed Methane 770 Ac 1/5 Und Int
 570    136 (Map 118-2.1

 551    713 9 AC 1/6 INT E RICH MTN #2 (MAP 103-2.1)
 570    170 9 Ac 1/6 Int Rich Mtn #2 (Map 103-2.1)
            Coal & Coalbed Methane 100 Ac 1/2 Und Int
 570    153 Becks Run (Map 109-8)
            Min Less O & G 63.54 Ac Saffel Land (Map
 570    255 125-32)
 570    275 Min Less O & G 135 1/2 Ac (Map 105-36)
 570    285 Min Less O & G 23 Ac (Map 105-18)

 570    295 Min Less O & G 60 Ac Leading Ck (Map 106-3)

 559     21 Min Less O & G 53 Ac 1/3 Und I (Map 141-13)

 515    437 Min Less O & G 5.76 Ac Lot 3 (Map 157-17.2)

 515    437 Min Less O & G 5.3 Ac Lot 2 (Map 157-17.3)
            Min Less O & G 218 Ac 2/9 Und Int (Map 113-
 569    817 28)
            Min Less O & G 218 Ac 1/18 Und Int (Map
 570      1 113-28)
 570    721 Min. 1 Ac (Map 113-41.5)
 589    479 Coal 70 Ac X-1 (Map 105-16.1)
 589    497 Coal 60 Ac X-3 (Map 105-16.2)
            Min Less O & G 93 Ac 1/2 Int Cheat Mtn (Map
 570     58 133-3) 1330030000
            Min Less O & G 33 Ac Files Ck Currence (map
 570     28 117-10)
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            Min Less O & G 50 Ac Files Ck Currence (Map
570    38 117-10)
570    48 Min Less O & G 102.3 Ac (Map 122-16)
307    84 6/45 OGM 117 Ac N F H R
326   954 1/2 OGM 2.76 Ac NFHR
307   230 1/2 OGM 48 & 31361.5 SQ FT Big Run
307   218 OGM 3 A 143PO Big Run
307   146 OGM 4.197 AC NFHR
345   424 1/3420 OGM 46 Ac Goose Creek
355   515 1/4 OGM #3 Ac Harrisville
345   452 81 Sq Rds .50 Ac Fee 1.3888%
307   186 1/7 OGM 6.87 AC Bear Run
307   166 1/7 OGM 6.87 AC Bear Run
307   176 1/7 OGM 6.87 AC Bear Run
307   208 1/7 OGM 6.87 AC Bear Run
307   196 1/7 OGM 6.87 AC Bear Run
307   156 1/7 OGM 6.87 AC Bear Run
355   664 1/140 OGM 18 1/2 Ac Den Run
355   728 1/140 OGM 69 1/4 Ac
355   889 1/140 OGM 62 1/4 Ac
356     1 1/22 OGM 107.8 PO East Harrisville
522   563 5 OG M Reedy
475   221 20 OG HURRICANE
481   543 88A 11/144 OG SANDY
532   325 29A 1/24 Min Sandy
533     1 1/2 32 Fee Wolf Camp
452   419 .25 Fee Green Creek
475   268 6A OG POCA
471   223 2 OG Straight Creek
445   382 45 A 7/48 min M Reedy
506   662 12 1/8 Min Reedy
445   403 12 1/4 Min Reedy
445   410 12 1/24 Min Reedy
516   307 21 All Min Rush Run
516   307 63 All Min Rush Run
481   592 135 SQ RDS OG POCA
460   339 3/5 Int 67 Fee Spring Creek
464   170 45 1/21 OG Spring Creek
534   287 1/6 Int 12.43 Fee Lefthand
224   259 Cert #204 Tract #1 14 Acres Min Laurel Ck
          Cert #556 Tract #11 17 Acres 146 P
224   267 “Minerals” Laurel Creek Cert No#45629

224   179 1 Ac (Mins) Laurel Creek Cert No #450583
261   453 66.5 Acres New River Hills
          27 Ac 120 P (Mins) Lick Creek Cert No
224   173 #450527
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224   187 27 Acres 120 Poles Lick Creek
                                            of 120
224   363 13Acs 84 P (Mins) N.r> Hills Cerf#450443

224   373 2 Acs 40 Poles (Mins) N.R. Hills Cert#450447
224   368 5 Acs (Mins) N.R. Hills Cert #450446
227    34 54 Acres Stone Lick Branch
          Cert #438 10 Acres & 48 Poles New River Hills
224   195 Minerals Cert#45618
          Cert #437 24 Acres & 39 Poles New River Hills
224   203 Minerals Cert# 45619
          Cert #435 15 Acres & 40 Poles New River Hills
224   211 Minerals Cert#45620
          Cert #433 9 Acres & 10 Poles New River Hills
224   219 Minerals Cert#45621
          Cert #436 15 Acres New River Hills Minerals
224   227 Minerals Cert No#45622
          Cert #431 22 Acres & 80 Poles New River Hills
224   235 Minerals
          Cert #432 5 Acres & 40 Poles New River Hills
224   243 Minerals Cert # 45624
227    65 Min 30A N R Hills
          Cert #427 36 Acres & 80 Poles New River Hills
224   251 Minerals Cert#45625
231   439 4 Acres 20 Poles New river Hills
226   486 2.54 Ac – By Survey White Oak Mtn Min
228   681 40 Acres
226   463 9 Acres Beech Run Minerals
241   424 TRACT 6 (6.18 ACRES)
235    53 Tract 10 (5.39 Acers)
241   450 TRACT 17 (6.18 ACRES)
224   275 Cert #572 100 Ac(Mins) Cert No #45633

226   469 88 Ac & 80 Poles Little Bluestone Minerals
          36 A M/L Minerals New River Hills
231   413 Cerf#45645
          46A M/L Minerals New River Hills Certf#
231   426 45644
228   665 50 Acres Mineral Bluestone Mountain

224   378   60 Acres Hungarts Creek Min-Cert No#45611
228   673   77 Acres 80 Poles Big Branch “Min”
224   283   Cert #340 17 Acres (Min) Big Creek
225    96   50 Acres Minerals Greenbrier River
315   140   16.88 Coal (-K) Lost Run

310   198 107.50 COG BC 1/10 of 1/4 Int Under 13/22
305   457 81 C.O.G. U.S. 250 1/12 Int
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320
                                            of 120
      247 100 COAL 1/11 OF 1/2INT ( -KC) Lost Run

315   130 100 COAL 1/44 OF 1/2INT (-KC) LOST RUN

315   131   100 COAL 1/44 OF 1/2INT (-KC) LOST RUN
370   557   42.24 C Plummers Run
303   376   Booths Creek 7.50 AC COG ½ Int
304    98   6.51 Coal Pitts Shelby Run
304    74   18 Pgh Coal Shelby Run
333   568   1,208.75 Coal 1/3 Of 1/8 Int
333   612   1,208.75 Acs Coal 1/3 Of 1/8 Int
333   656   1,208.75 Acs Coal 1/3 Of 1/4 Int
370   580   118.50/ (Coal) Wickwire

310   197   36.75 Coal Stripping (-KC) Simpson Creek
296   474   30.72 Acs Coal Swamps
360   295   1/1008 Minerals 136 AC MIC
365   701   Minerals 70.29Ac. Ross Run
363   317   1/12 Minerals 54.5Ac. M I C
363   317   1/5 Minerals 48Ac. Short R
363   317   1/2 Min. 10Ac. B Sancho
363   317   1/2 Min. 54.5Ac. M I C
363   317   6/50 Min. 18Ac. B Sancho
363   317   1/2 Minerals 24.25Ac. L C M
363   317   1/4 Minerals 11. 25 Acres Centerville
365   773   Minerals 30 Ac. Ten Mile
365   792   Minerals 19.84Ac. Ten Mile
365   724   1/8 Minerals 36 Acres Doe Run
363   317   1/2 Min 25.13A Ten Mile
364   131   Minerals 20Ac. Pt Pleas
363   317   1/8 Min 14A Wolf Pen
363   317   Minerals 15Ac. Pt Pleas
363   317   1/4 Minerals 14Ac. Elk Fork

363   317 1/4 Min 140 A & 1/4 Min 40 A (Gas) Elk Fork
363   317 1/18 Min 65A Pt Pleas
363   317 1/4 Minerals 39.5Ac.
363   317 Minerals 6.81 AC Elk Fork
363   317 1/2 Min 26.22A Elk Fork
363   317 Minerals 67 AC Ten Mile
363   317 Minerals 37 AC Ten Mile
646   482 1/120 Minerals Int Elk Fork
          All Roy 25.81A MIC (All Coal , Oil, Gas &
367   489 Minerals)
          1/96 Min 5.61 Ac Gorrells Run P/O Tax Map
641   635 22-1
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          1/96 Min 0.728125 Ac Gorrells Run P/O Map
641   302 22 Par 1
641   616 1/16 Min 10 Ac Tax Map 28-37
          9/10,000 Min 85.306 Ac Tax Map 17-52 & 23-
646   450 29
          2/1000 Min 85.306 Ac Tax Map 17-52 & 23-
641   597 29
368    78 Roy 29.91 A (2T) Pursley
368    50 Gas Int 63.79 A Ind Cr
360   306 Minerals 3.07 AC McElroy CR
641    82 1/114 Minerals 3Ac. 64R
641   109 1/114 Minerals 29Ac. Ind Creek
649     1 17/17,496 Minerals 115Ac. Squirrel
641   136 1/36 Minerals 7.5Ac. Georges R
648   715 Minerals 49.5Ac.
363   317 Minerals 2.5 AC McElroy Cr
372   721 1/4 ROY MIN 66 AC (COAL) BIG RUN

561   355 1/36 Min 639 Ac Big R Civil Action 11-C-40
          78/10000 Minerals 98.125 Ac McElroy Cr Civil
556   515 Action 12-C-21 Map 10 PA
          156/10000 Minerals 1.125 Ac McElroy Cr Civil
556   515 Action 12-C-21 Map 10 PA
          78/10000 Minerals .660 Ac Tyler C Civil
556   515 Action 12-C-21 Map 10 PA
          78/10000 Minerals .308 Ac Tyler City Civil
556   515 Action 12-C-21 Map 10 PA
          78/10000 Minerals .619 Ac Tyler City Civil
556   515 Action 12-C-21 Map 10 PA
          78/10000 Minerals .41 Ac Tyler City Civil
556   515 Act.12-C-21 MP 10 Par 37
          78/10000 Minerals .19 Ac Tyler City Civil
556   515 Action 12-C-21 Map 10 PA
          156/10000 Minerals .712 Ac McElroy Cr Civil
556   515 Action 12-c-21 Map 10 PA
363   317 Minerals 2 AC Sugar Cr
360   300 1/2 MIN 4.17 AC Falls Mills
363   317 1/4 Minerals 113 AC M I C
363   317 Minerals 29.9 AC Buffalo C
365   811 Mineral Int 40 Ac. L Buffalo C
365   825 Mineral Int 34 Ac. Ohio R
366     1 Mineral Int 140 Ac. Mic
366    15 Mineral Int 31.95 Ac. L Buff
366   732 Roy 35A B Buffalo
363   317 1/2 Minerals 26 AC M I C
          Coal 40.50 UF & Seams Between UF & PB (Tr
546   385 82) Brushy Fork
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546   395 Coal 28.032 UF & Above (Tr 71-1) Brushy Fork
          Coal 100.25 UF & Between UF & EL (Tr 81)
546   405 Brushy Fork
          2/3 Int Coal 133.11 UF & Above (Tr 32-32-3)
546   415 Sauls Run
          1/3 Int Coal 78 UF & Above (Tr 32-3) Sauls
546   425 Run
524   272 FS 1/2 Ac Less Sur Big Sand Run
546   435 Coal 101.97 Pecks Run
547   203 Coal 51 1/2 Rovers Run
546   459 Coal 107--11 BV Pecks Run
546   518 RS Coal 109.103 (Corr From
546   577 RS Coal 16.055
547   220 Coal 21.6 Mnd Out Turkey Run
547   237 Coal 38.01 Wkd Out
547   254 Coal 120 Rock Run
546   635 Coal 24 1/2 Bkhn River
546   701 Coal 61 Bkhn River
547     1 Coal 70.3
547    61 Coal 27 4/5 Ac
657   698 26.5 Ac Mineral Tug River
668   917 15 Ac Mineral Trace Creek
676    86 92 Min (2/6 Int) Mill Creek
657   819 816 Coal Mill Cr & Tug River
657   813 816 Coal Mill Cr & Tug River
682    37 5 Min Tabors Creek
682    63 4.68 Min Tabors Creek
648   962 Lot 6 Min Robertson Sub Sandy River
648   975 Lot 7 Min Robertson Sub Sandy River
649     1 Lot 8 Min Robertson Sub Sandy River
649    14 Lot 9 Min Robertson Sub Sandy River
649    27 Lot 10 Min Robertson Sub Sandy River
649   119 Lot 12 Min Robertson Sub Sandy River
649   132 Lot 13 Min Robertson Sub Sandy River
649   145 Lot 19 Min Robertson Sub Sandy River
649   158 Lot 20 Min Robertson Sub Sandy River
649   169 Lot 26 Min Robertson Sub Sandy River
649   182 Lot 27 Min Robertson Sub Sandy River
649   195 Lot 28 Min Robertson Sub Sandy River
649   208 Lot 33 Min Robertson Sub Sandy River
649   221 Lot 36 Min Robertson Sub Sandy River
649   234 Lot 35 Min Robertson Sub Sandy River
649   247 Lot 11 Min Robertson Sub Sandy River
661   500 10 AC Mineral 12 Pole
661   265 20 AC Mineral Joels Branch
661   257 2.5 AC Mineral Tabors Creek
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672   928 Parcel Mineral Big Hurricane
                                            of 120
647   347   .57 Fee Sandy River
648   853   .70 Min 4 Pole
668   973   3.59 Min
648   928   .07 Fee
648   284   Lot 35 Fee Plat 1, Camden Hts
649   260   1/5 Fee Damron Branch
638   820   18.43 Fee Minus 13.78 Surf Tug River
689   778   27.5 Fee Camp Creek (1/5 Int)
668   924   5.7 Fee Turkey Creek
657   783   5 Fee Turkey Creek
654   604   21 Fee Jennies Creek
726   542   916 Coal (1/2 Int) 12 Pole (C1-C23)
            184 & 1 Gas Well (1/30 INT) Mineral Dragg
657   711   Creek
654   842   3.39 Mineral Tug River
668   966   195 Min & 3 Gas Wells (1/4 int)
673   521   100 Min (1/2 Int) Horse Cr
649   773   60 X 100 Ft Mineral Tug River
712   585   5 Mineral 12 Pole
668   959   60 Mineral
663   204   219.5 Mineral (1/8 Undiv Int) Bull Creek
657   769   100 Mineral Thompson Ridge
648   941   Parcel Fee BlueWater
654   849   55 Coal (No. 5 Blk Seam) 12 Pole
654   612   152.5 Coal Camp Creek
654   634   70 Coal 12 Pole
683    42   35.4 MINERAL BEECH FORK
682   946   10 Mineral Beech Fork
683     1   62.9 MINERAL
654   892   25 Min (¼ Int) Blue Water
661   179   25 Min (1/4 Int) Blue Water
654   899   60 Min (¼ Int) Blue Water
661   171   60 Min (1/4 Int) Blue Water
654   906   90 Min (¼ Int) Blue Water
661   513   90 Min (1/4 Int) Blue Water
654   913   15 Min (¼ Int) Blue Water
661   163   15 Min (1/4 Int) Blue Water
682   532   12 5/8 MINERAL BARTMAN FORK
720   894   1 Mineral (2/5 Int) Beech Fork
668   938   80.5 Mineral & 1 Gas Well Millers Fork
648   920   1 Fee Garrets Ck
662   978   20 Min Minus O&G
656    60   87 Mineral (1/36 Int) Millers Fork
661   359   15.2 Mineral Millers Fork
654   860   2 Mineral Beech Fork
668   980   31.32 Min (5/6 Int)
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654   920 55 Mineral (1/6 Int) Toms Cr
                                            of 120
654   656   40 Mineral (½ Int) Lynn Cr
672   868   2.5 Mineral 12 Pole
672   904   1.75 Coal Falls Creek
726   552   2.14 Min Big Creek
661   154   32 Min & 1 Gas Well (1/9 Int)
656    67   87 Min (1/36) Millers Fork
654   676   10.295 Min Toms Creek
657   753   10.295 Min Toms Creek
654   670   10.295 Min Toms Creek
657   739   55 MIN (½ of 1/6 int) Toms Ck
657   746   180 MIN (½ of 1/6 int) Toms Creek
675   552   43 Min (1/2 Int) Wilson Ck
675   540   72.5 Mineral Wilson Creek
656    53   1.59 Mineral Big Creek
694     1   10.39 Min Camp Creek
647   310   .25 Fee Ohio River
649   270   1.22 Fee Minus 3 Parcels
285   446   7AC COAL S. Side Gauley River(1/3 Int)
282   214   78.25 Ac Min Gauley River (1/5 Int)
282   251   164 Ac Coal Gauley River (15/180)
304   198   100 Ac Coal Grassy Creek
279   149   5/8 INT 22.25 AC COAL POINT MT
309   306   78 Ac Coal Grassy Ck
283    32   2.65 A Min Head Laurel Ck
285   284   29.6 AC Min Jerrys Run (1/3 Int)
            170 Ac Coal Holly River 1/2 Int
304   277   114 Ac Coal Holly River
304   232   114 Ac Coal Holly River 1/2
304   215   112 Ac Coal Holly River 1/2
304   266   112 Ac Coal Holly River
283    32   2.75 Ac Min Elk River
425     1   20 Ac Coal L F Creek
419   882   31 1/2 Ac Coal LF Creek Mt Coal
421   875   40 Ac LF Creek Mt Coal
415   765   95 Ac Knob Fork Mt Coal
415   819   32 1/2 Ac Knob Fork Mt Coal
418   294   51 1/8 AC LF CREEK 4/10 INT MT COAL
426    91   1 Ac Knob Fork & Sugar Run PB Coal
            46 9/20 Ac Miller Run Mt Coal 1/2 + 1/3 of
419   789   1/2 Int Map 10-18
418   446   28 1/2 Ac Church Fork 1/2 Int Mt Coal
419   961   74 67/160 Ac Fish Creek 1 1/6 Int Mt Coal
418   462   78 3/4 Ac Rock Camp 1 6/11 Mt Coal
413   606   51 1/2 Ac Long Drain 1 Mt Coal
413   585   90 1/2 Ac Coal Sugar Run Mt Coal
389   107   376 2/5 Ac Buffalo Run MT Coal
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415   754 48 Ac West Fork Mt Coal
                                          of 120
419   893 40 Ac B F Creek 1/2 Int Mt Coal
415   803 124 1/2 Ac Grant Dist Mt Coal
415   792 41 1/2 Ac Willey Fork Mt Coal
          67 5/8 Ac South Fork Group # 2 3/4 Int Mt
414   734 Coal
414   739 36 5/8 Ac South Fork Group # 3 Mt Coal

414   744 55 3/4 Ac Bet NF&SF Group # 4 3/4 Int Coal
          52 1/2 Ac Norse Run Group # 5 3/4 Int Mt
414   709 Coal

414   714 42 3/4 Ac Joliffe Mt Coal 3/4 Int Group # 6
          108 5/16 Ac North Fork Group#7 3/4 Int Mt
414   719 Coal
          39 5/8 Ac North Fork Group # 8 3/4 Int Mt
414   724 Coal
          56 3/8 Ac South Fork Group # 9 3/4 Int Mt
414   729 Coal

413   952 38 Ac South Fork Group # 10 3/4 Int Mt Coal

413   957 10 Ac South Fork Group # 11 3/4 Int Mt Coal

413   962   80 Ac Horse Run Group # 13 3/4 Int Mt Coal
414   599   125 1/4 Ac Fallen Timber Mt Coal
414   614   46 Ac Archers Fork Mt Coal
414   629   50 Ac Archers Fork Mt Coal
414   644   100 Ac Fallen Timber Mt Coal
414   689   4 Ac Archers Fork Mt Coal
419   914   14 15/16 Ac Wiley Fork 1 Mt Coal
415   701   30 Ac Sheep Run MT Coal
414   674   122 Ac North fork 1/4 Int Mt Coal
413   580   60 Ac Sheep Run 1 Mt Coal
414   779   64 10/160 Ac Bear Run Mt Coal
412    17   84 Ac Bear Run Mt Coal
414   772   6 Ac Bear Run Mt Coal
412    33   112 Ac South Fork Mt Coal
412    41   25 17/100 Ac Ten Mile Mt Coal
412    49   17 Ac Stout Run Mt Coal
414   764   7 26/100 Ac Sam Price Run 1 Mt Coal
412    57   10 18/160 Ac Hickory Camp Mt Coal
412    65   36 Ac Fallen Timber Mt Coal
412    73   14 25/160 Ac Pickenpaugh Mt Coal
412    81   78 37/100 Ac Pickenpaugh Mt Coal
412    89   8 9/100 Ac Grub Hollow Mt Coal
419     9   43 Ac Hd Of Pine Fork Mt Coal
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412
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        1 50 13/60 Ac Hd Of Pine Fork Mt Coal
412    97   47 1/10 Ac Hd Of Horse Run Mt Coal
412   105   38 62/160 Ac Hd Of Price Fork Mt Coal
412   113   56 Ac Hd Of Price Fork Mt Coal
412   121   29 103/160 Ac Price Fork Mt Coal
412   129   19 67/100 Ac Spice Run Mt Coal
412   137   79 23/100 Ac Dead Fall Mt Coal
412   145   28 Ac Mauds Run Mt Coal
412   153   37 1/8 Ac Sheep Run Mt Coal
414   749   75 28/100 Ac Sheep Run 1 Mt Coal
412   161   51 3/5 Ac Sheep Run Mt Coal
412   169   48 1/4 Ac Horner Run Mt Coal
412   177   13 1/2 Ac West Fork Mt Coal
414   756   7 3/10 Ac West Fork 1 Mt Coal
412   185   4 66/100 Ac Richwood Run Mt Coal
412   193   1 68/100 Ac Horse & Sheep Run Mt Coal
412   201   4 24/100 Ac North Fork Mt Coal
415   846   40 Ac North Fork 1 Mt Coal
415   694   40 Ac Buffalo Run Mt Coal 1
            67 5/8 Ac South Fork Group # 2 1/4 Int Pb
413   812   Coal
            36 5/8 Ac South Fork Group # 3 1/4 Int Mt
413   824   Coal 1
413   836   55 3/4 Bet N F & S F Group#4 1/4 Int Coal
            52 1/2 Ac Horse Run Group # 5 1/4 Int Mt
413   848   Coal
            42 3/4 Ac Joliffe Run Mt Coal Group # 6 1/4
413   860   Int 1
            108 5/16 Ac North Fork Mt Coal Group #7 1/4
413   872   Int 1
            39 3/8 Ac North Fork Group # 8 1/4 Int Mt
413   884   Coal 1
            56 3/8 Ac South Fork Group # 9 1/4 Int Mt
413   896   Coal 1
            38 Ac South Fork Group # 10 1/4 Int Mt Coal
413   908   1
            10 Ac South Fork Group # 11 1/4 Int Mt Coal
413   920   1

413   932   80 Ac Horse Run Group # 13 1/4 Int Mt Coal 1
415   685   47 28/160 Ac Buffalo Run Mt Coal 1
419   925   39 65/160 Ac Richwood Run Mt Coal 1
419   936   39 Ac North Fork Mt Coal 1
424   882   2 47/160 Ac Four Mile Mt Coal 1
416   114   67 Ac South Fork Mt Coal 1
413   575   72 1/2 Ac Bear Run Mt Coal 1
426    42   100 Ac B F Creek 1/18 Int PB Coal
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      493 235 Ac Hupp Run PB Coal 1/3 of 1/3 Int
412   209   44 Ac Big Run 1/4 Int Mt Coal
412   220   59 ½ AC Big Run ¼ Int Mt Coal
412   231   62 4/5 AC Garner ¼ Int Mt Coal
412   242   31 3/10 AC Hog Run Mt Coal
412   253   149 Ac Big Run Mt Coal
418   484   23 1/2 Coal Reader Run
414   659   69 Ac Fluharty Run 1/2 Int Mt Coal
414   875   36 Ac Fluharty Run 1/2 Int Mt Coal
414   846   68 3/4 Ac Brush Run Mt Coal

419   947   47 1/2 Ac Aaron Morgan Run 1/2 Int Mt Coal
421   913   20 AC Big Run 2/9 Int Mt Coal
414   860   137 Ac Hog Run 4/9 Int Mt Coal
421   906   190 AC State Road Run Mt Coal
424   890   48 Ac Reader Run 4/5 Int Mt Coal
            186.87 AC B F Creek Mt Coal 1/28 Int Map 6
421   928   Parcel 8
416   146   20 Ac B F Creek 1 Mt Coal
418   409   115 1/4 Ac L F Creek Mt Coal 1/2 Int
424   926   7 4/75 Ac OR Hill Nr Proctor Pb Coal
416   185   97 Ac Proctor Dist Mt Coal
415   859   87 58/100 Ac Proctor Dist 1 Mt Coal
418   473   26 1/8 Ac Proctor Creek Mt Coal
426   346   4 5/8 Ac Proctor Creek 1/3 Int Coal
244   236   M 121/160 Acre Leading Cr
225   648   M ½ of 3 ¾ Two Ripple
234   771   1/2 Min 3 1/2 A Reedy Cr
235   261   M 1/3 OF 1/2 OF 65 LKR
235   290   M 1/3 OF 1/2 OF 24 152/160 LKR
234   411   M 1/2 OF 3 LEE CREEK
234   762   M 1/2 of 2 1/2 Reedy
233    16   M 1/3 of 125 1/16 Lynn Camp
235   319   M 2/3 OF 1/2 OF 62 LYNN CAMP
454   525   1 (M) Brier Creek
454   525   2.26 (M) Corinne
            2.99 (M) Less Gas Except Poca #3 Coal Bear
476   656   Hole Fork
454   525   2 (M) Muzzle Creek
468   174   0.952 Ac (M) Upper Road Branch
476   614   1.01 (M) Clear Fork
472   644   18.5 (M) Laurel Fork
472   634   2 (M) Laurel Fork
